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 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
 2
 3       ERIC COOMER, PH.D.,                  §
                                              §
 4            PLAINTIFF,                      §    CIVIL ACTION NO.
                                              §    1:22-CV-01129-WJM
 5       V.                                   §
                                              §
 6       MICHAEL J. LINDELL,                  §
         FRANKSPEECH, LLC, AND                §
 7       MY PILLOW, INC.,                     §
                                              §
 8            DEFENDANTS.                     §
 9
10
11                     ORAL AND VIDEOTAPED DEPOSITION OF
                              MAX JOSEPH MCGUIRE
12                            NOVEMBER 17, 2022
13
14
          0000000000000000000000000000000000000000000000000000
15        0000000
            ORAL AND VIDEOTAPED DEPOSITION OF MAX JOSEPH
16        MCGUIRE, produced as a witness at the instance of
          the Plaintiff and duly sworn, was taken in the above
17        styled and numbered cause on Thursday, November 17,
          2022, from 10:22 a.m. to 7:11 p.m., before TAMARA
18        CHAPMAN, CSR, RPR-CRR in and for the State of Texas,
          reported by computerized stenotype machine, at the
19        offices of Cain & Skarnulis PLLC, 303 Colorado
          Street, Austin, Texas, pursuant to the Federal Rules
20        of Civil Procedure and any provisions stated on the
          record herein.
21
22
23
24
25
          Job No. TX 5465767

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 1                                  A P P E A R A N C E S
 2
           FOR THE PLAINTIFF:
 3            Charles J. Cain
              Bradley A. Kloewer
 4            CAIN & SKARNULIS PLLC
              101 N. F Street, Suite 207
 5            Salida, Colorado 81201
              719-530-3011
 6            ccain@cstrial.com
              bkloewer@cstrial.com
 7
 8         FOR THE DEFENDANTS:
              Ryan Malone (via telephone)
 9            PARKER DANIELS KIBORT
              123 North Third Street
10            Minneapolis, Minnesota 55401
              612-355-4100
11            malone@parkerdk.com
12
           FOR THE WITNESS:
13            Randy B. Corporon
              LAW OFFICES OF RANDY B. CORPORON, PC
14            2821 S. Parker Road, Suite 555
              Aurora, Colorado 80014
15            303-749-0062
              rbc@corporonlaw.com
16
17         FOR CD SOLUTIONS, INC.:
              Daniel R. Coombe
18            COOMBE CURRY RICH & JARVIS
              2000 South Colorado Boulevard
19            Tower II, Suite 1050
              Denver, Colorado 80222
20            303-572-4200
              coombe@ccrjlaw.com
21
22         ALSO PRESENT:
             Peter Zierlein, Videographer
23           Eric Coomer, Plaintiff
24
25

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13                        Deposition in a Civil
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14                        (No Bates - 10 pages)                              16
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15                        Agreement
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20                        Election fraud"
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 3                      (20CV34319-JODisclosures-
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 1                        THE VIDEOGRAPHER:                 Here begins the
 2     deposition of Max McGuire.               Today's date is
 3     November 17th, 2022, and the time is 10:22 a.m.
 4                        Will counsel please identify
 5     themselves for the record, after which the court
 6     reporter will swear in the witness.
 7                        MR. CAIN:         My name is Charlie Cain.
 8     To my right is Brad Kloewer.                To his right is my
 9     client, Eric Coomer.           For the plaintiff.
10                        MR. CORPORON:            Randy Corporon,
11     attorney for the deponent.
12                        MR. MALONE:           Ryan Malone, counsel for
13     defendants Michael Lindell, FrankSpeech, and My
14     Pillow.
15                        MR. COOMBE:           Daniel Coombe for
16     interested party, CD Solutions.
17                           MAX JOSEPH MCGUIRE,
18     having been first duly sworn, testified as follows:
19                                  EXAMINATION
20     BY MR. CAIN:
21           Q.      Good morning.
22           A.      Good morning.
23           Q.      Tell us your full name.
24           A.      Max Joseph McGuire.
25           Q.      Where do you live, Mr. McGuire?

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 1           A.      Full address?
 2           Q.      Yes, sir.
 3           A.      7630 Bismarck Lake, Converse, Texas,
 4     78109.
 5           Q.      How long have you lived in Texas?
 6           A.      I moved here beginning of 2019.
 7           Q.      Where did you live before then?
 8           A.      I lived in Castle Pines, Colorado.
 9           Q.      How long were you a Colorado resident?
10           A.      I moved to Colorado the summer of 2014.
11     So not quite five years.
12           Q.      Since 2019, when you were on the
13     Conservative Daily podcast, were you logging in from
14     Texas to do your part of the show?
15           A.      Yes, with the exception of times where I
16     was in Colorado.
17           Q.      Is it safe to assume when you had the San
18     Antonio backdrop, you were in Texas?
19           A.      Yes.    Yes.
20           Q.      Obviously we're here to take your
21     deposition.      I think I met you about 15 minutes ago
22     for the first time.          Is that right?
23           A.      Yeah.
24           Q.      And you indicated you had not been
25     deposed before.       Is that correct?

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 1             A.       Yes.
 2             Q.       We talked a little bit about the ground
 3     rules, but I'm going to go over those again, if
 4     that's all right.
 5             A.       Okay.
 6             Q.       You're doing a good job of answering out
 7     loud.        You are shaking your head.
 8             A.       Uh-huh.
 9             Q.       But ultimately you have to --
10             A.       Out loud, yeah.
11             Q.       -- use your speaking voice.
12                      We also talked about trying not to talk
13     over each other.           And I often have the problem
14     because I speak deliberately.                  And young guys like
15     you speak a lot more quickly that I do.
16                      So, please, do your best to let me get my
17     question out before you answer.                   Okay?
18             A.       Okay.
19             Q.       The other part to it is you'll have a
20     chance, if you choose, to look at your transcript
21     and correct any errors that you may see, and sign it
22     at the end of all of this, but while we're here, if
23     I ask you something that you don't understand, I
24     don't want you to answer that question.                           I want you
25     to tell me that you didn't understand my question

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 1                 1 and you ask me to repeat it.            Okay.

 2                 2      A.       Okay.

 3                 3      Q.       Okay.    Otherwise I'm going to assume that

 4                 4 you understood what I was asking you.             Is that fair?

 5                 5      A.       Yeah.

 6                 6      Q.       All right.

 7                 7                    THE STENOGRAPHER:        I'm sorry.    Can we

 8                 8 just take a quick pause for technical...

 9                 9                    THE VIDEOGRAPHER:        Going off the

10                10 record.     The time is          .

11                11                    (Break.)

12                12                    THE VIDEOGRAPHER:        Back on the

13                13 record.     The time is 10:29.

14                14      Q.       The other thing is if you need a break,

15                15 you're entitled to take one.            We typically go about

16                16 an hour or an hour and a half between breaks.

17                17      A.       Okay.

18                18      Q.       And you're welcome to take a break so

19                19 long as there is not a question pending.

20                20      A.       Okay.

21                21      Q.       You can't go out and figure out the

22                22 answer.

23                23      A.       Makes sense.

24                24      Q.       And then lastly, you started, and we

25                25 started with you being sworn in.            It's the same

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 1     thing as if you were down at the courthouse.                          I know
 2     we're in my conference room, but I think you
 3     understand the importance of that.
 4             A.       Yes.
 5             Q.       And I won't make you put your hand on the
 6     Bible here, but in effect that's what you're doing.
 7             A.       Okay.
 8             Q.       You've got an attorney here with you,
 9     Mr. Corporon.           Is he representing you here today?
10             A.       Yes.
11             Q.       When was he hired?
12                             MR. CORPORON:        It's okay.
13             A.       I don't know.        I don't know the exact
14     date.        Because I know that it was --
15                             MR. CORPORON:        I don't recall it
16     either.
17             Q.       Approximately?
18             A.       Approximately three weeks ago, right,
19     somewhere around there?
20                             MR. CORPORON:        Yeah.
21             Q.       He can't answer questions.                 It's really
22     for you.        If you don't know, just tell me you don't
23     know.
24             A.       I don't know.
25             Q.       If I ask you an approximate date, do your

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 1     best to do so.
 2             A.    Okay.
 3             Q.    Is it fair to say about three weeks ago,
 4     give or take?
 5             A.    That's fair.          Give or take.
 6             Q.    All right.        And do you know who is paying
 7     for his services?
 8             A.    I do not know the official entity that's
 9     paying.
10             Q.    Well, what are the options?
11             A.    The options would be Joel Oltmann or one
12     of Joel Oltmann's companies.                I don't know which
13     signed the check or what bank account it was drawn
14     from.
15             Q.    All right.        Did you have any discussions
16     with Mr. Oltmann about hiring an attorney?
17             A.    He was on an email chain.
18             Q.    When was that email chain?                   I presume
19     before Mr. Corporon was hired?
20             A.    Yes.    It would have been roughly two
21     weeks after the subpoena was delivered to me.
22             Q.    All right.        I don't know if that's
23     privileged yet, so I'm not going to ask you about
24     the substance of the chain.
25                   I'm just going to ask you about who was

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 1     involved in it.       You said it was Mr. Oltmann,
 2     Mr. Corporon, yourself?
 3           A.      Mr. Corporon was not on that email.
 4           Q.      I apologize.          Okay.       It was Mr. Oltmann?
 5           A.      Mr. Oltmann, Mr. Oltmann's personal
 6     attorneys.     I don't know their names, but they're
 7     representing him in similar matters.                     And it was --
 8           Q.      Ms. DeFranco?          Does that ring a bell?
 9           A.      I don't know.
10           Q.      Andrea Hall?
11           A.      Yes, that rings a bill.
12           Q.      So Mr. Oltmann, Ms. Hall, yourself?
13           A.      Uh-huh.
14           Q.      Yes.
15           A.      And -- and I believe Keith Sawarynski,
16     who is -- Keith Sawarynski and --
17           Q.      Who is he?
18           A.      He is -- I don't know his official title
19     right now, but he is -- he's -- when I was there, he
20     was the president of the company.
21           Q.      Of which company?
22           A.      I don't know the specific title.                     The
23     titles have all changed since I've been there.
24           Q.      No, I asked you which company.
25           A.      Oh, that would have been both CD

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 1     Solutions, I believe.           I -- I don't know.               I don't
 2     have the organizational chart in front of me.                         But
 3     he was involved in PIN Business Network, Shuffling
 4     Madness Media, Conservative Daily.                    He was involved
 5     in all those.
 6           Q.      Is there an -- an org chart for those
 7     entities that you recall seeing?
 8           A.      I don't know.
 9           Q.      Are you still a shareholder of any of
10     those entities?
11           A.      I am.
12           Q.      Which ones?
13           A.      All of them.
14           Q.      Okay.       Any -- anyone else -- I'm not
15     going to try to pronounce Keith's last name, but
16     anyone else in this email chain about --
17           A.      Joey -- Joseph Orrino, who is a
18     shareholder of the organizations, and --
19           Q.      And the lawyer?
20           A.      And a lawyer.          And was their in-house
21     counsel.     I don't know if he still is.
22           Q.      And then who else?
23           A.      There was -- I -- I believe there was one
24     other attorney for Joe Oltmann in addition to Andrea
25     on the chain.

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 1             Q.    And did you make the request that -- that
 2     the entities retain counsel to represent you
 3     personally in this case as a witness?
 4             A.    Can you -- can you rephrase that?
 5             Q.    Yeah.       How did it come about that you --
 6     you started emailing with Mr. Oltmann at all about
 7     getting you a lawyer?
 8             A.    I did not email Mr. Oltmann asking for a
 9     lawyer.
10             Q.    Okay.       Then how did that come about?
11             A.    I emailed my -- the company that I'm a
12     shareholder in letting them know that I was served
13     with a subpoena and that I believed that there were
14     documents in my possession that were relevant
15     business-related documents, letting them know that
16     they were in my possession and asking them how they
17     wanted to proceed and explained to them that I
18     didn't know whether I was going to have counsel
19     representing me, but I did believe it was in my best
20     interest to be represented by counsel and asking
21     them if they'd be interested in working with me on
22     that.
23             Q.    Because you knew at the time that you had
24     at least one, maybe two NDAs that might be impacted
25     by your -- the production of documents?

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 1           A.      That -- that's implied, too, yeah.
 2           Q.      Is that fair?
 3           A.      Yeah.
 4           Q.      Okay.       Who made the ultimately decision,
 5     if you know, to authorize one or more of these
 6     companies to pay for your counsel here?
 7           A.      I don't know.
 8           Q.      You weren't part of the --
 9           A.      No.
10           Q.      -- decision-making?
11                   You're answering quick on me.
12           A.      I wasn't.
13           Q.      Okay.
14                         MR. CORPORON:           What he's saying is
15     you got to let him finish the question --
16                         THE WITNESS:           Yeah.      Sorry, sorry,
17     sorry.
18                         MR. CORPORON:           -- before you answer.
19           Q.      Yeah.       So Tamara was getting fidgety.
20           A.      Sorry.
21           Q.      So let's slow our roll, as the kids say.
22                   Okay.       So you have this email exchange.
23     Did you actually have any conversations with Joe
24     Oltmann about giving testimony in this case?
25           A.      Can you rephrase that?                 I want to make

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 1     sure that I understand precisely what you're asking.
 2     About whether or not I would give testimony?
 3           Q.      The topic of -- of either giving
 4     testimony or the substance of what you would be
 5     testifying to.
 6           A.      He was involved in that email chain but
 7     it was not -- we did not discuss what I would talk
 8     about, whether I would talk about anything.                        The
 9     email was purely about representation.
10           Q.      So it's -- then I take it from your
11     answer that you have not talked to Mr. Oltmann about
12     your testimony?
13           A.      No.
14           Q.      Have you talked to anybody else about
15     giving testimony?
16           A.      My wife.
17           Q.      Okay.       I don't want to get into that.
18     That's privileged.
19           A.      Yeah.
20           Q.      All right.        Now, you mentioned you're
21     here because you received a subpoena.                      Correct?
22           A.      That's correct.
23                         (Exhibit 11 was marked.)
24           Q.      All right.        Let's -- let's look at
25     Exhibit 11.      It's 11, as I mentioned before we

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 1     started because we're running these exhibits from
 2     deposition to deposition.
 3                          MR. CAIN:       Counsel...
 4                          MR. CORPORON:          Thank you.
 5                          MR. CAIN:       I've got two copies there.
 6           Q.      And while you're reviewing that, I
 7     mentioned before we started that we're going to kind
 8     of do some preliminary stuff, then I'm going to let
 9     my staff look at what you brought.
10                   Does that appear to be a copy of the
11     subpoena you received?
12           A.      The only difference is I do not believe
13     that Page 2 was filled out when I received it.
14           Q.      Yeah, that's called the proof of service
15     which indicates that you were served on August 30th
16     of 2022.     Correct?
17           A.      Yes.
18           Q.      And that's when you were served
19     personally.      Right?
20           A.      Yes.
21           Q.      So you're not here by an agreement that
22     you and I made.        It's because you were issued a
23     subpoena?
24           A.      Correct.
25           Q.      Your counsel handed me, I'll represent to

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 1     you because you actually saw it, a thumb drive.
 2                        MR. MALONE:           It wasn't mine.           I
 3     swear.
 4            Q.     A thumb drive with some documents.                        Is
 5     the thumb drive something that you put together from
 6     the files that you collected to try to comply with
 7     the subpoena?
 8            A.     I put together files to comply with the
 9     subpoena.     They went to Randy's legal staff.                        They
10     put them in two baskets and then this morning I put
11     them on a thumb drive.            I had to drive to Walmart to
12     get the thumb drive.
13            Q.     Thank you.
14                   You mentioned two baskets.                   Which basket
15     did I get?
16            A.     The same.
17            Q.     Okay.
18            A.     Well -- so there is a basket of files
19     that are nonresponsive and a basket of files that
20     are -- I put in everything I had and then we weeded
21     out.
22            Q.     Okay.       Well, let's just talk about the
23     nonresponsive basket.           Generally, can you describe
24     to me what types of files would be in that basket?
25            A.     Generally, things that do not respond to

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 1     any of the 11 paragraphs on the subpoena, text
 2     messages, emails.         In the early part of document
 3     collection, I tried to be overly generous with what
 4     I was producing just in case -- I didn't want to
 5     miss anything and then obviously we would look
 6     through that and figure out what's responsive to the
 7     actual questions.
 8           Q.      Who ultimately made the decision as to
 9     what was responsive and nonresponsive?
10           A.      I mean, technically, I put it on the
11     thumb drive so I guess technically it's me, but it
12     was -- it was me in coordination with Randy and his
13     paralegals.
14           Q.      Got you.       Thank you.
15                   So looking at the -- the 11-document
16     request, I'm not going to read those into the
17     record, nor do I want you to because we pay by the
18     word here.     But I've -- I put that thumb drive into
19     this port on my computer just to kind of familiarize
20     myself with it.
21                   The first thing that I asked you for,
22     generally speaking, relates to communications
23     between yourself and the Lindell Group, which would
24     be My Pillow and FrankSpeech.                 And what I saw you
25     provided us with appears to just be an email

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 1     relating to it looks like the advertising on the
 2     podcast.     Is that right?
 3             A.    That's correct.
 4             Q.    All right.        And obviously, we'll talk
 5     about that in a little more detail later, but I --
 6     just because I have it up here, I'll just represent
 7     to you what I'm looking at in response.
 8                   You've got an email from Mr. Oltmann
 9     dated March 10 of 2021 and you're copied on that.
10     Do you remember that email?
11             A.    Yeah.
12             Q.    Okay.       And this appears to be -- well,
13     let me back up.
14                   Is March of 2021 when Lindell or My
15     Pillow started advertising with Conservative Daily?
16             A.    I don't know.
17             Q.    Were you still doing the podcast at that
18     time?
19             A.    Yes.
20             Q.    And I -- I'm going to call it a podcast.
21     Is -- is it a podcast?
22             A.    Yeah.
23             Q.    Okay.       And it's -- it's a podcast, but it
24     has -- it's on video so --
25             A.    It's a video podcast.                  We have video

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 1     versions, audio versions.
 2           Q.      All right.        And why don't you know when
 3     Lindell started advertising with -- with CD?
 4           A.      That's the only email I had in my files.
 5     I do not know -- I don't want to misrepresent facts
 6     to you.    I do not know whether there were other
 7     emails on my work emails that I no longer have
 8     access to.     So I don't want to misrepresent that.
 9     That's the only email that was in my possession.
10           Q.      Okay.       I'm going to divorce you now from
11     this exhibit and ask you based on your personal
12     knowledge or memory, do you remember when Lindell or
13     My Pillow began their advertising with Conservative
14     Daily?
15           A.      It would have been right around there,
16     but I don't precisely remember.                  There might have
17     been some kind of agreement that I wasn't privy to.
18           Q.      Were you -- what was your role, if you
19     had one, in terms of the advertising component,
20     bringing people in to -- to advertise with
21     Conservative Daily?
22           A.      I do a lot of that, mainly with vendors
23     that I had reached out to and made -- and made
24     agreements with.          But this was not one that I
25     spearheaded.

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 1           Q.      This wasn't -- in essence, this wasn't
 2     your account?
 3           A.      No.
 4           Q.      Whose account was it?
 5           A.      I don't know.
 6           Q.      And you mentioned other vendors.                     Was it
 7     the practice of Conservative Daily in 2021 to have
 8     written agreements with advertisers who were going
 9     to advertise their products on the show?
10           A.      Yes and no.         I worked with a company
11     called AdvertiseCast and we had an agreement with
12     AdvertiseCast built into their terms of service.
13     They would then refer potential clients to us and we
14     would accept those clients or reject them.                        We did
15     not have paper agreements with the clients -- the
16     advertising clients that AdvertiseCast recommended
17     to us.
18           Q.      They were the conduit in that sense?
19           A.      Yeah.
20           Q.      And was that the case for My Pillow?
21           A.      I don't know.
22           Q.      This email that you brought talks about
23     setting up a promo code and we're not going to go
24     into that because I don't have it in front of you,
25     at least in detail.          And there's CD21 was the promo

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 1     code for this particular My Pillow?
 2             A.    Yes.
 3             Q.    Okay.       Tell me how, if you know, the
 4     promo code worked in -- in terms of the financial
 5     flow from using that promo code?
 6             A.    The only knowledge I have on how promo
 7     codes work on My Pillow's website are as a customer
 8     of My Pillow's website.             I was not privy to the
 9     actual financial details about that arrangement.
10             Q.    So you have no knowledge whatsoever about
11     that?
12             A.    I received updates periodically on how
13     much we had generated in revenue from that, but I
14     was not privy to the realtime financials.
15             Q.    Okay.       When you received updates on the
16     revenue, in what form would that take?
17             A.    Usually an email, to my work email or it
18     would be verbally.
19             Q.    And your work email was what?
20             A.    It was Max@pidoxa.com.
21             Q.    Can you spell the last part of that?
22             A.    Sure.       P-I-D-O-X-A.com.
23             Q.    And what is PiDoxa?
24             A.    That is a company that was established to
25     work in this space, the conservative political

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 1     space.
 2           Q.      And are you an owner of that entity?
 3           A.      I believe so.
 4           Q.      A shareholder?
 5           A.      I believe so.
 6           Q.      Do you know who else is?
 7           A.      I couldn't give that to you off the top
 8     of my head.
 9           Q.      Is -- is Mr. Oltmann --
10           A.      Yes.
11           Q.      -- part of that?
12           A.      Yes.
13           Q.      Thank you.
14                   As it relates, though, to this -- My
15     Pillow promo code, do you know whether or not the --
16     the entity -- or let's just say the podcast, as it
17     may be funneled to different entities, I don't
18     know -- received a portion of the revenue from that
19     sale; in other words, if a -- if a My Pillow
20     customer bought using that promo code CD21, did a
21     portion of that transaction flow back to
22     Conservative Daily?
23           A.      I can't speak to how their system is set
24     up, but generally, that's how promo codes, in my
25     experience, have worked.

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 1            Q.     Okay.       And if I were to ask the company
 2     that received that revenue for the name of the
 3     reporting of that, what -- what would I ask for?
 4     What --
 5                          MR. CORPORON:          Objection.
 6                          MR. CAIN:       I'm sorry, Randy.
 7            Q.     -- what type of a report would -- would
 8     be appropriate to ask for?
 9            A.     I don't know.          I mean, some general type
10     of financial report.
11            Q.     When you were receiving emails that
12     updated you on revenue, who was reporting that to
13     you?    A CFO or a controller?
14            A.     I don't remember.             It was so long ago.
15     And these were generally just me asking for the
16     purposes of invoicing myself.
17            Q.     Do you have an independent recollection
18     of approximately how much revenue came in as a
19     result of using the CD21 code?
20            A.     I don't.
21            Q.     Do you know whether Mr. Oltmann was
22     tracking that information closely?
23            A.     Yes.
24            Q.     I asked you if you knew.                 You said yes.
25     Does that mean he was?

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 1           A.      Yes.
 2           Q.      All right.        Thank you.
 3                   And the reason, I -- I take it, that you
 4     don't have more documents responsive to No. 1 is
 5     because you don't have access to your work email
 6     anymore?
 7           A.      This wasn't an account that I
 8     spearheaded --
 9           Q.      Yeah.
10           A.      -- so it would not have gone directly to
11     me.   And I cannot speak to what's in my work emails
12     because I don't have access to them, and it was so
13     long ago.
14           Q.      Okay.       Well, you said your PiDoxa --
15                   Am I saying that right?
16           A.      Sure.
17           Q.      -- was the email that you would
18     receive -- this particular email actually went to
19     max.mcguire@conservative --
20           A.      Yes.
21           Q.      -- daily.com?
22           A.      Yes.
23           Q.      All right.        So how many emails were you
24     using, email accounts, I should say?
25           A.      I can't give you a precise number.                      I

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 1     can't -- I -- I -- there were a lot of emails.
 2           Q.      Why were there so many?
 3           A.      I -- there are multiple companies under
 4     these umbrellas of different own- -- ownership
 5     companies like -- whatever you want to call it.                         And
 6     I wore multiple hats across those organizations.
 7                   Generally, there was a -- there wasn't a
 8     lot of care often put into making sure that the
 9     emails were sent to the proper email address.                         Lots
10     of times, emails would be sent to me about business
11     that didn't really apply to the email address that
12     it was being sent to.
13                   Does that answer your question?
14           Q.      Yeah.       No, I'm -- I'm -- for example, in
15     this email that we've been talking about, it was
16     sent from Dawn Curtis at My Pillow to
17     Joeoltmann@pinbn.com.           What is that email address
18     related to, if you know?
19           A.      PIN Business Network.                  And that's an
20     example of what I'm -- what I was just saying, there
21     wasn't a lot of care put into making sure that the
22     emails used were representative of the businesses
23     that we're getting involved.
24           Q.      In terms of the work that you did
25     relating to the podcast, what would -- what email

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 1     address would you typically use?
 2             A.    Max@pidoxa.com.
 3             Q.    Okay.       And which entity or entities,
 4     plural, were receiving the revenue associated with
 5     the Conservative Daily podcast?
 6             A.    I can't give you a precise answer.                      I
 7     don't know.
 8             Q.    Were financial statements for the
 9     entities that you were involved with consolidated
10     and reported on one financial statement, if you
11     know?
12             A.    I don't know.          Generally, shareholders
13     would only get those kind of financial things at
14     annual meetings.          I can't speak to whether I
15     received any other ones because I don't have access
16     to that email.        I can't verify.
17             Q.    Did you receive financials at the annual
18     shareholder meetings for these companies?
19             A.    Generally, we do, yeah.
20             Q.    Did you retain any of those?
21             A.    No.
22             Q.    Were those provided to the shareholders
23     electronically or in person or something else?
24             A.    My recollection is that they were
25     provided visually, explained orally, and

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 1     shareholders wouldn't take copies with them.
 2             Q.    And, typically, when -- and let's just
 3     talk in general at this point -- when there were
 4     shareholder meetings, were there meetings for the
 5     combined companies or were there separate meetings
 6     for the different companies you were involved with?
 7             A.    Well -- so we would have a shareholders
 8     meeting once a year.
 9             Q.    Uh-huh.
10             A.    And I can't speak to whether or not
11     certain companies were involved.                     I don't remember.
12     It was -- it was a long time ago.
13             Q.    Didn't you just have one, I guess, at the
14     end of last year.          Right?
15             A.    I don't remember when that precisely was,
16     so I can't give you a date that it was at.                        I could
17     always go and look maybe later.
18             Q.    I remember you said you called in to a
19     shareholder meeting in all Denver?
20             A.    Yes.    Yes.
21             Q.    That was the last one.                  Right?
22             A.    That would have been the most recent one.
23     Yeah.
24             Q.    Okay.       And who would typically present
25     the status of the company at the shareholder

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 1     meetings?
 2            A.     So many different positions have changed.
 3     There were people on that call that I didn't
 4     recognize because I'd been out of the company long
 5     enough for new people to come in.                    So I can't answer
 6     that, I don't -- I don't know.
 7            Q.     Okay.       And I think we touched on this,
 8     but is a fair to say, at this juncture, you -- you
 9     have not divested yourself of any shares in any of
10     these companies.          Right?
11            A.     No.
12            Q.     So you still -- and this is not a bad
13     thing, but you still have a financial stake in their
14     success.     Fair?
15            A.     That's fair.
16            Q.     Do you have any present intent to divest
17     from these companies?
18            A.     I don't think that the shareholder
19     agreement allows me to do so.                 I think -- my
20     recollection is, I can divest upon the sale of the
21     company.
22            Q.     But these are closely-held companies?
23            A.     My understanding of that definition is
24     yes.
25            Q.     All right.        Okay.       I said we were going

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 1     to get through this and take a break and then I
 2     started talking.          So let -- let's finish just the
 3     document portion of this.
 4                   The next request was really a -- a
 5     request of communications between you and -- and
 6     Mr. Oltmann.      Is that fair?
 7           A.      This is a request for every written
 8     communication between me and Joe Oltmann.                        Right.
 9           Q.      And did you produce every or is that --
10     did that go into one of the buckets?
11           A.      No, that's every -- every one that I have
12     access to.
13           Q.      There's group conversations that appear
14     to be between you and Mr. Oltmann and another fellow
15     named Chris Wiegand?
16           A.      Wiegand (pronouncing), yes.
17           Q.      Thank you.
18                   Who is Chris Wiegand?
19           A.      I believe -- his title might have
20     changed, but when I was there, he was considered the
21     CTO, chief technology officer.
22           Q.      Okay.       And what -- what platform were
23     these conversations taking place on?
24           A.      I believe that is a text message.
25           Q.      Okay.       And you backed up your text

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 1     messages?
 2           A.      Yes.     I was able to recover all text
 3     messages up until whatever the earliest date is
 4     there.
 5           Q.      You're pretty savvy with computers.                      Is
 6     that fair?
 7           A.      That was the most difficult part of this
 8     entire preparation because I have an Android.
 9           Q.      Ah.
10           A.      I used to have a iPhone and it was a lot
11     easier.     Trying to figure out how to back it up on
12     an Android for a request this large generated a file
13     that was so large --
14           Q.      Right.
15           A.      -- it was very difficult to transfer that
16     from my phone to my laptop.
17           Q.      So -- so you were communicating,
18     obviously, via phone text message through the
19     messaging app on your Android.                  Right.      And then --
20     well, your iPhone and then your Android?
21           A.      Yes, I no longer have access to the
22     iPhone texts.
23           Q.      Okay.       All right.        So then the question
24     is in terms of instant messaging with Mr. Oltmann,
25     tell me what platforms were used that you can

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 1     recall.     It sounds like at least one of them was on
 2     just the messaging app on the phone, but there are
 3     other platforms, obviously, that you could use.
 4           A.      I don't know if I can give you an
 5     exhaustive list.          I provided to you everything I
 6     could find.
 7           Q.      Were you able to recover texts from all
 8     of the platforms you used?
 9           A.      With the exception of phones that I used
10     before -- I believe it was either 7/20/21.                        Some of
11     those I was able to recover because I had a phone
12     number that went through Google Voice.                      And for
13     those I was able to recover some texts earlier.
14           Q.      Gotcha.
15           A.      But in terms of text to my personal
16     number, there was only so far back I could go.
17           Q.      All right.        And, obviously, you know who
18     I represent.      He's sitting here.
19                   When -- to the extent that you and
20     Mr. Oltmann were talking about Eric Coomer or
21     Coomer-related topics, what would I look to in your
22     production that might reflect that?
23           A.      The -- the request here is so broad and
24     so large.
25           Q.      Well, Brad wrote it, not me.

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 1            A.      I cannot -- I mean, we're talking about
 2     PDF files that are probably, if you printed them
 3     out, hundreds of pages.             I can't point you to
 4     specific parts of that.             Since you asked for
 5     everything, I gave you everything.                    And I know that
 6     that's inclusive of what you're asking for right
 7     now.
 8            Q.      Yeah, you're not getting a grade on that
 9     today.      It's really -- what I was asking you is if
10     you can think back to the time in November of 2020,
11     in that period, December-January, how were you
12     communicating with Mr. Oltmann, especially as it
13     relates to Coomer issues?
14            A.      Phone calls.
15            Q.      And we don't have a record of what was
16     said on those, I assume.             Right?
17            A.      No.     I didn't have a court reporter there
18     with me.
19            Q.      All right.       So to the extent that we get
20     into that, it's going to be based on your memory of
21     the calls?
22            A.      Yes.
23            Q.      Okay.      Perfect.       No. 3, Oltmann's
24     personal legal defense fund.                Do you remember him
25     trying to raise money for his defense?

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 1           A.      I do.
 2           Q.      And, in fact, that was -- you took issue
 3     with that at some point.             Right?
 4           A.      I do.
 5           Q.      Why did you take issue with that?
 6           A.      The reason I -- sorry -- the reason I
 7     took issue with that, my contract paid me a
 8     percentage of revenue that Conservative Daily
 9     generated, and I took issue with the idea of
10     funneling our donor base to another -- another bank
11     account that I couldn't invoice on, and that
12     logically would reduce the amount of money going
13     into the bank accounts that I could invoice on.
14                        MR. MALONE:           Charlie, I don't know
15     how you want to handle it.               We're going to get
16     through it eventually.            I'd like to designate that
17     testimony, and anything further along that line as
18     confidential discovery material, pursuant to the
19     order.     I can have that standing or I can interrupt
20     you, which I really don't want to do.
21                        MR. CAIN:         I think we used the
22     process that the court indicated, which is to allow
23     the deposition to go forward and not require you to
24     do that, but give you the opportunity to review the
25     transcript and do it subsequent.                     That should be --

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 1     and I'm okay with that.             And I think that's the
 2     easiest way.
 3                        MR. MALONE:           That's fine.            And I
 4     think there is a little confusion as to whether or
 5     not it needed to be stated on the record.                         So I
 6     wanted to make sure we're clear on that.
 7                        MR. CAIN:         We'll stipulate.              We're
 8     not going to make you do it contemporaneously.
 9                        MR. MALONE:           Thanks.
10                        MR. CORPORON:            So long as we're
11     paused, I was going to mention this when you had a
12     chance to look through the documents and brought
13     them out for further questioning.
14                        But the same thing.                In light of the
15     court's order 25 hours ago, and the deposition
16     today, we took no time to try and mark any
17     individual documents as confidential or attorneys'
18     eyes only, but the order provides a provision to do
19     that after the fact.
20                        MR. CAIN:         Yeah.
21                        MR. CORPORON:            And I just wanted to
22     get that clear on the record.
23                        MR. CAIN:         Okay.
24           Q.      Okay.       So back to what you were saying.
25     You took issue -- I'm not going to try to

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 1     characterize it.           But when did this personal legal
 2     defense fund issue first crop up, if you remember?
 3             A.       I don't remember.           I know that there are
 4     some text messages in there with me and Chris
 5     Wiegand talking about creating that landing page for
 6     that.        So that would have been when that issue came
 7     up.
 8             Q.       Okay.     And for the nontechnical members
 9     of the jury who may be watching this, because this
10     may be played at trial --
11             A.       Uh-huh.
12             Q.       -- explain the landing page and kind of
13     paint the picture of what that looked like for
14     people who might want to donate.
15             A.       Sure.     A landing page, also known as a
16     squeeze page, is a website designed to give people
17     information and then use that information to compel
18     them to either purchase a product, in the case of
19     another type of landing page, or in this case to
20     donate to a specific cause.
21             Q.       And what did the personal legal defense
22     fund landing page look like?
23             A.       I don't -- I haven't looked at that in a
24     long time.        I know that I helped write and edit some
25     of the language in that, but I haven't looked at

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 1     that in a long time, so I can't -- to my
 2     recollection, I can't tell you what it looked like.
 3             Q.       Well, if you had a problem with this
 4     issue, why did you not raise that in the beginning?
 5             A.       In the beginning I did not know
 6     specifically how that page was going to be used.                           I
 7     didn't know it was going to be put into the
 8     description for all podcast episodes, where podcast
 9     listeners and viewers were going to be encouraged.
10                      I didn't know how that was going to be
11     used.        For all I knew, it was going to be used
12     separately.        So as soon as I realized that, I
13     began -- began complaining about it.
14             Q.       And how long did it take before you
15     realized that this was going to Mr. Oltmann
16     personally?
17             A.       I can't tell you that.              I don't know.
18             Q.       Okay.    Do you know what the term
19     "self-dealing" means?
20             A.       No, but you can -- I have an idea, but
21     you can describe it.
22             Q.       Well, was one of your concerns that this
23     was a corporate endeavor, and one of the
24     shareholders and/or officers were using that
25     corporate endeavor to pay themselves personally?

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 1                   And you can't look at what your lawyer is
 2     writing.
 3           A.      No, I'm just drinking.
 4                          MR. CORPORON:          No one can read what
 5     I'm writing.      I promise you.
 6                          MR. CAIN:       You should have been a
 7     doctor.
 8           A.      Can you rephrase that?
 9           Q.      Probably not, but I'll try.
10                   The issue that I'm raising is the
11     following:     You've got a corporate endeavor that
12     you've been talking about, and you've got
13     Conservative Daily that's raising -- trying to raise
14     revenue.
15           A.      We did.
16           Q.      All right.        And that revenue should go
17     into the corporate account because it's on behalf of
18     the corporation.          That's your enterprise.                Right?
19           A.      Yes.
20           Q.      You weren't working for Mr. Oltmann
21     individually, were you?
22           A.      No, I was not.
23           Q.      But in this instance you have an officer,
24     because Mr. Oltmann was an officer of the company
25     that owned Conservative Daily.                  Right?

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 1           A.      I don't know what his specific title was,
 2     but he had a majority ownership.
 3           Q.      All right.        And speaking of which, when I
 4     say the company that owned Conservative Daily, do
 5     you know what entity that is?
 6           A.      I do not know.
 7           Q.      Okay.       Is that something that concerns
 8     you as a shareholder in some of these companies?
 9           A.      Significantly.
10           Q.      Okay.       Tell -- and, again, we may have
11     jurors who aren't sophisticated in terms of how
12     businesses run.
13                   Tell me why that concerns you as a
14     shareholder in at least one or more of these
15     companies.
16           A.      I do not know when corporate ownership of
17     Conservative Daily changed.                I know it did change at
18     a certain point.          And what concerns me is I was
19     never given any type of documentation notifying me
20     that it had formally changed ownership at any given
21     point, nor did I receive any documentation
22     explaining to me how my shares were going to be
23     transferred.
24           Q.      And it went from, let's say, A to B.
25     What was A and what was B?

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 1             A.    I don't know the specific umbrella
 2     company that it was operating under.                     There's so
 3     many.
 4             Q.    And do you have an understanding of who
 5     designed these structures?
 6             A.    I do not.
 7             Q.    Was there a corporate lawyer that you
 8     understood was assisting the various companies and
 9     their structure?
10             A.    Joseph Orrino would have been the lawyer
11     that I would presume would have been doing that at
12     the time.
13             Q.    Is it fair to say that your ownership of
14     the various entities may have been inconsistent?
15                   In other words, you might have owned
16     40 percent of Company A in my example earlier, but
17     only 27.2 percent in Company B.                  Are you -- are you
18     with me on that?
19             A.    My understanding, and I don't have this
20     in front of me, so I can't give it to you with any
21     level of certainty, but my understanding is that
22     when my shares vested, the companies were under one
23     common umbrella company.
24                   So my shares -- my share percentage was
25     uniform across all of the companies because I owned

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 1     a -- a percentage of that umbrella company.
 2           Q.      Got you.       And the umbrella company is?
 3           A.      At the time that my shares vested, I
 4     believe the official name of it was Shuffling
 5     Madness Media.
 6           Q.      Now, going back to what I was discussing
 7     with you on the personal legal defense fund, the
 8     idea of self-dealing in this instance would be a --
 9     an individual obtaining a personal benefit from a
10     company endeavor, as opposed to the company actually
11     getting that revenue.           That's essentially what I was
12     talking to you about.           Okay?
13           A.      Okay.
14           Q.      And that was the concern that you had.
15     Right?
16           A.      I don't know if I would characterize it
17     that way.
18           Q.      How would you characterize it?
19           A.      Well, the reason I would be hesitant to
20     characterize it that way is because companies I
21     owned shares of were also listed as defendants in
22     other legal matters that are pending in Colorado.
23                   So the creation of a legal defense fund,
24     until I realized it was a personal legal defense
25     fund, in my mind, could have easily -- I don't --

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 1     I'm not privy to joint defense agreements between
 2     the companies and Joe Oltmann, so I can't be sure --
 3     I still can't be sure that the companies I own
 4     shares in aren't, in some way, benefiting from that.
 5             Q.    Right.       What -- what you can be sure of
 6     is that part of that, at some point in time, went
 7     just directly to Mr. Oltmann?
 8             A.    I can't be sure that it went just
 9     directly to Mr. Oltmann because I wasn't privy to
10     those bank transfers.
11             Q.    Okay.       But you told me earlier that this
12     was a -- became an issue for you.                    What triggered
13     that?
14             A.    The belief that that was happening.                      I
15     can't for certainty tell you that -- I -- I don't
16     have access to the bank accounts.
17             Q.    Well --
18             A.    I believe that that was the case.
19             Q.    All right.        You probably didn't wake up
20     one morning believing that.                You probably --
21     something you saw or heard or suspected would have
22     triggered that.        Is that fair?
23             A.    Yeah.
24             Q.    Okay.       So what triggered that belief,
25     back to my question?

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 1           A.      One thing that probably would have
 2     triggered that belief was the realization that money
 3     going into this account, even if it benefitted
 4     companies that I own shares in, was not added to the
 5     pool of revenue that I could invoice on.
 6                   So my contract included a clause that
 7     said I was owed a percentage of all revenue
 8     generated.
 9           Q.      And you invoiced that yourself?
10           A.      Yes.
11           Q.      Okay.       Do you have those invoices?
12           A.      I have some of them.
13           Q.      Okay.       That's not necessarily something I
14     asked you for.        That's why I'm -- I'm trying to --
15     this is called discovery so I'm discovering things
16     today.
17           A.      Yeah, I got paid and I asked to get paid.
18     So yes.
19           Q.      All right.        But that's not something you
20     brought with you here today.                Right?
21           A.      That's not something that was responsive
22     to any of the 11 paragraphs on the subpoena.
23           Q.      Right.       And so that's something I can ask
24     someone else for.
25                   When you -- when you sent the invoice in,

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 1     who did you send it to, what entity or person?
 2             A.    Most invoices -- most, if not all,
 3     invoices were sent to a woman named Lynn Kieffer,
 4     K-I-E-F-F-E-R.
 5             Q.    Okay.       And you mentioned your shares
 6     vesting a couple of times earlier.                    Approximately
 7     when did your shares in these companies vest?
 8             A.    I can't give you an exact date.                     2016,
 9     2017.
10             Q.    Okay.       So you were fully vested at least
11     as of 2017 based on your recollection?
12             A.    Yes.
13             Q.    All right.        By the way, I'm looking at --
14     just pulled up the first document under Request
15     No. 3 and it appears to be -- well, you probably
16     remember it.        It's dated May 24, 2022, Joe Oltmann.
17     "Max, you are a piece of trash."
18                   Number one, did this come to you over
19     some social media account or how did you get this
20     message delivered?
21             A.    That should tell you that in the title of
22     it.     I am not looking at it so I can't answer that.
23             Q.    Oh.     Burner Telegram account.
24             A.    Ah, yes.
25             Q.    What does that mean?

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 1           A.      So I have a personal Telegram account
 2     that I use for my own communications, my own social
 3     media postings.        I also have a second Telegram
 4     account that is not my name, that allows me to
 5     follow people who may have blocked me on my personal
 6     account and it allows me to comment on things
 7     without that being traced back to me.                      Though now it
 8     will be so I'll need a new burner account now.
 9           Q.      Well -- well, I guess we'll get to that.
10                   Paul Watney (phonetic), is that your
11     burner account?
12           A.      It is.
13           Q.      All right.        And did Mr. Oltmann know that
14     that was your burner account, if you know?
15           A.      I don't believe that he did.                       My instinct
16     is that the reason that communication came to me is
17     because that burner account was listed to an old
18     phone number of mine that Joe had even though it was
19     listed -- it was set up to not share that phone
20     number with anyone.          Him searching by that phone
21     number may have been what allowed him to message me
22     on that.
23           Q.      Yeah.
24           A.      I don't think he understood what he
25     was -- who he was messaging.                I think he was

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 1     messaging my -- my phone number that was attached to
 2     it.
 3           Q.      I got you.
 4                   And I -- I meant to ask you this.                      Chris
 5     Wiegand or Wiegand (pronouncing)?
 6           A.      Wiegand.
 7           Q.      Who is he?
 8           A.      I believe I answered that question
 9     already.
10           Q.      Well, I forgot.            What was your answer?
11           A.      My understanding was that, again, he was
12     the chief technology officer.
13           Q.      Yeah, CTO.        I'm sorry.           I recall now.
14                   Request No. 4, you can read it, but it
15     appears that a lot of the responses are from texts
16     and from Signal with Mr. Oltmann and others.                         Is
17     that -- is that what you were able to --
18                        (Simultaneous speaking.)
19           A.      Generally, these were objections that --
20     in terms of documents responsive to this, written
21     objections would have been found in the -- in the
22     media -- mediums that are in that folder.
23           Q.      In other words, if -- if -- let's say the
24     Coomer podcast was coming up and you wanted to
25     raise -- well, let's not use Coomer.                     Let's just be

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 1     general.
 2                   If you wanted to raise an issue with the
 3     content of that day's podcast or perhaps the
 4     individual who was going to be on the podcast being
 5     interviewed, how would you typically raise those
 6     concerns?
 7           A.      We would have a standing meeting in the
 8     morning where in a perfect world everyone would
 9     attend.     In a perfect world, the show topic would be
10     decided in that -- in that morning meeting.                        In a
11     perfect world, we would know who the guest is and
12     know everything about the guest.                     And in a perfect
13     world, we'd be able to decide whether or not that's
14     something that we should do or should not do.                         So
15     most of -- of those discussions would happen in a
16     standing meeting in the morning and then the
17     documents I provided were mostly responding to what
18     was discussed in those morning meetings.
19           Q.      The morning meetings, when would those be
20     scheduled?
21           A.      In the morning.
22           Q.      I knew you were going to say that.                      Did
23     the time vary --
24           A.      Time difference.             I say that because the
25     number I give you is -- would be in Texas time.

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 1             Q.    Right.
 2             A.    Whereas, it would be a little earlier for
 3     them.
 4             Q.    Okay.       Let's -- let's work off the time
 5     zone in the area that you were in when the meetings
 6     occurred.     That would have been Central for a
 7     large -- large period of the later shows.                        Right?
 8             A.    Yes.
 9             Q.    Okay.       And 2020 would have been Central.
10     Right?
11             A.    Yes.
12             Q.    In 2020, when were the standing meetings?
13             A.    I can -- I don't know.                 I don't know
14     specific time because we changed that.                      But it
15     generally would have been my time between the 7:00
16     and 9:00 hours.
17             Q.    You said the -- the -- essentially, the
18     goal was to go through that process, but I -- I
19     heard a bit of frustration in your voice.                        Maybe I'm
20     mistaking that.
21                   Did -- were you concerned in 2020 that
22     not enough time was being spent in these standing
23     meetings to prepare for shows that were being put
24     on?
25             A.    I wasn't concerned that enough time

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 1     wasn't being -- that's a double-negative.                        Let me
 2     rephrase that.
 3           Q.      Yeah.
 4           A.      My concern was not that an insufficient
 5     time was being spent.           My main concern was that all
 6     of the people who should have attended those
 7     meetings were not always in attendance.
 8           Q.      Okay.       In 2020, who should have been all
 9     of the people in those meetings?
10           A.      It would have been me, Josh Hammerling,
11     my producer.      Some days it would just be me and
12     Keith Sawar- -- Sawarynski.                I don't know the
13     specific date where it became a formalized standing
14     meeting, but Joe was always invited to attend those
15     and sometimes did.
16           Q.      Okay.       And -- and you mentioned Keith
17     earlier.     What was -- what would have been his role
18     in the standing meetings?
19           A.      More of a sound board to bounce ideas off
20     of.
21           Q.      And he was pretty consistently available
22     and attending?
23           A.      Yes, there was a period where I had more
24     editorial control over the podcast and those
25     discussions were almost always between -- between me

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 1     and Keith.
 2           Q.      And when did that editorial control phase
 3     of your life change?
 4           A.      I can't give you a specific date because
 5     I don't think a specific date exists.                      It's more of
 6     a gradient.
 7           Q.      Okay.       By November of 2020, where were
 8     you on that gradient?
 9           A.      Blinded.
10           Q.      Okay.       So 50/50, in that -- in that
11     range?
12           A.      I'm not going to guess.                 I can't guess.
13           Q.      Okay.       When did you cease having any
14     significant editorial control, if ever?
15           A.      Are you asking when I ceased having
16     control?
17           Q.      Well, I said editorial.                 But --
18           A.      The day I resigned.
19           Q.      Okay.
20           A.      That's the end of the gradient.
21           Q.      All right.        And when did you resign?
22           A.      I believe the date was either March 11th
23     or March 12th.        I don't have that date in front of
24     me, though.      Of 2022.
25           Q.      Why did you resign?

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 1            A.     I resigned because I did not have
 2     editorial control anymore.
 3            Q.     Is that the only reason?
 4            A.     That's the -- that's the reason.
 5            Q.     And why didn't you have editorial
 6     control?     Who -- who told you that and how did that
 7     come about?
 8            A.     Joe blocked me from putting -- from
 9     presenting a podcast that I had prepared.
10            Q.     What podcast had you prepared?
11            A.     I prepared a podcast going through --
12     going -- going through and debunking claims that
13     Russia had invaded Ukraine because Ukraine was
14     developing biological weapons inside of veterinary
15     clinics and labs.
16            Q.     And what -- why -- what was the expressed
17     reason, if any, that Mr. Oltmann decided to block
18     you?
19            A.     That is in -- the -- the precise quote is
20     in documents that I have given to you.                      But to
21     paraphrase it, it was that that podcast topic could
22     not air because it would contradict positions he had
23     already put -- put out there.
24            Q.     Just generally backing up.                   Is it fair to
25     say that you and Mr. Oltmann had a differing view of

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 1     how to present the war in Ukraine.
 2           A.      Yes.
 3           Q.      But had there been issues between you and
 4     Mr. Oltmann prior to this point in time?
 5           A.      Yes.
 6           Q.      Okay.       Can -- I don't want to get into
 7     too much dirty laundry, but I -- I do want to
 8     understand what happened, you know, to you because
 9     there was a point in time, I assume, that you felt
10     good about the show and you and Mr. Oltmann were
11     getting along okay.          Is that fair to say?
12           A.      Yeah.
13           Q.      Okay.       So the best you can, just from
14     your -- looking back on it in retrospect now, tell
15     me how that, you know, devolved?
16                          MR. CORPORON:          Object as to
17     relevance.
18                          You can answer.
19           A.      So generally, it was put on my shoulders
20     to produced the podcast.             There's different elements
21     of podcast production.            There's technical
22     production, pushing the buttons behind the scene,
23     making sure that signals are going where they need
24     to go.
25                   And then there's the producing aspect

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 1     which is picking show topics, researching them and
 2     then deciding the best way to present them to the
 3     audience.
 4                   For the longest time that was put on my
 5     shoulders, and if you look at earlier episodes of
 6     the Conservative Daily podcast, references to Joe
 7     coming on were put in the title as him being a guest
 8     because he was not the one driving the direction of
 9     it.
10                   That changed over the course of the time
11     that the podcast aired.             It began by Joe
12     interjecting that he wanted certain things to be
13     the -- the focus at the last minute, to him then
14     hiring people that share his viewpoints, to then him
15     empowering --
16           Q.      Such as?
17           A.      -- them to make decisions.
18           Q.      And I apologize for interrupting.
19                   Such as?
20           A.      Greg Papas.         I believe he goes by Apollo.
21                        MR. CORPORON:            I'm just going to make
22     a standing objection to relevance to this line of
23     questioning for the record.
24                        MR. CAIN:         That's fine.
25                        MR. MALONE:           Join in the objection.

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 1                        MR. CAIN:         He joins in the objection.
 2     His name is Ryan Malone.             If there's an objection
 3     from the computer, it's Ryan Malone.
 4           A.      Greg Papas who goes by Apollo --
 5           Q.      Right.
 6           A.      -- would be the one who comes to mind.
 7           Q.      Anyway, were you finished with your
 8     answer?
 9           A.      I don't remember.
10           Q.      We were just talking about how things
11     devolved in general and -- and you mentioned the
12     hiring issues and take me from that point.                          When was
13     Mr. Papas hired?
14           A.      I don't know.
15           Q.      To the point where Joe blocked you?                       How
16     did that progress after that?
17           A.      So when I signed my last contract, my
18     title was -- it was chief of content.                      And my
19     expectation was that I was going to be allowed to
20     continue driving the decision-making on what kind of
21     content we -- we covered and presented.                          That was
22     not the case.
23           Q.      And you said when you signed your last
24     con -- contract, what -- what -- I don't think I've
25     seen a contract, at least from just what I've

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 1     gathered so far, other than some of the NDAs, is
 2     there something different that you're speaking to?
 3             A.       I don't know what you've seen.
 4             Q.       Let's do this.        I reserve the right to
 5     jump around when you say something, so I'm going to
 6     do that.        And we'll get back to Exhibit 11 here in a
 7     minute.        Actually, I had -- I made a note you said
 8     that you had provided us with a responsive document
 9     when Joe blocked you.           Tell me in -- in this
10     particular categories which -- would it be one, two,
11     three, four, five, six for --
12             A.       I don't know which one.              It would have --
13     I believe that conversation happened on Signal.
14             Q.       Okay.
15             A.       And those would have been screenshots
16     because I couldn't figure out any other way to
17     download those from Signal.
18             Q.       And you mentioned the chief of content
19     role.        Just tell me what that means in lay terms?
20             A.       In practice, it meant nothing.                  I
21     realized that I was the only one who knew that that
22     was my title.        So in practice, it meant absolutely
23     nothing.        And my hope was that it would give me a
24     formal ability to reexert control over the type of
25     content that we -- that we covered.

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 1             Q.       Okay.    Well, obviously I care about
 2     mostly the content of the podcast relating to -- to
 3     Eric.        Who was responsible for the -- the content of
 4     those shows?
 5             A.       Joe.
 6             Q.       And Joe alone?
 7             A.       The original episode, that was driven by
 8     Joe.     Subsequent episodes, I cannot recall what role
 9     I played in those processes but it was again driven
10     primarily by Joe.
11             Q.       Well, again, we'll veer into this for a
12     minute.        Did you do any independent research in
13     order to lend information to the content of any show
14     relating to Eric Coomer?
15             A.       I'm thinking.       It was a very long time
16     ago.     And I don't have access to any of those emails
17     if they were done through my work email.                         But my
18     general recollection is, that, yes, I did try and
19     look into things.
20             Q.       Okay.    What did you try to look into?
21             A.       I just gave you a general recollection.
22     I -- I can't answer that with specificity.
23             Q.       And when you say you don't have access to
24     your work email, to the extent that you were -- your
25     general recollection will help, let's say you were

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 1     gathering data or information, what email would we
 2     look to, to be able to get that, to that point?
 3           A.      I don't know, but it wouldn't be my
 4     personal email.
 5           Q.      Okay.
 6           A.      Because I -- I didn't find it.
 7           Q.      So --
 8           A.      I mean, there were some emails that Joe
 9     sent to my personal email about the Eric Coomer
10     episode.     But in terms of beyond that, I wasn't able
11     to find any responsive documents.
12           Q.      Okay.       And, again, let me make sure I
13     understand the emails because you've already said
14     there are a lot.
15           A.      Uh-huh.
16           Q.      Your personal email address is?
17           A.      Maxjmcguire@gmail.com.
18           Q.      Okay.       And have you produced Gmail emails
19     that are responsive?
20           A.      Yes.
21           Q.      Okay.       Thank you.
22                   Back to the topic that you said your last
23     con- -- contract with the company.
24                          (Exhibit 12 was marked.)
25           Q.      I'm going to show you what was produced

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 1     to us.     I've marked it as Exhibit 12.
 2           A.      (Pause.)
 3           Q.      Do you recognize that?
 4           A.      Yes.
 5           Q.      What is it?
 6           A.      This is the contract that I signed.
 7           Q.      Okay.       So when you testified earlier, is
 8     this what you were referring --
 9           A.      Yes.
10           Q.      -- to?
11                   Okay.       Since we have it in front of us,
12     this is between you and a company called CD
13     Solutions, Inc.        Do you see that?
14           A.      Yes.
15           Q.      And in Section 1.5, there's some initials
16     by that paragraph.          Are those your initials?
17           A.      They are.
18           Q.      The term of this agreement, you've
19     actually crossed-out.           You started it on September 1
20     of 2021.     Is that -- is that accurate?
21           A.      That's correct.
22           Q.      And tell me why you signed this contract
23     in September of 2021?
24           A.      Can you rephrase that?
25           Q.      Yeah.       Well, you were --

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 1           A.      There's -- there's a lot of motivations
 2     behind signing a contract.
 3           Q.      Well, give me the backdrop as to why this
 4     came about and why you decided to sign a new
 5     contract with this company?
 6           A.      The contract I was currently under was
 7     dated in 2014 so it predated the existence of the
 8     podcast.     And I believe was insufficient in -- in
 9     compensating me for the many things that I was doing
10     for the company that did not exist at the time that
11     my 2014 contract was originally signed.
12           Q.      And I've got a -- a separate -- so it's
13     for more money?
14           A.      And --
15           Q.      That's part --
16           A.      -- and the hope that it would formalize
17     for me to actually have more control over what kind
18     of content we aired.
19           Q.      All right.        Because there is a section
20     here, it looks like you were getting 10,000 a month
21     under this contract?
22           A.      Yes.
23           Q.      Plus some bonus -- potential for bonus.
24     Right?
25           A.      Theoretically.

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 1           Q.      Plus then, presumably, on top of that,
 2     the potential for a distribution based on your
 3     shareholder interest?
 4           A.      Against, theoretically.
 5           Q.      Did you ever receive distributions from
 6     CD Solutions?
 7           A.      No.
 8           Q.      Or any of the other companies?
 9           A.      Not to my knowledge, no.
10           Q.      And then, I -- I don't know that I have a
11     2014 agreement, but let's -- let's put some meat on
12     the bones on that issue too.
13                          (Exhibit 13 was marked.)
14           Q.      I'm showing you what I've marked as
15     Exhibit 13.      Do you recognize this?
16           A.      Yes.
17           Q.      This is dated -- it's written in there
18     September 3rd of 2015.            And it's between PI- -- PIN
19     Business Network and you.              Correct?
20           A.      Yes.
21           Q.      Okay.       Is this different than the
22     agreement that you were just testifying about?
23           A.      Yes.
24           Q.      Okay.       So tell me what -- what -- what is
25     the 2014 agreement you're referring to?

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 1           A.      It's a separate agreement between me and
 2     Shuffling Madness Media detailing my compensation
 3     for revenue generated for Conservative Daily.
 4           Q.      Okay.       And how long were you operating
 5     under this 24 -- excuse me -- 2014 Shuffling Media
 6     Madness agreement?
 7           A.      That would have been -- I don't have it
 8     in front of me so I can't give you a precise date,
 9     but it would have been sometime around 2014 until
10     the new contract went in effect.
11           Q.      The new contract being Exhibit 12?
12           A.      Exhibit 12, yeah.
13           Q.      Okay.       So your compensation from June
14     2014 until September of 2021 was through the
15     Shuffling Madness Media?
16           A.      I believe -- I don't have it in front of
17     me, I believe that is the organization that I had
18     signed a contract with.
19           Q.      And were you a W-2 employee or an
20     independent contractor?
21           A.      Independent contractor.
22           Q.      Do you know, as you sit here, why you
23     were presented with a contract for nondisclosure
24     with this other entity, PIN Business Network?
25           A.      Because I am a partner, even though I

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 1     never signed a contract to work under PIN Business
 2     Network as an employee, I was still in shareholders'
 3     meetings, partner meetings, related to the goings-on
 4     in PIN Business Network.
 5                   So this was a requirement -- I believe,
 6     if I remember correctly, this was an agreement that
 7     all partners sign a nondisclosure agreement whether
 8     or not they were actually being compensated by PIN
 9     Business Network.
10            Q.     Do you recall actually doing business for
11     that entity -- or excuse me --
12            A.     For a short time, yes.
13            Q.     And what -- talking generally, what
14     companies were you working for?                  And you can break
15     them up by lines of business, if that's easier for
16     you.
17            A.     So I was working for Shuffling Madness
18     Media specifically for work under Conservative Daily
19     from 2014 through to that new contract, Exhibit 12.
20                   Under PIN Business Network there was a
21     short period of time where I was writing unrelated
22     nonpolitical articles for a blog.                    And there was a
23     period of time where I was managing social media
24     personnel and managing other writers --
25            Q.     Okay.

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 1           A.      -- without a formalized contract.
 2           Q.      All right.        Is that it?           I mean, that's
 3     enough.     I'm not --
 4           A.      Yeah.
 5           Q.      Okay.       All right.        The -- directing your
 6     attention back to Exhibit 12, the CD Solutions
 7     agreement.
 8                   Did all of these companies -- I know it's
 9     noted that it's on 6200 Syracuse Way in Greenwood
10     Village.     Did all of those companies operate out of
11     those offices?
12           A.      I don't know.
13           Q.      You didn't -- you didn't typically go
14     into the office because you were in Texas.
15           A.      Yeah.
16           Q.      Is that fair?
17           A.      When I was in Texas I was not regularly
18     walking into the office in Greenwood Village,
19     Colorado.
20           Q.      Okay.       So essentially you were a remote
21     worker?
22           A.      Yes.
23           Q.      Okay.       Has this Exhibit 12, have you
24     provided notice of termination under it?
25           A.      Yes.

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 1           Q.      When did you do that?
 2           A.      I don't have the specific date in front
 3     of me, but it will be in the documents.                          It was
 4     March 11th or 12th, somewhere around that range.
 5           Q.      Of 2022?
 6           A.      Yes.
 7           Q.      Oh, when you took the action --
 8           A.      Yes.
 9           Q.      -- to remove yourself?
10           A.      Yes.    I -- I formally resigned.
11           Q.      Okay.       And there is a writing where you
12     terminated this agreement or gave notice.
13           A.      Yeah.
14           Q.      Okay.
15           A.      There is a -- there is a -- in writing,
16     me saying I resigned, and in writing, me giving
17     notice.
18           Q.      Good.       Directing your attention now back
19     to the subpoena, and we'll finish this up so I can
20     get someone actually looking at the documents in
21     detail.
22                   We've got documents -- looking at
23     Request 5, it looks like you've produced texts,
24     including texts with Josh.               And I presume that's the
25     producer you mentioned earlier?

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 1           A.      Josh Hammerling, my former producer.
 2           Q.      Okay.       Same for 6.         It looks like Josh's
 3     texts would relate to that.
 4           A.      The only responsive document I could find
 5     about the Cyber Symposium was a text to Josh asking
 6     where is Joe, and Josh telling me he's at the Cyber
 7     Symposium.
 8           Q.      Was that the first time you knew that he
 9     was going to the symposium?
10           A.      I don't remember.             I don't know.          It was
11     a long time ago.          I don't know the minute that I
12     learned he was going to the symposium.
13           Q.      Were you invited?
14           A.      No.
15           Q.      Why do you laugh?
16           A.      I laugh because I wasn't invited to a lot
17     of things.
18           Q.      So you -- Mr. Oltmann didn't tell you he
19     was going to the symposium?                You just found out from
20     the producer?
21           A.      I cannot remember conversations that long
22     ago about that.       I know that there was a minute that
23     I found out about the symposium.                     And it's my belief
24     that that -- that the moment I found out is
25     reflected in that text message.

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 1            Q.     Did you have -- okay.                  Well, I think you
 2     just answered it.          Never mind.
 3                   Up until the symposium, did you have any
 4     communications with anybody associated with Mike
 5     Lindell's -- either him personally or the My Pillow
 6     company or the FrankSpeech?
 7                        MR. MALONE:           Object to the form of
 8     that question.
 9            Q.     You can answer.
10                        MR. CORPORON:            Could you repeat the
11     question?
12            A.     Could you repeat it?
13            Q.     Yeah.       And it probably was difficult.
14                        MR. CORPORON:            If you remember, can
15     you repeat it?
16            Q.     So up until the Cyber Symposium -- do you
17     remember when that symposium occurred?
18            A.     I'm reading in front of me that it was
19     between August 10th and August 12th, 2021.
20            Q.     So up and to that point, did you have any
21     communications with anyone you understood to be
22     associated with Mike Lindell, My Pillow, or
23     FrankSpeech?
24            A.     Well, I believe I provided two emails to
25     you.    I can't speak to the dates, though, they're

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 1     right in front of you.
 2                      Mike Lindell was on our show, so I have
 3     to tell you that I did communicate with Mike Lindell
 4     when he was on our show.
 5                      There were meetings.            There was at least
 6     one meeting I can remember where a My Pillow --
 7     someone representing Mike Lindell was put on the
 8     phone, where people pitched her an idea.                         That's the
 9     extent of -- of instances that I can remember at
10     this moment.
11             Q.       How many times was Mr. Lindell on the
12     Conservative Daily podcast while you were there?
13             A.       I don't know the exact number.
14             Q.       Is it more than one?
15             A.       It's more than one.
16             Q.       Is it less than ten?
17             A.       I don't know.
18             Q.       And this pitch that you referenced on a
19     meeting, put a little more meat on the bones on
20     that.        Where was the meeting?           What was the pitch?
21             A.       It was a meeting of employees and people
22     working on the Conservative Daily podcast, and it
23     was not about -- the meeting was not about pitching
24     Mike Lindell.
25                      But I believe, if my recollection is

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 1     correct, and there should be some mention of this in
 2     texts with Josh.          The pitch was made by either Jake
 3     Freijo, or Jake Freijo and Greg Papas, trying to get
 4     Mike Lindell to go into business with them on
 5     coffee.
 6           Q.      And that's a new name, Jake Freijo.                      Who
 7     is he?
 8           A.      He is someone that Joe hired.
 9           Q.      Okay.       Do you know him?
10           A.      I've met him.
11           Q.      What's his background, if you know?
12           A.      He -- I believe he comes from the real
13     estate industry.          He has some experience in politics
14     in New York.      And then he came to us.
15           Q.      And is he still there, if you know?
16           A.      I don't think he is.               But I don't know
17     for sure.
18           Q.      Do you have any understanding about
19     Mr. Freijo and his association with the Proud Boys?
20           A.      I knew that, yes.
21           Q.      Did that cause a problem for you?
22           A.      It did.
23           Q.      I take it from your prior testimony you
24     were not -- you were not on the hiring committee?
25           A.      I was not.

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 1           Q.      All right.        So walking back, you said
 2     something to the effect of Mr. Freijo and Mr. Papas
 3     were pitching Mr. Lindell on a coffee idea?
 4           A.      Yes.
 5           Q.      What do you mean?
 6           A.      They wanted to go into business with Mike
 7     Lindell on some form of coffee.                  That's all I
 8     remember from that.
 9           Q.      Do you know whether anything was
10     consummated as a result?
11           A.      No.     I do not think that anything was
12     consummated.
13           Q.      And when -- about when was that?
14           A.      I can't tell you.             I don't know.
15           Q.      Was Mr. Oltmann on this pitch?
16           A.      He was in the room.
17           Q.      And were you in the room?
18           A.      I was there remotely.
19           Q.      What room?
20           A.      I don't know what specific room they were
21     in.
22           Q.      Okay.       And was this in 2021?
23           A.      I don't know for sure, but that would be
24     my inclination.
25           Q.      In Request 7, you appear to have attached

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 1     one document, being an Oltmann affidavit.
 2           A.      Yes.
 3           Q.      It -- I'll just represent to you it looks
 4     like it's an email from Joe Oltmann at FEC United to
 5     Max McGuire at your personal Gmail.                    Does that --
 6           A.      Yes.
 7           Q.      Okay.       Did you have a role in the
 8     creation of that affidavit?
 9           A.      No.
10           Q.      Do you know who did?
11           A.      I do not.
12           Q.      Besides the guy who signed it?
13           A.      Well, besides the guy who signed it.                         I
14     do not know who helped him.
15           Q.      Do you -- do you remember what the
16     circumstances were that led to him sending you this
17     affidavit?
18           A.      I don't remember the circumstances.                      I
19     think I asked for it.           But I don't remember the
20     circumstances.
21           Q.      Did you -- do you recall that you asked
22     for it because it was something that was referenced
23     in the podcast?
24           A.      I don't recall.
25           Q.      Okay.       All right.        And we'll get to the

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 1     contents if we have time.              But fair to say that on
 2     November 19th, that was transmitted to you?
 3           A.      If that's the date, then, yes.
 4           Q.      Okay.       That's the date.            Request 8
 5     relates to threats directed towards Mr. Coomer.
 6                   And you've texted with friends is what
 7     it's called:      "Text With Friends, M."
 8           A.      Uh-huh.
 9           Q.      Tell me what that is.
10           A.      That is a friend of mine who the only
11     reason that that is included is because technically
12     it is responsive to that question.
13           Q.      Okay.       And the M is -- you've redacted
14     that because you don't want the identity of your
15     friend disclosed?
16           A.      I -- I have redacted that because it's my
17     understanding that she has a protected identity
18     under law.
19           Q.      And this --
20                        MR. CORPORON:            And I'd object to any
21     further inquiry on that on the record as a result.
22     And I'm not totally privy to the -- the background
23     on this protection, but it sounds very important.
24           Q.      Well, I'm not going to ask you who M is.
25     I think that's the most important thing so...

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 1                   But what -- what were you -- why were you
 2     texting with this individual about Coomer?
 3           A.      We -- we were not texting about Coomer.
 4     We were texting about me and my devolving
 5     relationship with Joe and Coomer was mentioned.
 6           Q.      And -- and this is in March of 2022?
 7           A.      Yes.
 8           Q.      Because you actually, after you left,
 9     started getting threats, didn't you?
10           A.      Define "threats."
11           Q.      You -- you define threats.                   What does it
12     mean to you?
13           A.      You asked the question.                 Can you define
14     what you're asking me to answer?
15           Q.      Well, did you -- did you receive any
16     negative feedback from members of the public after
17     you left Conservative Daily?
18           A.      Yes.
19           Q.      Okay.       What form did those take?
20           A.      Mostly social media posts, comments.
21     Those are the tangible examples.
22           Q.      And did you -- did you get some of those
23     from Mr. Oltmann?
24           A.      Did I get negative messages from
25     Mr. Oltmann?

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 1           Q.      Yeah.
 2           A.      Yeah.
 3           Q.      Okay.       He's associated -- correct me if
 4     I'm wrong -- with a group called FEC United?
 5           A.      Yes.
 6           Q.      And they're associated with a group
 7     called UADF?
 8           A.      It is my understanding, yes.
 9           Q.      Okay.       Are you a member of either of
10     those organizations?
11           A.      I don't believe I am -- I'm not a paid
12     member, I might be on an email list, but I'm not a
13     paid member.
14           Q.      Okay.       Have you received anybody coming
15     to your house making direct threats against you or
16     your family?
17           A.      No one has come to my house.
18           Q.      Has anybody called your phone and made
19     threats?
20           A.      No.     I like to keep my phone number
21     secure.
22           Q.      You do have -- and I -- forgive me, I
23     don't recall the lady's name who had posted about
24     some members of FEC United coming to her home.
25           A.      Yes.

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 1           Q.      Okay.       And who is that person?                 Is that
 2     someone that works with you?
 3           A.      Because of the proximity to the objection
 4     we just made, I would prefer not to answer that.
 5           Q.      Okay.       Well, I'll represent to you that
 6     name is public and -- but out of respect for her and
 7     you, I don't need it on the record here.                         Okay?
 8                   She did have people come to her house.
 9     Right?
10           A.      That is what she told me, yes.
11           Q.      Yeah.       Okay.     9, "Communications relating
12     to the alleged participants of the Antifa call."
13                   It looks like you have some -- again,
14     some emails that were back -- from a backup file and
15     it says SyncTech.          What is that?
16           A.      I don't know.
17           Q.      Okay.       It says:       Joe -- Joe text to Max
18     210 number.
19           A.      Oh.     That is the entire document of every
20     text Joe has sent me.
21           Q.      Okay.       So that's -- 9 is the entire
22     document?
23           A.      Uh-huh.
24           Q.      It wasn't that important of a question,
25     but you have to say yes or no.

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 1           A.      Yes.
 2           Q.      Okay.       10 is "Communications authored,
 3     sent, or received by you concerning instances where
 4     Oltmann manipulated, fabricated, falsified, or
 5     altered in any way any alleged evidence of fraud in
 6     the 2020 presidential election," and then it goes
 7     on.
 8                   And it looks to me like you've -- you've
 9     found something responsive to that in the form of
10     some additional text messages.                  Is that fair?
11           A.      That was emails and text messages
12     including that, I believe, were included to be very
13     broad in what we believe could be responsive to
14     those specific words of "manipulated, fabricated,
15     falsified, or altered."
16           Q.      Did you -- did you, like, perform a word
17     search to try to hone in on responsive documents?
18           A.      I believe that that folder of responsive
19     documents was prepared by the paralegal staff at
20     Randy's office.
21           Q.      I see.       And -- and let me back up, then.
22                   This is a document that's dated
23     November 16th of 2022.            It's with the name Keith
24     Sawar- --
25           A.      Sawarynski.

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 1           Q.      That guy.        And then there's some text
 2     messages on that.
 3                   Of the documents' categories that we've
 4     been talking about to this point, how many of those
 5     have been prepared by the attorney's office as
 6     opposed to something that you produced yourself, if
 7     that can be determined?
 8           A.      I don't know if -- if I can give you a
 9     number.    That's --
10           Q.      That's fine.
11                   Have these -- have the documents you've
12     been given or that you produced been loaded into a
13     particular software that allows it to be produced?
14     Are you familiar with those types of document --
15     document production softwares where you can search?
16           A.      Like legal?
17           Q.      Yes, sir.
18           A.      I have no knowledge of that.
19           Q.      All right.        The last one is Request For
20     Production 11.       And that relates to a fellow named
21     Joey Camp.     Do you know who he is?
22           A.      Only by what has been told to me or I've
23     seen in the news and on Twitter.
24           Q.      Y'all aren't buddies?
25           A.      I don't know him personally, no.

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 1             Q.       Never talked to him?
 2             A.       I don't believe so, no.
 3             Q.       Never messaged with him?
 4             A.       I don't believe so, no.
 5             Q.       The responsive documents there are -- it
 6     says texts to Leigh.
 7             A.       Yes.
 8             Q.       Who is Leigh McGuire?
 9             A.       Leigh is my mother.
10             Q.       Okay.    Why were you texting with your
11     mother about Joey Camp?
12             A.       I wasn't texting my mother about Joey
13     Camp.        My mother was texting me about Joey Camp.
14             Q.       What did you understand to be the reason?
15             A.       She wanted to research all of this and
16     she enjoys going on Twitter and going through all
17     the Twitter beef and there were a couple instances
18     where she sent things to me.
19             Q.       Okay.
20             A.       And in one of those instances, I asked
21     her to please stop because I know nothing about Joey
22     Camp, and every time she does that, I have to
23     produce this.
24             Q.       Did you ever have conversations with
25     Mr. Oltmann about Joey Camp?

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 1      1        A.     I don't believe so.
 2      2                        MR. CAIN:       Okay.       All right.      We've
 3      3 been going for longer than I anticipated.                        I'm going
 4      4 to do the following.             I'm going to take the thumb
 5      5 drive you gave and I'm going to give that to my
 6      6 staff like I mentioned so that they can start
 7      7 looking through this.             And in the meantime, let's
 8      8 take about a ten-minute break.
 9      9                        THE WITNESS:         Okay.
10     10                        THE VIDEOGRAPHER:            Going off the
11     11 record.     The time is 11:52.
12     12                                 (Break.)
13     13                        THE VIDEOGRAPHER:            Back on the
14     14 record.     This marks the beginning of Media Unit
15                                12:19     15 No. 2.         The time is              .
16     16        Q.     Let's talk a little bit about some
17     17 follow-up from the first session from my notes.                          You
18     18 had mentioned the standing meetings.                      I was going to
19     19 make a joke about standing versus sitting.                        I didn't
20     20 do that.     I'm glad I didn't.
21     21               You said that they were mainly phone
22     22 conversations.          Is that accurate?
23     23        A.     Yes.
24     24        Q.     Okay.       Did you ever take notes of these
25     25 standing meetings?

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 1             A.    No.
 2             Q.    Do you know anybody who did?
 3             A.    No.
 4             Q.    Okay.       So other than your memory of
 5     those, there is no written documentation --
 6             A.    The only time there would be written
 7     documentation would be if action items were given to
 8     me to do a specific task.
 9             Q.    And how would -- and what form would that
10     take?
11             A.    Just me jotting down to myself, I need to
12     do X, Y, Z.
13             Q.    Okay.       On a -- on a pad or in a -- strike
14     that.
15                   Are any of these preserved?
16             A.    I don't know.
17             Q.    If you went -- if you needed to go look
18     for them, where would you go?
19             A.    I don't know.          I don't know.               If I jotted
20     things down, they would maybe be in notes, on pieces
21     of paper.
22             Q.    Okay.       Is it possible that you have notes
23     relating to the Coomer podcasts still in your
24     possession, custody, or control?
25             A.    I don't think so, no.

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 1           Q.      I was a little confused about the -- the
 2     revenue sharing and distribution testimony from the
 3     standpoint of your contract that we looked at with
 4     CD Solutions appeared to have a flat, 10,000 a month
 5     payment.     Right?
 6           A.      Yes.
 7           Q.      And then the bonus possibility?
 8           A.      Yes.
 9           Q.      Is there --
10                          MR. CORPORON:          Since you're answering
11     before he finishes his questions --
12                          THE WITNESS:          Oh.
13                          MR. CORPORON:          -- I'm going to just
14     renew my standing objection as to relevance of this
15     line of questioning.
16           Q.      Okay.       The good thing is we don't have to
17     debate those issues now.             We debate them later with
18     the Court.     Possibly.
19                   And then you told me that one of the
20     concerns that you had was some of the revenue going
21     into the personal legal fund of Mr. Oltmann.                          Right?
22           A.      Yes.
23           Q.      So I -- I'm -- were you receiving a
24     percentage of the revenue generated by the podcast
25     at any point?

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 1           A.      Yes.
 2           Q.      Okay.       And that's the invoicing that you
 3     told me about earlier?
 4           A.      Yes.
 5           Q.      I mean, part of that would be reflected
 6     on that.     Right?
 7           A.      Yes.
 8           Q.      You didn't have to invoice, or did you,
 9     the -- the flat amount that you were also receiving?
10           A.      The only times that I invoiced on revenue
11     percentage was for the contract that predates the
12     flat payment.
13           Q.      Okay.       And the revenue percentage that
14     you received -- I didn't -- I haven't studied it in
15     detail -- is it reflected in your contract?
16           A.      These two contracts?
17           Q.      Yes.    The -- in particular, the CD
18     Solution contract?
19           A.      No.
20           Q.      So where is that reflected?                   How is that
21     calculated, I should say?
22           A.      Can you rephrase that?
23           Q.      How was it calculated?
24           A.      How was my --
25           Q.      Yes.

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 1           A.      My invoice calculated?
 2           Q.      Yes.
 3           A.      I earned 15 percent of all revenue
 4     generated prior to the execution of Exhibit 12.
 5           Q.      Okay.       And after the execution of
 6     Exhibit 12, you earned?             You said prior to?
 7           A.      Yes.
 8           Q.      Okay.       After?
 9           A.      Oh, that was the question?
10           Q.      Yes.
11           A.      I believe about 10,000 a month.
12           Q.      So back to my -- my confusion.                     Help --
13     help me understand.          After you executed Exhibit 12,
14     were you receiving a percentage of revenue or not?
15           A.      No.
16           Q.      And why did that change?
17           A.      Because the contract changed.
18           Q.      And if you weren't receiving a percentage
19     of revenue, why were you concerned about the legal
20     defense fund aspect of this?                Was it because you
21     were also expecting a distribution from the company?
22           A.      It was my job to drive revenue into the
23     company.     If revenue is being driven elsewhere, it's
24     not reflective under the heading of revenue driven
25     into the company.          So if we are driving revenue into

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 1     another entity, I can't take credit for that as a
 2     success.
 3           Q.      Okay.       So it was a -- a hero sheet issue?
 4     You want to show revenue generated by your work
 5     product as a -- as a means of gauging your
 6     performance?
 7           A.      I don't know what a hero sheet is.
 8           Q.      Well, it -- it comes in different forms.
 9     Strike that part of it.
10                   Is that what you wanted?                 You wanted to
11     just show the -- the success from your efforts from
12     the company as it reflected by revenue and that's
13     what -- what you've been referring to?
14           A.      The expectation was that I drive revenue.
15     And if money is directed towards a different
16     account, then that would not be reflected in
17     official revenue generated.
18           Q.      Okay.       Well, one other -- while I'm
19     thinking about it.
20                   Well, before I get there.                  I neglected to
21     ask you -- I -- I don't like to go necessarily into
22     detail about how, you know, you grew up and what
23     high school you went to, but you do have some
24     college degrees behind you, don't you?
25           A.      Yes.

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 1             Q.       Okay.    Where did you go to school?
 2             A.       I went to Boston College for
 3     undergraduate and I received my master's degree from
 4     the University of Villa Nova.
 5             Q.       Okay.    And that -- was it in political
 6     science, I think?
 7             A.       Yes.
 8             Q.       Okay.    When -- when did those events
 9     occur?
10             A.       Which -- can you define "events"?
11             Q.       Getting your degrees.
12             A.       I received my bachelor of arts in 2012
13     and I received my master of arts in 2014.
14             Q.       How old are you?
15             A.       I am 32.
16             Q.       You're -- I'm not going to mark this
17     necessarily.        But your LinkedIn shows that you are a
18     partner in PIN Business Network?                     Or it reflects
19     that.        And that's accurate.          Right?
20             A.       Yes.
21             Q.       We talked about that.               It shows that
22     you're a partner in Shuffling Madness Media.
23     Correct?
24             A.       Yes.
25             Q.       It shows that you're an advocacy

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 1     director, or were, for Conservative Daily.                        Is that
 2     correct?
 3           A.      Yes.
 4           Q.      What does that mean?
 5           A.      That is the title that I was given.
 6           Q.      Okay.       What were your job
 7     responsibilities and duties as the advocacy
 8     director?
 9           A.      To drive revenue and to produce content.
10           Q.      Okay.       It does not reflect the
11     CD Solutions company on your LinkedIn.                      Is there a
12     reason?
13           A.      No.
14           Q.      Okay.       Now, we've talked about companies
15     that you've been involved with and you've indicated
16     a relationship as a shareholder with at least three,
17     CD Solutions, Shuffling Madness and PIN Business.
18     Right?
19           A.      Yes.
20           Q.      Any other companies that are associated
21     with Oltmann that you are a shareholder in?
22           A.      Yes.    But I don't have a list in front of
23     me and I don't have the list memorized.
24           Q.      Okay.       Give me the list as you know it
25     sitting here today?

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 1           A.      DCF Guns.
 2           Q.      Okay.       Is that the gun store?
 3           A.      Yes.
 4           Q.      Okay.
 5           A.      I don't know the exact names of the other
 6     entities.
 7           Q.      What do they do?
 8           A.      One is a car dealership.                  One is a repair
 9     shop for cars.        And I don't know the other ones off
10     the top of my head.
11                          THE STENOGRAPHER:               Can you raise your
12     microphone up a little bit.
13                          THE WITNESS:          Sorry.
14                          THE STENOGRAPHER:               It's scratching.
15           Q.      You mentioned like an umbrella company,
16     is this DCF under the umbrella with these other
17     companies?
18           A.      I don't know the specific corporate
19     structure.
20           Q.      And forgive me on the PiDoxa part of
21     this, if I'm pronouncing that correctly.                         What is
22     the purpose of that company?
23           A.      I don't know.
24           Q.      Who would?
25           A.      Joe Oltmann.

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 1                          MR. CORPORON:          What was that company,
 2     again?
 3                          MR. CAIN:       PiDoxa.
 4           Q.      P-I-D-O-X-A?
 5           A.      Uh-huh.
 6           Q.      Yeah.
 7                   And in terms of, you mentioned driving
 8     revenue, you were responsible for the fax
 9     blasting --
10           A.      Yes.
11           Q.      -- component?
12           A.      I'm sorry.        Yes.
13           Q.      And I -- I want the jury to kind of just
14     understand these revenue streams to the extent that
15     they end up being relevant.
16                   What is fax blasting?
17           A.      Fax blasting is a automated system that
18     allows people to automatically send facsimile
19     messages to members of Congress.
20           Q.      Okay.       And that -- that was part of your
21     responsibility is to handle that line of business?
22           A.      Yes.
23                          (Exhibit 14 was marked.)
24           Q.      Is Exhibit 14 an example of a fax blast?
25           A.      Yes.

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 1           Q.      Is -- is this something that you go to
 2     the website in order to sign up for?
 3           A.      To sign up -- I -- I don't understand the
 4     question.
 5           Q.      Well, this looks like a form you fill out
 6     if you're wanting to have messages sent to a
 7     representative.       Right?
 8           A.      Yes.
 9           Q.      Where does a -- a donor go to find these
10     forms and fill them out and put their credit card
11     in?
12           A.      They can either receive them in their
13     email inbox.      They can be send to them by text or
14     they can access it over the internet.
15           Q.      And there's a button on it that says
16     donate now.      And that's the button you push in order
17     to get, depending on your selection, messages sent
18     to either your state representative, your
19     congressional representative, the entire Congress,
20     et cetera.     Is that fair?
21           A.      Yes.
22           Q.      All right.        And this is -- in terms of
23     the revenue this generates, this is revenue that --
24     that goes directly to Conservative Daily.                        Right?
25           A.      Yes.

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 1           Q.      All right.        In other words, it's not a
 2     donation to a political action committee or to a
 3     specific member of Congress.                Right?
 4           A.      No.
 5           Q.      All right.        It's just -- well, you --
 6     you've answered the question.
 7                   So that's another revenue stream that was
 8     in place in 2- -- 2020.             Correct?
 9           A.      Yes.
10           Q.      All right.        And in 2021.           Right?
11           A.      Yes.
12           Q.      And how was -- was the revenue generated
13     by fax blasting accounted for separate -- separately
14     from the other revenue sources?
15           A.      Yes.
16           Q.      In other words, how are we doing on fax
17     blasting, you had the ability to see -- to kind of
18     gauge the metrics of that?
19           A.      Yes.
20           Q.      Okay.       We've talked about -- I think I
21     have an example of one, actually.                    Just a minute.
22     Maybe I don't.        Oh.     Yeah.      This one.
23                   We talked about that email that you
24     brought that we haven't marked yet.                    But the one for
25     CD21, the promo code.           Do you remember that

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 1     discussion?
 2           A.      Yes.
 3           Q.      All right.
 4                          (Exhibit 15 was marked.)
 5           Q.      Let's look at Exhibit 15, which I'll
 6     represent to you is a -- well, what it purports to
 7     look like.     It's a screen capture.
 8                   And just for people who may be watching
 9     this that haven't seen this particular podcast, tell
10     us what we're looking at?
11           A.      This is an episode where Tina Peters
12     appears as a guest.
13           Q.      Who is Tina Peters?
14           A.      Tina Peters is a Colorado political
15     figure.
16           Q.      Okay.       Do you recall -- this looks -- if
17     you look at the date on it, this looks like it was
18     pretty close to when you left, just before.                        Right?
19           A.      Yes.
20           Q.      Did you have a problem with Tina Peters
21     appearing on a podcast?
22           A.      I don't recall.
23           Q.      Who booked her?
24           A.      I don't know.
25           Q.      You had said in your social media that

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 1     you -- one of the issues you had is you liked to
 2     prepare yourself, know who the guest is, and get
 3     ready for the show.          I mean, you're a preparer,
 4     basically.     Is that true?
 5           A.      Yes.
 6           Q.      And one -- one of the issues that you had
 7     is that you'd have a sur- -- surprise guest, someone
 8     either you didn't want on the podcast or you didn't
 9     know about, and you would refrain from appearing on
10     the podcast.      Did that occur?
11           A.      Yes.
12           Q.      All right.        How often did that occur?
13           A.      I don't have a specific number of times.
14           Q.      Who were some of the people that you can
15     think of that caused you to not appear on the
16     podcast?
17           A.      One of the times was a man who had
18     been -- who had been identified as potentially the
19     person behind Q in QAnon.              That is the one -- the
20     one that comes to mind.
21           Q.      Mr. Watkins?
22           A.      I believe that's his name, yes.
23           Q.      First name Ron?
24           A.      That sounds familiar.
25           Q.      Okay.       Anyone else?

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 1           A.      There were others, but the specific
 2     instances aren't coming to mind right now.
 3           Q.      If you were -- and let's just talk about
 4     Mr. Watkins.
 5                   Did you consider him to be an unreliable
 6     source of information?
 7           A.      Can you -- can you explain what you mean
 8     by that?
 9           Q.      Well, you said he didn't appear because
10     he was associated with QAnon.                 Is it -- was it
11     because of that association or were you concerned
12     that whatever information he might be putting out on
13     your podcast was not credible or reliable?
14           A.      It was because of that association.
15           Q.      But if looking at this with Ms. Peters on
16     this podcast, and you appearing, is it fair to
17     assume that you had -- you were comfortable at least
18     being part of that particular podcast?
19           A.      Whether or not I appeared on camera is
20     not representative of my comfort level.                          There were
21     certain situations where I felt so uncomfortable
22     that I didn't want to appear.
23           Q.      Okay.       And the only one you can give us,
24     out of all these years and all these podcasts, is
25     the one QAnon?

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 1           A.      There were a couple more.                  There -- there
 2     are examples in the documentation I provided between
 3     texts between me and Josh.               But the one that can
 4     come to mind right now, after reviewing that late
 5     last night and this morning, is the Ron Watkins
 6     episode.
 7           Q.      Okay.       Now, this particular exhibit,
 8     it's -- it's titled, at least on the top:                        Tina
 9     Peters reveals undeniable fraud in second Mesa
10     County report.
11                   When did -- when did Mr. Oltmann start
12     focusing on election fraud-related issues on the
13     podcast?
14           A.      I don't know a specific date.
15           Q.      Do you remember how that even came about?
16           A.      Can you explain what you're asking me?
17           Q.      Well, you can't tell me when you guys
18     started talking about election fraud.
19                   Can you -- can you think -- to use the
20     word I used earlier -- what triggered the focus?                           Do
21     you remember a meeting with Mr. Oltmann where he
22     said, you know, we're going to start looking at
23     election fraud issues?
24           A.      I believe we started looking at election
25     fraud issues in the lead-up to the 2020 election.

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 1           Q.      Okay.       Tell me about how -- the meetings
 2     that you had that you can remember where, you know,
 3     the genesis of that idea formed.                     Because I want to
 4     get to Mr. Coomer here, but I want to know how this
 5     all started.      So what do you remember about that?
 6           A.      Can you -- I don't understand the
 7     question.
 8           Q.      Tell me about the initial meetings where
 9     the decision was made to start on election fraud
10     issues.
11           A.      There was no specific meeting that says
12     we're going to focus on election fraud issues that
13     comes to mind.
14           Q.      Do you remember your first election fraud
15     podcast?
16           A.      I do not remember what podcast that was.
17           Q.      Now, you don't consider -- well, that's a
18     negative.
19                   Do you consider Mr. Oltmann to have any
20     expertise in election security issues?                      And
21     specifically in the cyber-related issues.
22           A.      You're asking experience?
23           Q.      Yes, sir.
24           A.      Can you define "experience"?
25           Q.      Well, what experience did he have leading

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 1     up to these election fraud issues, if any?
 2            A.     I don't believe he had specific
 3     experience --
 4            Q.     I mean, he --
 5            A.     -- about election fraud.
 6            Q.     -- you don't consider him to be an expert
 7     in election fraud or election security issues, do
 8     you?
 9            A.     No.
10            Q.     So obviously we're looking at -- and I'm
11     going to jump around a little bit in time -- but
12     Tina Peters, we don't need to get into her issues
13     specifically, but in this particular podcast you're
14     talking about the Mesa County issues.                      Right?
15            A.     I don't know specifically, but that's
16     what the title says.
17            Q.     Tell me about -- because when I marked
18     this, it was more about the issue of the -- the
19     revenue streams.
20                   Is this an example of how the My Pillow
21     component would be advertised on Conservative Daily?
22            A.     Yes.
23            Q.     And then the -- the one above that I'm
24     not familiar with that says promote -- "promo code
25     daily, go to enforce.com (sic) and use promo code

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 1     CD10" for a -- I guess it's a discount.                           What is
 2     that?
 3             A.       That is a promo code for another company.
 4             Q.       And what is enforce.com?
 5             A.       Innerforce was a company that we had an
 6     agreement with.
 7             Q.       Okay.     Innerforce.         I apologize.
 8                      I know.        But what kind of company is
 9     that?
10             A.       I believe that they were an apparel
11     company.
12             Q.       All right.        And does it basically -- or
13     did it basically work the same for Innerforce as it
14     did for My Pillow?
15             A.       I don't know.
16             Q.       Is this an example of, I guess, for lack
17     of a better word, cross-marketing?
18                      In other words, you know Mr. Lindell is
19     obviously focused on election security issues in the
20     recent past.           Right?
21             A.       Yes.
22             Q.       Okay.     And you're marketing for him on
23     Conservative Daily, obviously.                   We're looking at
24     that.        Right?
25             A.       No.

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 1             Q.     No?
 2             A.     He's not paying us to market on his
 3     behalf.      We are advertising our promo code.
 4             Q.     Okay.      That's a great point.                  Because I
 5     had asked it both ways earlier, I think, or tried
 6     to.
 7                    When he puts his advertisement or his
 8     face on this -- this particular -- in this
 9     particular instance with this discount, if someone
10     buys using that promo code, the revenue just is some
11     percentage that comes back to Conservative Daily.
12                    In other words, there is not a fee, a
13     separate fee that he pays to advertise.
14             A.     I don't know.
15             Q.     Well, that's what I thought you just
16     said.
17             A.     Well, I don't know if there was -- if he
18     does that generally.           I don't know.
19             Q.     But with respect to Conservative Daily.
20             A.     I -- I don't know.             As I mentioned
21     earlier, this was not my account.
22             Q.     Okay.      Do you know whether he's still
23     advertising with Conservative Daily?
24             A.     I don't know.
25             Q.     You don't watch the show anymore?

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 1           A.      Not anymore.
 2           Q.      Were there other sources?                  We looked at
 3     fax blast, we looked at promo codes.
 4                   There is -- we took Mr. Oltmann's
 5     deposition, the one that he appeared via Zoom as a
 6     representative of CD Solutions.                  Have you seen that
 7     deposition transcript?
 8           A.      I'm not -- I don't follow -- I don't know
 9     what case you're referring to.
10           Q.      Okay.       In the original case that we filed
11     against Mr. Oltmann and others, we took his
12     deposition as a representative of CD Solutions.
13                   Were you aware of that?
14           A.      Yes.
15           Q.      Okay.       Have you read that transcript?
16           A.      I have read a transcript.
17           Q.      Is that the one that you read?
18           A.      I don't know how many times you've
19     deposed him, but I have read a -- I have read a
20     transcript, yeah.
21           Q.      I guess maybe that also begs the
22     question.
23                   Did you do anything to prepare to give
24     testimony, other than the -- gathered the documents
25     you indicated?

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 1           A.      No.
 2           Q.      Did you review anything other than the
 3     documents you produced?
 4           A.      No.
 5           Q.      Why were you reading his transcript?                          You
 6     said you read --
 7           A.      Yes.
 8           Q.      -- Mr. Oltmann's transcript.                       Why were
 9     you reading it?
10           A.      I was an employee at -- I was a
11     contractor at the time of Conservative Daily, and
12     I'm a shareholder in the company he was
13     representing.
14           Q.      Okay.       So you were monitoring -- fair to
15     say you were just monitoring the litigation to see
16     how it was going, to inform yourself?
17           A.      It was so long ago I don't -- I don't
18     know the specific --
19           Q.      Okay.
20           A.      -- motivations behind it.
21           Q.      Well, the reason I asked, in part, is
22     there was some testimony about advocacy action.
23                   Do you know what that term means?
24           A.      Advocacy to action.
25           Q.      Oh, "to action."             What is that?

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 1           A.      That is the URL that the fax blast system
 2     is run through.
 3           Q.      And, again, for Neanderthals like me,
 4     what -- what does that mean, "URL that it runs
 5     through"?
 6           A.      It is the website name.
 7           Q.      Okay.       That's what you click on in order
 8     to get to this particular fax blast?
 9           A.      Yes.
10           Q.      Okay.       And you can also get to it through
11     other URLs --
12           A.      Yes.
13           Q.      All right.        Including the Conservative
14     Daily?
15           A.      Yes.
16           Q.      Okay.       Any others?
17           A.      I don't know beyond what I already
18     listed.
19           Q.      Okay.       Now, prior to -- this is a little
20     different -- well, strike that.
21                   Are there any other revenue streams
22     during 2020 and 2021 for Conservative Daily besides
23     the ones we've already discussed?
24           A.      Yes.
25           Q.      Tell me what those are.

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 1           A.      Banner advertisements.                 Donations.
 2           Q.      Just a flat donation?
 3           A.      Uh-huh.       And podcast sponsorships.
 4           Q.      And did Lindell sponsor the podcast at
 5     any point?
 6           A.      I don't know.
 7           Q.      And is the -- just the overall concept
 8     behind what you guys are doing, or you were doing,
 9     the idea to generate traffic, eyeballs, and drive
10     revenue?
11           A.      Can you rephrase that --
12           Q.      Yeah.
13           A.      -- question?
14           Q.      It seems sort of Business School 101.
15     But you were trying to increase the popularity --
16                        MR. CORPORON:            Objection; move to
17     strike.
18           Q.      You were trying to increase the
19     popularity of the podcast over time.                     You wanted
20     more viewers.      You wanted to attract viewers.                     Is
21     that a fair statement?
22           A.      That's one goal, yeah.
23           Q.      Sure.       And the more viewers you get, the
24     more potential you have to drive additional revenue
25     streams.     Correct?

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 1           A.      Sure.
 2           Q.      Right.      I mean, that's the goal.
 3                   So there are metrics, are there not, to
 4     show the popularity of a particular podcast?
 5           A.      Yes.
 6           Q.      And tell me how that -- like, if you
 7     wanted to go see where, let's say, Conservative
 8     Daily ranked, where would you go look?
 9           A.      Apple podcasts.            All the different hosts
10     have rankings.
11           Q.      And at one point, was Apple hosting the
12     Conservative Daily podcast?
13           A.      Yes.
14           Q.      Did that change?
15           A.      I don't know.
16           Q.      In other words, was there a period of
17     time where different platforms dropped the podcast
18     from their plat- -- their platform, such as Apple?
19           A.      I don't know.
20           Q.      So you didn't -- you didn't track that
21     while you were there?
22           A.      I don't know what -- are you asking
23     whether Apple stopped hosting --
24           Q.      Well, that was what I asked and you said
25     you didn't know.

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 1           A.      I don't know.
 2           Q.      Did you track the popularity of the
 3     podcast on any platforms?
 4           A.      Yes.
 5           Q.      Okay.       Which ones?
 6           A.      Apple podcast.
 7           Q.      Okay.
 8           A.      Google podcast, Spotify.
 9           Q.      All right.        Leading up to the election in
10     2020, can you -- do you have any either
11     documentation or recollection of where the podcast
12     was -- let's just use Apple -- on Apple podcasts?
13           A.      I don't know.
14           Q.      Did you ever post election -- I don't
15     like the way that started.
16                   Post election, did -- did the podcast
17     experience and uptick in popularity, did it start to
18     gain in the rankings?
19           A.      Yes.
20           Q.      Okay.       And that was coterminous with,
21     sort of, the election-related programming that you
22     did in November of 2020?
23           A.      Yes.
24           Q.      Okay.
25                          THE STENOGRAPHER:               Did you say

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 1     November?
 2                          MR. CAIN:       Yes, ma'am.
 3           Q.      My compadre here said -- gave me a note
 4     that said that y'all were 119th in the rankings
 5     prior to the election.            Does that sound about right?
 6           A.      Okay.
 7           Q.      No, you don't have to agree with me.
 8           A.      I don't know the exact number.
 9           Q.      Okay.
10           A.      It fluctuates, so I don't know the exact
11     number.
12           Q.      Okay.       Is it fair to say, just as a
13     general proposition -- we don't need to say you were
14     seven or 10 or five or whatever -- but the content
15     that was being produced by Conservative Daily
16     immediately following the election, including the
17     Coomer content, resulted in an increase in the
18     number of viewers to your podcast?
19           A.      We experienced an increased in viewership
20     and listenership around the time of the election.
21           Q.      Okay.       And is there a way to, on an
22     individual basis -- in other words, let's say it's a
23     November 10th podcast or whatever -- to -- that you
24     guys had to -- to see what your viewership was?
25           A.      Yes.

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 1             Q.       And tell me, if I need that information,
 2     like if I want to ask for eyeball records,
 3     viewership records, what -- what does that look
 4     like?        Is there a report associated with it?                    How do
 5     you -- how do you get that?
 6             A.       I no longer have access to that
 7     information, but you'd have to ask Joe or someone at
 8     CD Solutions.
 9             Q.       Okay.     You can't remember what you were
10     looking at in realtime to look at viewership?
11             A.       I cannot tell you what the process is now
12     because I'm not part of what the process is now.
13             Q.       No, I get it.        And I'm not asking you
14     about it now.           I'm asking you about it when it
15     started to creep up after the election.
16                      So if you were finished with a podcast
17     and you wanted to see your viewership, what would
18     you do in order to get that information?
19             A.       I would log into -- Podbean was the
20     actual host hosting the files, and look at metrics
21     that Podbean provided.
22             Q.       And that's Pod, B-E-A-M?
23             A.       P-O-D-B-E-A-N.
24             Q.       N as in Nancy?
25             A.       Yes.

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 1           Q.      And are those records archived, or were
 2     they while you were there?
 3           A.      They were while I was there.
 4           Q.      And when you got an uptick post election
 5     or you saw one with respect to the ratings, did you
 6     also experience an increase in revenue?
 7           A.      I don't know.
 8           Q.      Bookmark that for a second.                   I want to
 9     ask you a little -- little bit different line of
10     questioning.
11                   When did you first hear about Oltmann's
12     efforts to infiltrate Antifa?
13           A.      The day before we aired the podcast
14     episode about Eric Coomer.
15           Q.      When did you air the Coomer podcast?
16           A.      I don't know the date.
17           Q.      All right.        Tell me what -- did you
18     hear -- I assume you learned it from Mr. Oltmann
19     himself?
20           A.      Yes.
21           Q.      Okay.       And was this in one of the
22     standing meetings?
23           A.      No.
24           Q.      Where was it?
25           A.      If I remember correctly, it was either a

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 1     phone call or a discussion we had after a podcast
 2     had stopped broadcasting, but we were still able to
 3     talk to each other on each end of the -- of the
 4     video screen.
 5           Q.      Okay.       So up until -- well, we'll look at
 6     the podcast.      I'll -- I'll represent to you now and
 7     we can confirm or deny later, but I believe that
 8     first podcast was November 9th of 2020.                          Okay?
 9           A.      I don't know.          I'm not sure.
10           Q.      All right.        Shortly after the election.
11           A.      Yes.
12           Q.      All right.        So up until this -- this
13     instance, the day before the podcast, you had no
14     knowledge that Mr. Oltmann was allegedly trying to
15     infiltrate Antifa?
16           A.      I do not recall having any knowledge
17     before that.
18           Q.      He never mentioned it to you?
19           A.      I don't recall any of that.
20           Q.      Not in September of 2020, not in October
21     of 2020?
22                          MR. CORPORON:          Objection; asked and
23     answered.
24           Q.      You can answer.
25           A.      I do not recall.

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 1           Q.      Okay.       All right.        What do you
 2     remember -- I know you said it could have been post
 3     podcast or on the phone.             But what do you remember
 4     Mr. Oltmann telling you?
 5           A.      I remember him telling me that we had to
 6     do a topic, a specific topic and that he would be
 7     sending me materials for that topic.
 8           Q.      Okay.       What else?
 9           A.      I don't remember any other specifics
10     about that, but I know that we did talk about that
11     he had a big topic and he would be sending over the
12     cuts or images for that.
13           Q.      And that was the -- the day or night
14     before?
15           A.      I believe so.
16           Q.      Okay.       And that's it?
17           A.      Prior to that first episode?
18           Q.      Yes.
19           A.      Yes.
20           Q.      And when did he send you the cuts?
21           A.      He sent me the cuts the night before.
22           Q.      What did he send you?
23           A.      He sent me a number of emails with
24     attachments.
25           Q.      And I don't -- forgive me, I don't have

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 1     the subpoena.      Are these emails with the attachments
 2     something you produced?
 3           A.      Yeah.
 4           Q.      Okay.       Under what -- which one of these?
 5           A.      That should be under the question
 6     requiring all communications with Joe Oltmann.
 7           Q.      Okay.       How many emails did you receive?
 8           A.      I don't know the exact number.
 9           Q.      Okay.       All right.        I'm going to call an
10     audible with counsel's agreement.                     I think we need
11     to look at that in realtime.                I don't want to move
12     on from this topic.          So if we can take our lunch
13     break now and I can pull those up.                     I want to put
14     those in front of you.            Okay?
15                        MR. CORPORON:            No objection.
16                        THE WITNESS:            That's fine.
17                        MR. CAIN:         Okay.       Let's do that.
18                        THE VIDEOGRAPHER:                 Going off the
19     record.    The time is 12:58.
20                                    (Break.)
21                        THE VIDEOGRAPHER:                 Back on the
22     record.    The time is 2:04.
23           Q.      Mr. McGuire, before lunch, you referenced
24     emails with attachments you got from Mr. Oltmann
25     prior to the November 9th, 2020, podcast.                        You

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 1     remember that?
 2             A.    Yeah.
 3             Q.    All right.        The next few documents I'm
 4     going to hand you are from your production that you
 5     got to us this morning.
 6             A.    Uh-huh.
 7                        (Exhibit 16 was marked.)
 8             Q.    And this is Exhibit 16.                 Is Exhibit 16 --
 9     well, what is Exhibit 16?
10             A.    It is an email from Joe to me with a
11     election fraud ZIP file.
12             Q.    Okay.       Is this one of the emails that you
13     were referencing in your prior testimony?
14             A.    The emails I was referencing in my prior
15     testimony was a number of emails -- different email
16     trails that came in and they had each of these
17     files, each of these images individually attached.
18             Q.    Okay.
19             A.    So I was not referencing this email in
20     particular.
21             Q.    Okay.       Well, this is how we go it.                 So
22     can you explain --
23             A.    There should be other ones in there as
24     well.
25             Q.    And are they just transmittal emails?

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 1           A.      Transmittal emails, yeah.
 2           Q.      This is a ZIP file, at least it purports
 3     to be.     You see that?
 4           A.      Yeah, I see that.
 5           Q.      Okay.       Are you saying you -- you didn't
 6     get this or are you saying you did get this?
 7           A.      This was not the email that I was
 8     referring to.        When I said I received multiple
 9     emails, it was not this email.
10           Q.      All right.        The other emails that you
11     referred to, were they similar in nature?                        In other
12     words, they were -- if you look at the back of this,
13     it, you know, appears to be Facebook pages for Eric
14     Coomer attached to it.
15           A.      Yes.
16           Q.      Essentially, what you got was a number of
17     emails, to use your testimony, that provided
18     attachments that you understood to be Eric Coomer's
19     Facebook page?
20           A.      Yes.
21           Q.      Okay.       And can you explain this
22     particular one with the ZIP file that we're looking
23     at in Exhibit 16?
24           A.      I don't know if I -- I don't remember
25     opening this at the time.

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 1           Q.      Okay.
 2           A.      Which might -- yeah, I don't remember
 3     opening this at the time.              I remember seeing other
 4     emails with these attachments.
 5           Q.      Okay.       The timing of this is the same as
 6     the -- sort of, the multiple emails that you
 7     received?
 8           A.      I think this one came in a day before the
 9     multiple emails that I received.
10           Q.      Okay.       So if we're building the timeline,
11     November 7th was a --
12                         MR. KLOEWER:           Saturday.
13           Q.      -- Saturday?
14           A.      I don't know.
15           Q.      Okay.       I'll -- I'll represent to you that
16     we looked at the calendar and it's a Saturday.
17           A.      Okay.
18           Q.      Do you have any reason to dispute that?
19           A.      No.
20           Q.      Okay.       And are you saying -- you're --
21     your memory is you get this email with a ZIP file.
22     You didn't remember looking at it at the time and
23     then subsequently the next day you got multiple
24     emails with the Facebook attachments?
25           A.      What I'm saying is that when we did the

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 1     episode in question, I did not pull these images
 2     from this email.
 3           Q.      Okay.
 4           A.      And I -- I have no recollection of
 5     opening or seeing this email.
 6           Q.      Okay.       Is there -- since we're trying to
 7     get through this, is there any doubt in your mind
 8     that these were the images that you got --
 9           A.      No.
10           Q.      Okay.       This particular Exhibit 17 --
11     16 -- excuse me -- is a -- purports to be a forward
12     in the subject line.
13           A.      Yes.
14           Q.      Do you know whether there was a forward
15     to Mr. Oltmann of this information from another
16     email account?
17           A.      I don't know.
18           Q.      This shows that you received it at
19     1:17 p.m.     So I want to go back to what I thought
20     you -- you told me, and as you've learned now,
21     sometimes I forget what you tell me.                     Was it on
22     the -- the Friday podcast, the end of the podcast
23     where you had a discussion with Mr. Oltmann that
24     there was going to be an election fraud -- the next
25     podcast would be an election fraud podcast?

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 1           A.      That is my recollection, yeah.
 2           Q.      Okay.       And have you told the jury
 3     everything you recall about that conversation --
 4           A.      Yeah.
 5           Q.      -- with Mr. Oltmann?
 6                   Let me finish.
 7           A.      Oh, sorry.
 8           Q.      And then at least we look at Exhibit 16,
 9     it looks like you got a zip file.                    Did -- when was
10     the next conversation you had with Mr. Oltmann about
11     the information he started sending you?
12           A.      I do not remember those specifics.
13           Q.      What did he tell you the significance of
14     these Facebook pages was, if you remember?
15           A.      The Facebook pages were -- the Facebook
16     pages were to prove his points.
17           Q.      Okay.       Was this the first time that you
18     heard the name Eric Coomer?
19           A.      Yes.
20           Q.      If you look at this -- the second page,
21     these are double-sided of this Exhibit 16 email
22     forward.     There is what looks to be --
23                   Are you with me?
24           A.      Yes.
25           Q.      -- either cut or pasted or just a series

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 1     of links that were attached.
 2                   Do you see that?
 3           A.      Yes.
 4           Q.      Do you remember receiving those?
 5           A.      No.
 6           Q.      Did you investigate any of these links?
 7           A.      No.     As I said, when we built the episode
 8     the -- when I pulled images to build the episode it
 9     was not sent from this email.                 This email was sent
10     to me on a Saturday and typically I don't work a
11     whole lot on my Saturdays.
12           Q.      Okay.       You work on Sundays?
13           A.      I work a little bit on Saturday mornings
14     and Sundays, but this wasn't a -- I -- I don't work,
15     like, afternoon on Saturdays and Sundays.
16           Q.      And when did you start your work in terms
17     of pulling images for the -- for the podcast?
18           A.      I don't remember the specific time frame
19     for that?
20           Q.      When was the podcast?                  It was
21     November 9th.        Right?
22           A.      Yes.     But I don't know --
23           Q.      You don't --
24           A.      -- I don't remember what time it was.
25           Q.      You don't know if you did it in the

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 1     morning or you did it on a Sunday?
 2             A.    I think we did it on the morning, we
 3     pulled the cuts.          Typically, we would pull cuts on
 4     mornings, that's when we'd be pulling cuts and
 5     sending them to the producer.
 6             Q.    So walk me through that exercise for this
 7     particular podcast.          If it -- if it went like it
 8     normally did, tell me how you built the show?
 9             A.    For this particular podcast?
10             Q.    Yes, sir.
11             A.    There was an element of chaos to it.                      As
12     I said, we didn't pull it from this email, there are
13     other emails that I sent over that were individually
14     sent to me from different emails of Joe's.
15             Q.    You mean different email addresses?
16             A.    Yeah, different email addresses.
17                   There was an element of chaos to it
18     because this is lot of images.                  The images were not
19     properly named or numbered and it's kind -- we
20     didn't know what to do with it.
21             Q.    Okay.       Well, so how did you sort through
22     that?
23             A.    We didn't sort through it.                   The way that
24     episode went down was that Joe was calling images
25     and it was very difficult for us to figure out which

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 1     images he was asking for.
 2           Q.      You were just kind of scrolling through
 3     them, in essence?
 4           A.      Yes, because the images that we were
 5     pulling were not from this email.                    It was from a
 6     series of three or four or five, however, many it
 7     was emails, that Joe had sent.
 8           Q.      Okay.       So what -- what did you know --
 9     kind of going back to what I said before about
10     your -- your preparation for shows.                    Did you feel
11     underprepared for this show?
12           A.      Yes.
13           Q.      And what did -- what questions did you
14     have of -- of Mr. Oltmann prior to going live to
15     talk about Eric Coomer, if any?
16           A.      The questions I had for him were -- were
17     the same questions I had for -- for any -- anytime
18     they bring guests forward, are you sure about this.
19           Q.      And what did he say?
20           A.      I don't remember his exact response.
21           Q.      What was his general --
22           A.      General, yes.
23           Q.      He felt good?
24           A.      Yes.
25           Q.      Did you feel good?

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 1           A.      No.
 2           Q.      And did you talk to him about how he got
 3     access to this particular Facebook account?
 4           A.      I did ask him that.               I don't remember if
 5     I asked him this before we went to air, but I did
 6     ask him that.
 7           Q.      And why did you want to know that?
 8           A.      Curiosity.        Legitimacy.
 9           Q.      Authenticity?
10           A.      Yes.
11           Q.      What did he say?
12           A.      He didn't give me an answer as to who
13     helped him get into it.
14           Q.      Did you find that peculiar?
15           A.      No.
16           Q.      Why not?
17           A.      Joe didn't tell me lots of things.
18           Q.      And so he sort of sprung this episode on
19     you, didn't he?
20           A.      It felt that way, yes.
21           Q.      And since -- since the first episode,
22     have you ever discovered how he got access to this
23     account?
24           A.      No.
25           Q.      How many times have you asked him?

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 1           A.      I did not repeatedly ask him this
 2     question, once he gave me his answer, that was kind
 3     of it.
 4           Q.      At the time that -- well, just kind of
 5     leading up to the show, had he told you anything
 6     about being on an Antifa call?
 7           A.      I don't remember the specifics of what he
 8     sent to me in the lead-up to that show.
 9           Q.      Okay.       Well, that begs the question, do
10     you have a general recollection?
11           A.      I -- I don't remember the specifics and I
12     don't want to speculate.
13           Q.      Okay.       We'll break that down in a minute.
14     Or unpack it.
15                   All right.        Bookmark that for a second.
16     That -- in a -- in a break I'll look to see the --
17     you're pretty sure you produced the individual
18     emails?
19           A.      I know that one of them came from Joe's
20     FEC United emails, so I know -- I know that that was
21     in this.
22           Q.      And in your mind was it similar to what
23     you testified in our first session about there just
24     didn't seem to be a rhyme or reason as to which
25     email address --

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 1             A.       Yes.
 2             Q.       -- was being used?
 3                      Okay.     Let me finish, please.                 I'm not
 4     scolding you, but I'm just -- want us to be on the
 5     same page.
 6                             (Exhibit 17 was marked.)
 7             Q.       All right.      Let's look at Exhibit 17.
 8     And like I said, all of the ones I'm giving you for
 9     the time being, are from you -- what we got this
10     morning.
11                             MR. CORPORON:        Thank you.
12             Q.       Exhibit 16, while you're looking at that,
13     came from Joe@PINBN, P-I-N-B-N, .com.                       This one
14     comes from Joeauto@Conservativedaily.                       The subject
15     is Dominion web links.             The date is November 8th of
16     2020.        Tell me, do you remember getting this email
17     as well?
18             A.       I do.
19             Q.       Okay.     And did you review it when you
20     received it?
21             A.       I did.
22             Q.       Why?
23             A.       Because he had sent it to me.
24             Q.       What did you understand the reason that
25     you were receiving information on Dominion at the

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 1     time?
 2             A.    This was in a lead-up to the next
 3     episode.
 4             Q.    I understand that, but you have to
 5     understand the context, I assume, before you go
 6     to -- to air.      What was the purpose of reviewing the
 7     Dominion information at the time?
 8             A.    Joe's belief that Dominion was in some
 9     way involved in -- in election fraud.
10             Q.    You seem like a careful person to me.
11     What -- what level of discomfort did you have in
12     talking about Dominion or -- or Dr. Coomer, for that
13     matter, being tide to election fraud during these
14     early podcasts?
15             A.    I was extremely uncomfortable that a
16     private corporation has been entrusted with
17     performing a public service.
18             Q.    All right.        And what -- you answered
19     maybe a question I didn't ask.                  Personal discomfort,
20     if any, that you had in participating in podcasts
21     that made that allegation?
22             A.    I was not uncomfortable with
23     participating in podcasts looking into allegations.
24             Q.    Y'all ended up doing more than that.                      You
25     ended up looking into Dr. Coomer and accusing him of

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 1     being -- participating in election fraud.                        At least
 2     that's what Oltmann did.             Right?
 3           A.      I don't believe I said that.
 4           Q.      No.     I said Oltmann did.
 5           A.      Your question started with "you guys."
 6           Q.      Okay.       Oltmann did.          Right?
 7           A.      Yes.
 8           Q.      Okay.       What level of discomfort did you
 9     have in Mr. Oltmann doing that on this podcast?
10           A.      I had enough discomfort that when it came
11     time to talk about it, I made sure to use the word
12     "allegedly" to discuss the claims.
13           Q.      But he didn't use that term?
14           A.      He did not.
15           Q.      Did you -- and -- and we'll kind of click
16     along with this.          But for this show, you got the
17     Facebook images, it looks like you got some web
18     links.     Did you do anything yourself outside of
19     reviewing the documentation that Oltmann sent you to
20     investigate any of this?
21           A.      I did not do anything myself outside of
22     viewing the images and sending them over to our
23     producer.     This is not something I can investigate
24     myself.     These are images from a private Facebook
25     page that I don't have access to.

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 1           Q.      Well, I'm not going to wrestle with you
 2     on that.     One thing you could have done is insisted
 3     that Mr. Oltmann give you information as to how,
 4     number one, he got access to it, but you didn't do
 5     that, did you?
 6           A.      Is anyone contending that they're not
 7     accurate?
 8                        MR. CAIN:         Objection; not responsive.
 9           Q.      You didn't insist that you get some
10     information as to how he got access or when for that
11     matter?
12           A.      I did not feel that the method of how he
13     gained access to a Facebook page of which I did not
14     know how private the settings were, that was not
15     something that -- that -- that occurred to me as
16     something that needs to be objected to.
17                        MR. CAIN:         Objection; nonresponsive.
18           Q.      That's the why.            Not -- not the fact that
19     you didn't do it.
20           A.      Can you --
21                       (Simultaneous speaking.)
22           Q.      Well, just con --
23           A.      Can --
24           Q.      -- confirm for me?
25           A.      Can you please ask me a question in a way

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 1     that I can -- a simpler form of the question so I
 2     can answer what you're asking?
 3           Q.      You didn't demand that he provide you
 4     that information, how did he get access and when he
 5     got access?
 6           A.      No, I did not.
 7           Q.      All right.        For the reasons you
 8     described?
 9           A.      Yes.
10           Q.      All right.        So the podcast itself, I've
11     got a few clips from it.             I want to pick those up.
12     And they're short.         And that will give us some
13     context for some of these other exhibits and
14     questions.
15                   If we get this right the first time, that
16     will be because Brad has prepared.                     So the
17     next exhibit, I'm going to put a placeholder.
18                          MR. CAIN:       I don't have the thumb
19     drive.     Is that the thumb drive?
20                          THE STENOGRAPHER:               (Hands over thumb
21     drive.)
22                          MR. CAIN:       Is going to be Exhibit 18.
23                          (Exhibit 18 was marked.)
24           Q.      And Exhibit 18 is comprised of 15
25     different audio visual clips.                 I doubt we'll have

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 1     time to look at all of them.
 2                   The first two we're going to look at,
 3     though, are some clips from the November 9th, 2020,
 4     podcast.
 5                   And just for the lawyers and for you, to
 6     the extent that you care, the clips are identified
 7     by their date in the -- in the title, so that kind
 8     of gives you the cross-reference.
 9                   All right.        So before I play the first
10     clip, we talked about getting the Facebook images,
11     we talked about the link that you got to Dominion.
12                   Were you provided with any other written
13     material by Mr. Oltmann about Eric Coomer prior to
14     the first podcast?
15           A.      I don't believe so.
16           Q.      And have we talked about all your
17     recollections of discussions with him that you have
18     today leading up to that podcast?
19           A.      I believe so.
20                        MR. CAIN:         Okay.       Let's look at
21     Clip 3.
22                               (Playing video.)
23                        MR. CAIN:         Why don't you pause that
24     real quick?
25           Q.      Do you know what Mr. Oltmann's reading

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 1     from when he says "I'm going to go through my notes
 2     here"?
 3           A.      No.
 4           Q.      Did he ever share any notes --
 5           A.      No.
 6           Q.      -- with you?
 7                   Have you ever seen any notes?
 8           A.      Only notes that were given in the other
 9     court case.
10           Q.      Okay.       Let's -- let's leave that up and
11     I'll pause there.          I want to make sure that we are
12     talking about the same thing.
13                         (Exhibit 19 was marked.)
14           Q.      This is Exhibit 19 to your deposition.
15     Let me show you that.
16                         MR. CORPORON:           Counsel, Exhibit 19.
17           Q.      Are Exhibit 19 or is Exhibit 19 the notes
18     that you were referring to?
19           A.      I believe so.
20           Q.      Okay.       Did -- and the first time you saw
21     these notes was part of the production from the
22     court case?
23           A.      I believe so.
24           Q.      Have you seen, prior to this -- this show
25     on November 9th, have you seen -- had you seen

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 1     Mr. Oltmann take notes in a -- in a -- I'll call it
 2     a binder -- whatever -- however you want to describe
 3     it, but in a book like this?
 4           A.      Have I ever seen Joe Oltmann take notes?
 5           Q.      In a book like this.               It looks like it's
 6     sort of a two-page --
 7           A.      I can't speak to what kind of book this
 8     is.
 9           Q.      Okay.       Have you ever seen Mr. Oltmann
10     take notes like this?
11           A.      I've seen Mr. Oltmann take notes.
12           Q.      And if you look at it, are you familiar
13     with his handwriting?
14           A.      Yeah.
15           Q.      Enough to either confirm or deny that
16     this is in his handwriting?
17           A.      I'm not a handwriting specialist, but
18     this appears to be in his handwriting.
19           Q.      Well, you -- by the time of the podcast
20     in 2020, you had been working with him for how long?
21           A.      Six years, give or take.
22           Q.      Okay.       So you guys had a pretty close
23     working relationship.           Is that a fair statement?
24           A.      Yes.
25           Q.      Spoke to him almost every day, I assume?

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 1           A.      No.
 2           Q.      But it's fair to say during the lead-up
 3     to this podcast in question, you hadn't seen these
 4     notes?
 5           A.      I don't believe I had.
 6           Q.      And you don't know or do you know whether
 7     these were the notes that he was looking at when he
 8     was talking in the podcast?
 9           A.      I don't know.
10           Q.      You do know -- well, let me ask it as a
11     question.
12                   You know that the Antifa call that he
13     talks about was not a recorded phone call.                        Right?
14           A.      Yes, I know that.
15           Q.      But you also know, do you not, that
16     Mr. Oltmann, in the past, had a practice of
17     recording calls that he was on?
18           A.      Yes.
19           Q.      All right.        So talk to the jury a little
20     bit about that.
21                   What -- what was his sort of pattern and
22     practice of recording calls that he was on for
23     whatever reason?
24           A.      Joe would commonly and frequently record
25     important phone calls.

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 1           Q.      Did he ever tell you whether or not this
 2     alleged Antifa call was an actual phone call or, you
 3     know, a Zoom-type call?
 4           A.      I don't believe that he did.
 5           Q.      Did you ask him?
 6           A.      I don't remember if I asked him whether
 7     it was a phone call or a Zoom call.
 8           Q.      Were you surprised by the fact that he
 9     did not record this alleged call?
10           A.      Yes.
11           Q.      Did you ask him why he didn't record it?
12           A.      Yes.
13           Q.      What did he say?
14           A.      He didn't have an answer.                  Or I can't
15     remember his answer.
16           Q.      Did you ask him how he got on it in the
17     first place?
18           A.      I don't -- I think I -- yeah.                      Yeah, I've
19     asked him.
20           Q.      Okay.       And what is his explanation?
21           A.      He didn't have a concrete answer for me.
22           Q.      Did he have any answer?
23           A.      Just that someone had helped him get on,
24     that it was someone who was already scheduled to be
25     on it, and he used -- he piggybacked that.

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 1           Q.      Did he tell you where it occurred, like
 2     where he was?
 3           A.      No.
 4           Q.      Did you ask him who he piggybacked on?
 5           A.      I have.
 6           Q.      Has he responded to you?
 7           A.      He would not tell me.
 8           Q.      You're -- you're working on podcasts with
 9     him on this topic, and he's not telling you how he
10     got on the call and who put him on it or any of that
11     type of information?
12                          MR. COOMBE:         Object to form.
13           A.      He did not tell me the information that
14     you just listed.
15           Q.      You cared about the accuracy of the
16     content that you were putting out there, didn't you?
17           A.      Yes.
18           Q.      And you cared about -- well, not cared.
19     You were concerned, weren't you, that you weren't
20     getting answers to some basic questions about the
21     information that was being presented?
22           A.      I was concerned, yes.
23           Q.      There's a -- I've asked you this earlier.
24     There's a reference to Joey Camp here on the call,
25     and you've already kind of talked about that.                         Did

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 1     you ever consider the possibility that it was --
 2     that it was actually Mr. Camp or someone else that
 3     was on the call, not Mr. Oltmann?
 4           A.      Yes.
 5           Q.      You at least had that suspicion?
 6           A.      Yes.
 7           Q.      Have you done any investigation to either
 8     confirm or deny that?
 9           A.      No.
10           Q.      And what led you to that suspicion?                      What
11     created that in your mind?
12           A.      Joe has a habit of putting himself in
13     other people's stories sometimes.
14           Q.      And when has that happened, other than
15     potentially this time?
16           A.      One example that comes to mind is years
17     ago there was a client that was being onboarded, and
18     Joe was not present for a meeting that he later
19     would tell the story as if he was there.
20           Q.      And that -- was that before this --
21           A.      Yes.
22           Q.      -- particular episode?
23           A.      Before.
24           Q.      Do other examples come to mind?
25           A.      Other similar examples to that.

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 1            Q.     Over the years that you guys worked
 2     together, give me an estimate of how many times you
 3     heard Joe Oltmann graft himself onto a particular
 4     situation.
 5            A.     I can't estimate that over eight years of
 6     working together.
 7            Q.     Okay.       Can you give me, in 2020, on an
 8     annual basis, a couple of times, ten times?
 9            A.     I can't.
10            Q.     But you'd agree -- I think you used the
11     word -- it was a habit of his of doing so?
12            A.     Yes.
13            Q.     Did you -- and I apologize.                   I -- I know
14     I saw the stuff from your mom where she was talking
15     about Joey Camp.          And we may look back at that.
16                   It sounds like she did some research on
17     Joey, did she not?
18            A.     It appears so.
19            Q.     Yeah.       And then other -- other than what
20     your mom was sleuthing on, you haven't -- you're not
21     aware of any other person doing research on him, are
22     you?
23            A.     No.
24            Q.     Have you heard of someone who calls
25     themself "The Researcher"?

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 1             A.    You're going to have to be more specific.
 2             Q.    Well, I can show you some -- some emails
 3     that were sent to Mr. Oltmann from someone called
 4     "The Researcher."          Do you know of anybody that goes
 5     by that pseudonym?
 6             A.    Again, you're going to have to be more
 7     specific.
 8             Q.    I can't, other than that's what the
 9     pseudonym is.
10             A.    Nothing comes to mind, but -- I don't
11     know.
12             Q.    Have you known --
13             A.    I don't know everyone's aliases.
14             Q.    Do you know whether or not Mr. Oltmann
15     has been receiving information directly from Joey
16     Camp?
17             A.    I do not.
18             Q.    Do you believe -- well, just flat out, do
19     you believe that Mr. Camp is a credible source for
20     information?
21             A.    I know nothing about Mr. Camp.
22             Q.    Okay.       All right.        We'll put that aside
23     for a minute.
24                   Back to -- so we saw at the beginning of
25     the clip that Mr. Oltmann was looking at some notes,

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 1     it appears to be.          And then let's just pick it up
 2     from there.
 3                               (Playing video.)
 4             Q.     I've seen that clip a number of times,
 5     and I always look at you, in part, because your eyes
 6     are looking around at what appears to be a computer
 7     screen.      What were you doing when he was telling the
 8     story?
 9             A.     I don't know what I was doing at the
10     time.
11             Q.     I speculated that maybe you were just
12     looking through the Facebook stuff trying to put
13     your clips together.           Were you doing that?
14                           MR. CORPORON:         Objection; asked and
15     answered.
16             A.     I don't know what I was doing, but -- I
17     don't know.
18             Q.     Okay.      So was that the first time you
19     heard this recitation?
20             A.     Yes.
21             Q.     In the podcast?
22             A.     Yes.
23             Q.     This is just a body language thing.                     You
24     might want to not want to lean on your face --
25             A.     I'm sorry.

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 1             Q.    -- just so the jury can see.
 2                   Okay.       Was that surprising to you?
 3             A.    Yes.
 4             Q.    Let's look at Clip 5.
 5                               (Playing video.)
 6             Q.    Okay.       So you heard it, but is it your
 7     recollection that at least initially -- at least
 8     your colleague was saying he wasn't actually certain
 9     that it was Eric Coomer on the call.
10             A.    That's what he just said.
11             Q.    Right.       I think I knew the answer to it.
12                   That changed over time, though, did it
13     not?
14             A.    His --
15             Q.    Yeah.
16             A.    -- opinion?         Yes.
17             Q.    Yeah.       It went from he couldn't be
18     certain to he -- he was certain it was Eric?
19             A.    Yes.
20             Q.    Do you know what caused that shift?                      Was
21     there something that you observed there where he got
22     different or additional evidence or anything of the
23     like?
24             A.    I don't know.
25             Q.    Then fair to say that he didn't -- he

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 1     didn't explain to you what caused that shift?
 2             A.    What --
 3             Q.    Yeah.
 4             A.    What shift?
 5             Q.    The early discussions where he wasn't
 6     certain that it was Eric to the later episodes
 7     where -- and appearances where he was sure it was
 8     Eric?
 9             A.    I don't know what specifically caused
10     that.
11             Q.    What was the response to that
12     November 9th episode, this one that we've been just
13     looking to -- looking at?
14             A.    Significant.
15             Q.    How so?
16             A.    It was viewed many times.                  It was
17     downloaded many times.            It was picked up by outlets,
18     by --
19             Q.    Such as?
20             A.    I can't give you a list.                 I just remember
21     that it was picked up by outlets.
22             Q.    Did you get contacted directly about the
23     episode?
24             A.    How so?
25             Q.    Well, did someone text you about it?

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 1     Someone call you about it?               Anything like that?
 2     It's not the form of communication that I think
 3     matters, but --
 4           A.      I -- I talked to people in the time,
 5     yeah, after the episode, yeah.
 6           Q.      Okay.       Who did you talk to?
 7           A.      I don't remember who I talked to after
 8     the episode.
 9           Q.      Just to rewind.            You first learned about
10     the episode content a few days beforehand.                        Right?
11           A.      One to two days, sure.
12           Q.      You got Facebook images that I think to
13     you said it was chaos trying to put those together.
14           A.      Yes.
15           Q.      Is that fair?
16                   You didn't have any discussions with
17     Mr. Oltmann about when and where he got that
18     information from?
19           A.      Yes.
20           Q.      You go live with a story about an Antifa
21     call as we just saw?
22           A.      Yes.
23           Q.      Prior to that, you had not received any
24     information, despite asking, from Mr. Oltmann about
25     how he got on that call?

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 1             A.    Yes.
 2             Q.    And then the first time you heard the
 3     content as recited was live, contemporaneously?
 4             A.    The first time I heard him say what he
 5     said on that video was live.
 6             Q.    And you had a suspicion, did you not,
 7     that he may have grafted himself onto someone else's
 8     call?
 9             A.    Not at the time.
10             Q.    That happened later?
11             A.    Yes.
12             Q.    Did you reach out to -- well, who is
13     Jimmy Sengenberger?
14             A.    Sengenberger.          He is -- is a friend of
15     mine.
16             Q.    What does he do for a living?
17             A.    I don't know what he does now, but is
18     a -- a radio personality.
19             Q.    On what channel?
20             A.    I do not know what station he's on right
21     now.
22             Q.    What station was he on during this --
23             A.    7- --
24             Q.    I'm sorry.
25             A.    I'm sorry.

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 1           Q.      -- during November 9th of 2020?
 2           A.      710 KNUS.
 3           Q.      Okay.       Is that the same one that
 4     Mr. Corporon's on?
 5           A.      I -- yes, yes, I believe so.
 6           Q.      Okay.       Let's look at --
 7                          MR. CAIN:       So we had 18 was the
 8     clips.     19 was the notes.           20 is -- I'm going to go
 9     back to the stuff that you gave us this morning.
10                          (Exhibit 20 was marked.)
11           Q.      Do you remember producing this document,
12     Exhibit 20?
13           A.      Yes.
14           Q.      What is this?
15           A.      This is a text message between me and
16     Jimmy Sengenberger.
17           Q.      And I said Sensenberger.                 I think may be
18     he was a --
19           A.      He's a senator.
20           Q.      Senator, yeah.
21           A.      Or -- or -- or a congressman, one or the
22     other.
23           Q.      Well, I have a political science degree,
24     too, but I obviously don't know what you know.
25                   Okay.       So how did this come about that

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 1     you were texting with Mr. Sengenberger?
 2             A.    Jimmy texted me.
 3             Q.    All right.        Well, let's -- let's just
 4     read some of this.          We'll do -- we'll do role play.
 5     I'll play Jimmy and you play yourself.
 6             A.    I'd prefer not.
 7             Q.    Why not?
 8             A.    If you want me to answer questions, I'm
 9     happy to do so, but I -- I prefer not to read.
10             Q.    You don't like to read your own words?
11             A.    No, I'm -- I'm fine to answer questions.
12     I'd prefer not to read.
13             Q.    Okay.       Do you stand by the words you have
14     in this text string?
15             A.    I stand by that this conversation
16     happened.
17             Q.    Okay.       And we have lots of posts and
18     texts from you.       And I'm not -- this is not -- you
19     may take this the wrong way.                It's not intended that
20     way.     What you've produced to us today that comes
21     from you, either in texts or in posts, are any of
22     those something that you recall intentionally being
23     false where you made a false statement in a text or
24     post?
25             A.    No, I don't recall any time I

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 1     deliberately made a false statement in a text or
 2     post.
 3             Q.     I didn't think so.             I just want to --
 4     that will help streamline some of this.
 5                    All right.       So Mr. -- was Mr. -- was
 6     Jimmy -- we'll just agree to call him Jimmy.                         Was he
 7     on the radio during this time.                  Was he -- had a show
 8     at KNUS?
 9             A.     He had a show there.              I don't know if he
10     was on the radio while we were on the air.
11             Q.     Okay.      He says:       Hey, Max, I watched your
12     show live today.          Between us, I don't think Coomer's
13     leftism is sufficient -- is nearly sufficient
14     evidence.      In fact, it's known in the election
15     community.      I asked a long -- a former long-time
16     Republican-elected county elections official about
17     Coomer.      Not only does this person know him and of
18     his lefty politics but even says, colon, quote, Yep,
19     he's out there politically.                But I would trust him
20     to run an election where I'm on the ballot any time,
21     close quote.      This is an individual whose judgment I
22     trust on election issues.
23                    Did I read that correctly?
24             A.     Yes.
25             Q.     And then he goes on to say:                  IMO -- which

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 1     the kids know stands for in my opinion -- your
 2     contributions as devil's advocate and about the news
 3     stories of chain of custody issues, et cetera was
 4     well-done and salient.            Best part of the case.
 5                   Do you know what he was referring to when
 6     he -- when he says "chain of custody issues"?
 7            A.     I don't know what he was specifically
 8     referring to.
 9            Q.     And then you go on -- you're not going to
10     read it?
11            A.     I'd prefer not to.
12            Q.     You say -- confirm that this is your
13     response -- the difference is Joe heard him on a
14     call brag about making it impossible for Trump to
15     win.
16                   Did I read that correctly?
17            A.     Yes.
18            Q.     And you go on to say:                  I'd also say that
19     a Colorado Republican saying that they trust
20     Cooker -- I believe you mean Coomer.                     Did you mean
21     Coomer?
22            A.     Yeah.
23            Q.     -- and Dominion doesn't say much, given
24     how the GOP has fared.
25                   What do you mean by that?

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 1            A.       At the time, there were many allegations
 2     that Dominion had played a role in affecting
 3     election outcomes and the fact that Republicans had
 4     done so poorly, this statement speaks for itself.
 5            Q.       You correct Cooker to Coomer and then
 6     Jimmy goes on to say:           Has he heard his voice
 7     elsewhere to be certain that it's the same Eric.
 8     And this particular GOP elections official is one I
 9     trust explicitly who does not fall into that
10     otherwise accurate category.
11                     Did I read that correctly?
12            A.       Yes.
13            Q.       Okay.     So remind me again, how long had
14     you been an acquaintance of -- of Mr. Sengenberger?
15            A.       Give or take, six years.
16            Q.       I'll skip down to the November 9th,
17     8:35 p.m.       This is back from Mr. Sengenberger to
18     you:    Okay.     Thanks.      Wish we had a recording for
19     verification purposes.            I won't run with it yet.
20                     So was the discussion there or had y'all
21     been having a discussion about possibly going with
22     this story on KNUS?
23            A.       I had not had a -- I don't believe I've
24     had a conversation with him about dong that, no.
25            Q.       Okay.     He -- he then goes on to say:                 But

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 1     I will be keeping an eye on what you guys put out
 2     moving forward as far as supportive evidence,
 3     et cetera.     It was an interesting show, exclamation
 4     point.
 5                   Did -- did Mr. Sengenberger ever come
 6     back to -- to you to -- to see if he could get
 7     either yourself or Mr. Oltmann on the -- on the
 8     radio to talk about this?
 9           A.      I don't recall.
10           Q.      Did you ever appear on KNUS to talk about
11     Eric Coomer?
12           A.      Not to talk about Eric Coomer, no.
13           Q.
14                   Other things?
15           A.      Yeah, I appeared on there to discuss
16     other things.
17           Q.      Did you -- and I know we kind of crossed
18     through this earlier.           But he -- he says, he wished
19     he had a recording for verification purposes.                         You
20     felt the same way, didn't you?
21           A.      Yeah.
22           Q.      Then it goes down, the next entry -- and
23     this is all within -- if you look at the time
24     stamping, about 10, 11 minutes.                  Right?
25           A.      From the beginning to the end, about 30

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 1     minutes.
 2             Q.    Oh, pardon me.           I didn't look up quite
 3     that high.
 4                   You say:       We're talking with Bannon to
 5     come on his podcast to discuss it.
 6                   Is that Steve Bannon?
 7             A.    Yes.
 8             Q.    So the night that this aired --
 9                   When did this air, by the way, this
10     podcast?
11             A.    I don't know the specific time that it
12     airs.
13             Q.    When did it normally air?
14             A.    I don't remember at that point in time
15     whether we had switched to a morning and evening
16     podcast.
17             Q.    Okay.
18             A.    Can you tell me when it aired?
19             Q.    I don't.       I don't know.            He can, this guy
20     right here.
21                          MR. COOMBE:         When is it?
22                          MR. KLOEWER:          I'll do -- very well to
23     find it.
24                          THE WITNESS:          I don't know either.
25                          MR. CORPORON:          You just got sold out,

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 1     Brad.
 2             Q.    Okay.       So how did -- and that's -- was
 3     there an existing relationship with Steve Bannon, to
 4     your knowledge?
 5             A.    To my knowledge, no, that's something
 6     that Joe said.
 7             Q.    You got that information from Joe that:
 8     Hey, we've already got Steve Bannon inquiring about
 9     this?
10             A.    Joe told me he was going to try to get on
11     Steve Bannon.
12             Q.    And you're relating that to -- to
13     Mr. Sengenberger.          Correct?
14             A.    Yes.
15             Q.    So you go on -- or the string goes on to
16     say:     After talking about Bannon.                 Very cool.       It
17     was hard to follow today with all the info and
18     producer limitations.           Ha-ha.
19                   Do you know what he meant by "producer
20     limitations"?
21             A.    There were difficulties with the producer
22     being able to pull up the specific image that Joe
23     was referring to, as I mentioned earlier, because of
24     the way it was organized alpha numerically with
25     little rhyme or reason?

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 1           Q.      Then goes on to say:               I'm sure it will be
 2     more organized by then.             Send me the link if that
 3     comes to fruition.
 4                   How did you interpret that?
 5           A.      That was an accurate statement.
 6           Q.      Of the -- I just don't know what he means
 7     by "send me the" -- "send me the link if that comes
 8     to fruition."
 9                   Do you know what he meant?
10           A.      I -- I believe that he was talking send
11     me a link to a next -- a future episode.
12           Q.      Oh, okay.        On the topic?
13           A.      Yeah.
14           Q.      You say:       Yeah, Joe was in charge of
15     organizing his thoughts and he just didn't do it.
16                   Is that what you were talking about --
17     well, does that refer back to what you were talking
18     about, just sort of the chaos in getting the show
19     prepared?
20           A.      Yes, the chaos.            That this was a show
21     that Joe was spearheading and there wasn't a lot of
22     prep done.
23           Q.      I don't -- I didn't see other texts in
24     the production with Mr. Sengenberger.                      Did you
25     produce other texts?

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 1           A.      No.
 2           Q.      Did you guys ever circle back where you
 3     sent him the link and there were additional
 4     discussions?
 5           A.      No, I didn't find anything else that was
 6     responsive.
 7           Q.      Okay.       Do you have a memory as you sit
 8     here of -- of him calling and saying, look, I can
 9     either get you on or I don't want to get you on or
10     something?
11           A.      No.     No.
12           Q.      Okay.       Just let it drop?
13           A.      No specific memories, no.
14           Q.      Are you still in touch with him?
15           A.      Yes.
16           Q.      Okay.       Bear with me.          The longer I take
17     in between questions, the shorter this thing gets.
18                   Well, this is kind of a general question.
19     Since the first episode aired, were you provided
20     with any additional evidence to support the notion
21     that this event, being the Antifa call and posting
22     about rigging the election, actually occurred?
23           A.      Joe's affidavit.
24           Q.      Anything else?
25           A.      Nothing comes to mind, but --

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 1             Q.       Okay.    Well --
 2             A.       -- I don't know.
 3             Q.       You'll have an opportunity to -- we'll
 4     talk through it and then if something else comes to
 5     mind, you can let me know.               Okay?
 6             A.       Okay.
 7             Q.       Okay.    So I guess let's fast-forward --
 8     or -- or slow forward since it's only a couple of
 9     days.        So that was November 9th of 2020.                   Let's look
10     at Clip 7, which I'll represent to you is from
11     November 11th of 2020.
12                               (Playing video.)
13             Q.       Fair to characterize this going from not
14     sure it was Eric to putting your finger on the
15     scales of the election and sedition that's
16     punishable by death as an escalation in the rhetoric
17     by Joe Oltmann?
18             A.       Yes.
19             Q.       What -- what happened in these two days
20     between you and him, if anything?
21             A.       I don't remember what specifically
22     happened between these two days, no.
23             Q.       How -- how about your show prep, what --
24     what lead to -- let me just go back to kind of the
25     questions I asked before but with respect to this

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 1     show.        Was there a preproduction meeting about
 2     accusing Eric Coomer of sedition?
 3             A.       That was not, to my recollection,
 4     discussed in a preproduction meeting.
 5             Q.       Is it -- this -- the clip that we just
 6     looked at, was it like the one we looked at before
 7     where you heard it for the first time on the air?
 8             A.       I don't know if that's the first time I
 9     heard Joe say that, I just know it wasn't discussed
10     in a preproduction meeting.
11             Q.       Were you surprised that he was making
12     these statements during the podcast?
13             A.       Yeah.
14             Q.       Had he talked to you about any evidence
15     that he had acquired to show actual interference by
16     Dr. Coomer with the election?
17             A.       He has not shown me any actual evidence.
18             Q.       So you've never seen any evidence from
19     Joe Oltmann from tip to tail that Dr. Coomer had any
20     actual role in rigging the 2020 Presidential
21     election?
22                          MR. CORPORON:          Objection; asked and
23     answered.
24             A.       Beyond the affidavit, no.
25             Q.       Well, the aff- -- affidavit is the

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 1     affidavit, it doesn't contain any actual analysis,
 2     does it?
 3           A.      It's his statement as to what occurred.
 4           Q.      And you're making a distinction because
 5     of the fact that he swore in that affidavit that
 6     what -- what occurred was true?
 7           A.      I think there's distinction there, yeah.
 8           Q.      I'm just trying to figure out why it's
 9     any different than what's on the podcast?
10           A.      When you sign an affidavit you are
11     stating this is a factually accurate statement under
12     penalty of perjury.
13           Q.      Gotcha.       Okay.      So -- by the way, we may
14     look at the affidavit.            Remember we talked about the
15     fact that it was emailed --
16           A.      Uh-huh.
17           Q.      -- to you at one point?
18                   Is that a yes?
19           A.      Yes.
20           Q.      Okay.       He mentions in that affidavit if
21     we're talking about, I guess, more technical data,
22     something called an ARIMA analysis.                    Have you heard
23     that term before?
24           A.      I've heard him use that term, yes.
25           Q.      Tell me -- tell me in what context you've

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 1     heard Joe Oltmann use that term?
 2           A.      I don't know the specifics as to what
 3     that term means.          It's just a term he would, over
 4     time, he used quite often.
 5           Q.      You can't cite an example of when he
 6     would use that, outside of this context?
 7           A.      Nah, I don't.          I don't know what that
 8     term means so it would be difficult to explain
 9     specific instances.
10           Q.      Have you ever seen as it relates to the
11     election issue and interference by Dr. Coomer, any
12     technical analysis of, it could be in the form of a
13     PCAP, or an image of a hard drive, or anything along
14     those lines that -- that Mr. Oltmann has presented
15     to you that he represented was proof that Eric
16     Coomer rigged the election?
17           A.      He sent me the Antrim County report that
18     was published.       The only things I saw were different
19     reports, audits that were widely published and
20     disseminated.
21           Q.      Publicly available?
22           A.      Yes.
23           Q.      Did he ever tell you how he got ahold of
24     the hard drive from Antrim County?
25           A.      He did.       He told me that it was given to

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 1     him and it was not under a protection order.
 2           Q.      Who gave it to him, Mr. DePerno?
 3           A.      I believe so, yes.
 4           Q.      Okay.       And, again, kind of the same
 5     thought process.          Between 11/9 and 11/11, what --
 6     what did you personally do to fact check the Eric
 7     Coomer story before this podcast that we just looked
 8     at?
 9           A.      I looked into publicly available
10     information.
11           Q.      Such as?
12           A.      Mr. Coomer's testimony before different
13     judicial bodies, videos of Mr. Coomer giving
14     demonstrations on different ways to utilize Dominion
15     Voting System equipment.             I believe one of those was
16     a video showing how -- how ballots could be
17     potentially altered for one purpose or another.
18           Q.      I guess that also -- I'm sorry.                     Did you
19     complete your answer?
20           A.      Yes.
21           Q.      Okay.       Remember I asked you if -- if you
22     considered Joe Oltmann a election expert and you
23     said no.     You don't consider yourself an election
24     expert, do you?
25           A.      No.

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 1           Q.      So it does sound like you -- you did some
 2     of your own investigation and research prior to
 3     this -- this sedition podcast.                  Is that fair?
 4           A.      Yes.
 5           Q.      Okay.       You don't believe Eric Coomer
 6     committed treason or sedition, do you?
 7           A.      I think treason and sedition are a -- a
 8     very difficult crime to prove.
 9           Q.      So is that -- am I correct?
10           A.      I do --
11           Q.      You're not sitting here calling him a --
12     a trader to our country or a seditionist, are you?
13           A.      I don't know.          I don't know.               It --
14     that's -- that would not be my opinion.
15           Q.      So in terms of the -- the buzz that this
16     was generating, did you continue to get more
17     viewership or see more viewership of your podcast
18     following this November 11th podcast?
19           A.      I believe so.          But we were also covering
20     other important topics about the election.
21           Q.      So you're not ascribing at all to the
22     Coomer story?
23           A.      No.     We had a few different topics that
24     did pretty well.
25           Q.      What other topics were y'all putting out?

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 1             A.       Covering issues like late night
 2     deliveries to different ballot counting facilities,
 3     ballot harvesting, people dropping off a bunch of
 4     ballots at dropboxes.           Most of the big stories that
 5     were in the news yeah.
 6             Q.       And kind of looking back in retrospect,
 7     you've kind of come to your own conclusion -- I'm
 8     not saying it's right or wrong -- that if there was
 9     any fraud associated with the 2020 election, it most
10     likely was related to either ballot harvesting or
11     mule-type activity.          Is that fair?
12             A.       That is an opinion that I've arrived at
13     simply because that's what evidence I've seen.
14             Q.       Because you haven't seen -- again, you're
15     not an expert, but I do want to know what's in your
16     mind.        You haven't seen information that has
17     convinced you that there was an actual attack on the
18     machines or the software itself, either, you know,
19     externally by a foreign actor, or by someone like
20     Dr. Coomer, have you?
21             A.       No, I have not, but I also haven't seen
22     evidence to suggest that that kind of manipulation
23     couldn't happen.
24             Q.       Well, you -- I mean, it's important to
25     you, I think, to see both sides of the story.

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 1                   Right?
 2           A.      Generally, yeah.
 3           Q.      So, for example, when the interim report
 4     came out, did you -- did you look at what the
 5     response from the Republican Congress was in
 6     Michigan to the report?
 7           A.      I don't remember what the Michigan
 8     legislature said about the report, no.
 9           Q.      By the way, was there -- again, we're
10     kind of in November -- mid-November.                     Was there any
11     outreach by either Mike Lindell or people on his
12     team to your podcast at this point?
13           A.      Not that I remember, no.
14           Q.      All right.        Let's go to the next day.                   I
15     believe this is Clip 12.
16                               (Playing video.)
17           Q.      Ancillary question, but they're
18     destroying -- they said something about destroying
19     ballots in Philadelphia or something on the bottom.
20     And there's an --
21           A.      Yes, that was the title.
22           Q.      -- 888 number.
23                   What -- what was that associated with?
24                        MR. CORPORON:            Make sure you let him
25     finish.

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 1                        THE WITNESS:            Okay.
 2           A.      I think that was behavior in certain
 3     counties in Pennsylvania that were either destroying
 4     ballots or destroying ballot envelopes that if done
 5     in that matter, would make it hard or impossible to
 6     reconcile whether the ballots that were counted
 7     actually matched up with a legitimate voter's
 8     signature.
 9           Q.      And, I apologize, I asked a poor
10     question.     I really was asking about -- if I could
11     read that part, I was asking about the phone number.
12     What was the phone number associated with that?
13           A.      Can you show me it again?
14                               (Playing video.)
15           A.      That's our -- that's our call-in number.
16           Q.      So what is -- what do you get when you
17     call in that number?
18           A.      You get screened by a producer.                     And if
19     you are relevant to the conversation and you're not
20     judged by him to be someone that shouldn't go on the
21     air, we would potentially put you on the air if we
22     had time.
23           Q.      Like just a viewer?
24           A.      Viewers.       The line would also be used by
25     guests, but --

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 1           Q.      I see.
 2           A.      -- mainly viewers.
 3           Q.      Okay.       All right.        So obviously
 4     Mr. Oltmann was talking about his -- Google's
 5     investigation or searching of Mr. Coomer.
 6                          (Exhibit 21 was marked.)
 7           Q.      Let me show you what's been marked as
 8     Exhibit 21.      We'll pause this here.
 9                          MR. CAIN:       And for you, Ryan, this is
10     a screenshot of the Google search -- of a Google
11     search.
12           Q.      Does this appear to be the one that
13     appeared up on your screen?
14           A.      I believe so, yeah.
15           Q.      Okay.       And this -- are you familiar with
16     screenshots?
17           A.      Yes.
18           Q.      Are you a Mac guy or are you a PC guy?
19           A.      Both.
20           Q.      Both.       What happens when you take a
21     screenshot on a Mac?           Is there a date and time
22     signature associated with it?
23           A.      There -- I'm not an expert on Mac
24     hardware.
25           Q.      Well, take -- take out the Mac part of

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 1     it.   Just on a computer.
 2           A.      Generally, that kind of metadata, it's my
 3     understanding, would get stored.                     Depending on the
 4     settings, it would either be stored as a name or
 5     somewhere else in metadata.
 6           Q.      And can you -- based just on your
 7     experience working with computers, where on this
 8     exhibit does it purport to show when the screenshot
 9     occurred?
10           A.      On the top bar, where it would show the
11     image name.
12           Q.      And is that -- it's got a little -- it
13     looks like a little document icon and it says
14     "screenshot 2020-09-26 at 2:03 and 31 seconds p.m."
15           A.      That's what it says.
16           Q.      Okay.       And are you familiar with our
17     investigation of this particular screenshot?
18           A.      I am.
19           Q.      So you know that our position is this was
20     actually not a screenshot from September 26th.
21                   Right?
22           A.      I understand that that's your position.
23           Q.      And -- and do you hold a different view
24     of this?
25           A.      I do not have any evidence one way or the

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 1     other.
 2             Q.       Okay.    So how did -- going back to that
 3     clip.        It was on November 12th.
 4                               (Playing video.)
 5             Q.       And those are the same two Google doodles
 6     from Exhibit 21 and then the clip in question,
 7     aren't they?
 8             A.       Yes.
 9             Q.       Okay.    So you said that you gave credence
10     to the affidavit that Mr. Oltmann executed.                        Right?
11             A.       Yes.
12             Q.       And he told us -- well, he told whomever
13     was reading the affidavit -- affidavit at the time
14     that he searched Eric after the call that he
15     supposedly participated on.                Right?
16             A.       That's my recollection, yes.
17             Q.       Okay.    Not sometime later in November.
18     Right?
19             A.       Yes.
20             Q.       So were you aware of any of this sort of
21     dichotomy, potential dichotomy, at the time that you
22     were doing this podcast on the 12th?
23             A.       No, I was not.        I became aware of this
24     issue later.
25             Q.       So was there any discussion between

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 1     you -- again, pre-show -- where Mr. Oltmann said,
 2     look, this wasn't a screenshot I actually did in
 3     September, this is one I did yesterday?
 4           A.      That was not -- I don't believe that was
 5     explained to me, and I don't -- my recollection is
 6     that this is not an image that went through me to
 7     the producer.      This is an image that he sent to the
 8     producer.
 9           Q.      Do you know anything about his
10     computer -- I'm using pronouns -- Mr. Oltmann's
11     computer crashing during this period of time?
12           A.      With specificity, no, but he has -- he is
13     plagued by computer crashes.
14           Q.      I bet.      Did he indicate to you that he
15     had a crash during this period of time?
16           A.      Nothing about what you just said sticks
17     out as a memory that I would have made at this time.
18           Q.      And I know you were in -- well, were you
19     in Commerce at this point?
20           A.      I lived in Texas, yes.
21           Q.      Do you know who was in charge of sort of
22     IT issues, the server, if there was one, or
23     hardware, back at PIN -- fill in the blank?
24           A.      Yes, it would have most likely been Chris
25     Wiegand or there was another gentleman, Mike.                         I

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 1     believe his name was Wrate (phonetic).
 2           Q.      Can you spell that for us?
 3           A.      I can't.       All I remember is it started
 4     with W-R.
 5           Q.      So I guess back to my -- I think what you
 6     told us is you weren't in charge of putting this
 7     screenshot up during the podcast.                    Right?
 8           A.      I did not have the ability to do that.
 9           Q.      And as you sit here, have you had any
10     discussions with Joe Oltmann about potentially
11     backdating evidence of his search?
12           A.      I have talked to him about many of these
13     issues.     I do not recall, but I might have.
14           Q.      Okay.       You don't recall his response?
15           A.      I don't recall having that specific
16     conversation.
17           Q.      Okay.       When this issue came to light, is
18     this another issue along the lines that gave you
19     concern like we talked about previously?
20           A.      This is an issue that came to light to me
21     long after that clip here.
22           Q.      Okay.       But -- but now -- now that you
23     understand what the issue is, is this another piece
24     of evidence that gives you concern about the
25     veracity of the Coomer story?

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 1           A.      Unless there is an explanation for the
 2     Google doodle, then, yes.
 3           Q.      Okay.       But you haven't heard one yet,
 4     have you?
 5           A.      No.
 6                         MR. CAIN:        Okay.       I sense a general
 7     fatigue in my voice, so I'd like to take a break.
 8     Is that all right?
 9                         MR. CORPORON:           What's our time?
10                         THE STENOGRAPHER:                Can we talk about
11     that off the record?
12                         MR. CORPORON:           Sure.
13                         THE VIDEOGRAPHER:                Going off the
14     record.     The time is 3:16.
15                                    (Break.)
16                         THE VIDEOGRAPHER:                Back on the
17     record.     This marks the beginning of Media Unit
18     No. 3.     The time is 3:46.
19           Q.      Okay, Mr. McGuire.              You had mentioned in
20     the last session an affidavit as being sort of
21     something that you relied on -- well, strike that.
22     I don't even need to preface this.
23                   I just want to confirm the affidavit that
24     you're talking about.           So let me mark Exhibit 22.
25                         (Exhibit 22 was marked.)

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 1           Q.      And while you're looking at it, the
 2     question is going to be is this the affidavit you
 3     were referring to?
 4           A.      Yes.
 5           Q.      Okay.       And this -- this is the same one
 6     that you received via that email, I believe, on
 7     November 19th.        True?
 8           A.      I can't for sure say without comparing
 9     them both, but this looks like it, yeah.
10           Q.      Are you aware of Mr. Oltmann signing any
11     other affidavits at or around this time?
12           A.      I am not.
13           Q.      Do you know what the purpose of this
14     affidavit was?
15           A.      From what he had told me, it was to -- to
16     lend further credence to his claims.
17           Q.      Right.       But did you understand that he
18     was going to be filing this in connection with
19     election-related litigation?
20           A.      I don't know if that was ever made aware
21     to me, but it wouldn't surprise me.
22           Q.      Okay.       And your testimony previously was
23     the fact that he swore to the facts that we were
24     looking at, at least some of them in the podcast,
25     was -- sort of gave support, in your mind, that his

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 1     story was credible.          Is -- Is that fair?
 2           A.      Yeah.       I take affidavits seriously
 3     because of the penalty of -- of lying.
 4           Q.      Right.       In -- in terms of content,
 5     though, is there anything in the affidavit beyond
 6     what we've already discussed that supports sort of
 7     your -- your idea that this led credence to his
 8     story?
 9                   Sorry, it's getting a little late for me
10     and I'm already stumbling over my words.
11           A.      That's a complicated question.                     Can you
12     say it simpler?
13           Q.      I can.       We've talked about the -- the
14     Google search.        We've talked about the alleged
15     Antifa call and in your prior testimony the Facebook
16     stuff.     Is there anything in this affidavit beyond
17     what we've already talked about that you found
18     particularly compelling?
19           A.      Beyond what we've talked about, no.                      I --
20     him recounting -- at the time, him recounting his
21     take on what he overheard under oath under penalty
22     of perjury was compelling to me.
23           Q.      Did you know that -- that Mr. Oltmann was
24     working with this -- this gentleman to your left in
25     preparing this affidavit?

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 1           A.      No, I did not know that.
 2           Q.      Did Mr. Oltmann discuss his relationship
 3     with Mr. Corporon at this time?
 4           A.      No, not on this.             We -- we had had
 5     conversations about Randy because he was a political
 6     figure and he had a radio show but no, not on this.
 7           Q.      And Mr. Corporon hasn't represented you
 8     individually prior to this deposition.                      Right?
 9           A.      No.
10           Q.      And were you privy to any discussions
11     where you were present and Mr. Oltmann was present
12     and Mr. Corporon was present to discuss this
13     affidavit or the related litigation?
14           A.      No.
15           Q.      Do you know of any facts regarding the
16     input Mr. Corporon had into this affidavit, if any?
17           A.      I believe that Joe may have run it by
18     him, but I -- I don't have any real facts.
19           Q.      Were you listening to Mr. Corporon's
20     radio show during this time period?
21           A.      No, I live in Texas and he broadcasts in
22     Colorado.
23           Q.      They don't stream that on the internet?
24           A.      They do.       It's a little bit more
25     complicated than just being able to turn on my radio

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 1     in my car.
 2                          MR. CORPORON:          Not a big fan, huh?
 3             Q.    But just kind of reading between the
 4     lines, it didn't sound like you provided any
 5     independent support or evidence that found its way
 6     into this affidavit.           Is that fair?
 7             A.    That I did or that he did?
 8             Q.    That you did.
 9             A.    Did I provide any information that
10     made --
11             Q.    Yes.
12             A.    No.
13             Q.    Yeah, that's what I thought.
14                   Were you supportive of Mr. Oltmann going
15     outside of the podcast to -- to tell this particular
16     story about Dr. Coomer?
17             A.    I was on the fence.
18             Q.    Did that change over time?
19             A.    Yes.     Yes.
20             Q.    Okay.       Can you describe that for the
21     jury?
22             A.    I was concerned prior to this Joe was on
23     the podcast on a -- under a pseudonym and he was --
24     he was using that pseudonym for real reasons of not
25     wanting to bring heat onto him or any of our other

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 1     companies.        And by signing the affidavit, he had to
 2     go on the podcast as his own name.
 3             Q.       This was the, kind of, watershed moment
 4     for that?
 5             A.       Yes.     You can't be on a podcast under a
 6     pseudonym and sign an affidavit under your real name
 7     and then use both on the same podcast.
 8             Q.       And as a shareholder of other companies
 9     that had different business plans, did it concern
10     you that he was going public with his name through
11     this affidavit and the impact it might have on those
12     other companies?
13             A.       It's something that definitely had to be
14     thought about.           I don't know if it would rise to a
15     level of -- of true concern, but it's -- it's not
16     something you just ignore.
17             Q.       Okay.     So this was -- do you have an
18     independent recollection of Mr. Oltmann -- you know,
19     we looked at the last -- let me frame it for you.
20     We looked at the sedition podcast that was on the
21     11th.        We looked at that Google search clip that was
22     on the 12th.        We looked -- or looking at Exhibit 22,
23     which was signed the 13th.
24                      By the way, Lynn Kieffer, you mentioned
25     her earlier.        She appears to be the notary on this.

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 1           A.      She appears to be a notary public, yes.
 2           Q.      Okay.       And remind me again who she worked
 3     for if you know.
 4           A.      She works for my -- the companies I own
 5     shares in doing financial stuff.
 6           Q.      Okay.       Were you aware of any of the, sort
 7     of, litigation that was starting up with Jenna Ellis
 8     and the Trump campaign --
 9           A.      Yes.
10           Q.      -- at this time?
11           A.      Sorry.       Yes.
12           Q.      Did you have any -- any participation in
13     meetings with anybody associated with that
14     litigation?
15           A.      I don't believe so, no.
16           Q.      Did Mr. Oltmann describe any such
17     meetings to you?
18           A.      He described on a couple of occasions
19     that he was having phone conversations with
20     different people in the Trump campaign.                          Yeah.
21           Q.      Okay.       Any -- do you remember anything
22     about those conversations?
23           A.      I remember him talking about Sidney
24     Powell and -- and getting involved in that.                          But I
25     don't -- he didn't share a ton of details about

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 1     those.
 2           Q.      Okay.       So is it -- is it true that you
 3     were in Texas for all of November of 2020?
 4           A.      I don't have my travel in front of me,
 5     but it -- I was in Texas, yeah, pretty much.
 6           Q.      Okay.       Did -- did you do any -- you
 7     mentioned some of the research you did on Dominion,
 8     some videos that you saw of Dr. Coomer doing demos
 9     for various folks.          Did you do any research in
10     November about the allegation that Dr. Coomer was
11     either a major shareholder of Dominion or had
12     offshore shell companies or owned -- actually owned,
13     as opposed to invented, patents associated with
14     election security?
15           A.      I don't remember learning anything
16     specifically about his business holdings, his bank
17     accounts, or his patents.              I remember doing research
18     and reading about different things that he had
19     invented and presuming that -- as the inventor, that
20     he would retain some ownership in those things.
21           Q.      Okay.       Well -- and -- and again, I'll
22     frame where I'm going with this.                     Ultimately,
23     Mr. Oltmann found himself on the stage at the
24     Lindell Cyber Symposium in August of 2021.                        Do you
25     remember that?

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 1           A.      Yes.
 2           Q.      Okay.       And you remember he told a lot of
 3     the same stories about Dr. Coomer on that stage.
 4     Right?
 5           A.      Yeah, I believe so, yeah.
 6           Q.      Okay.       So -- now let's rewind the tape
 7     back to November.          That's -- we're going to get to
 8     that point.      And look at a clip from another show
 9     that kind of closed out that month.                    I think it's
10     November 30th of 2020.
11                               (Playing video.)
12           Q.      What is the connection between George
13     Soros and Eric Coomer?
14           A.      I don't know.
15           Q.      What evidence have you seen that -- that
16     Dr. Coomer is either a major shareholder or just a
17     pure old-fashioned shareholder in Dominion?
18           A.      I can't recall seeing any evidence to
19     suggest that he owns a piece of Dominion.
20           Q.      What evidence have you seen, if any, that
21     Eric Coomer owns offshore shell companies?
22           A.      I can't remember seeing any evidence to
23     support that claim.
24           Q.      Did you ask Mr. Oltmann in any of the
25     lead-up to -- this is the November 30th, 2020,

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 1     show -- to provide you with any -- any of this
 2     information for you to review?
 3           A.      Not everything that Joe said on camera
 4     was scripted.      Not every thing that he would say on
 5     camera was fully prepared.               So it is not possible to
 6     preemptively ask for proof about things that I might
 7     not know he's about to say.
 8           Q.      Well -- so this was unscripted?
 9           A.      I don't believe that we scripted that,
10     no.
11           Q.      And I get you can't predict behavior
12     entirely, but you do try to prepare for the show.
13     Right?
14           A.      I do.
15                   What was the title of that episode?
16           Q.      You tell me.
17           A.      No, I'm asking.            Can you show me?
18           Q.      Oh, I don't know.             I'm sorry, I thought
19     that was...
20                               (Playing video.)
21           A.      So this was an episode about Georgia
22     trying to wipe Dominion voting machines.                         This was
23     not an episode about Eric Coomer.                    When he makes
24     that comment, that was not the show topic that we
25     had prepared that day.

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 1             Q.    Okay.       Thank you.        I'm not criticizing
 2     you.
 3             A.    I'm just pointing it out.
 4             Q.    Okay.       Thank you.
 5                   You could go, well, after the fact,
 6     that's some interesting information that I learned
 7     about Eric Coomer when the show ends.                      Did you do
 8     that?
 9             A.    No.
10             Q.    Did you talk to Mr. Oltmann around this
11     time about why it was important to the narrative
12     to -- to tie Eric Coomer to George Soros and
13     offshore shell companies and these type of things?
14             A.    Did I talk to Joe --
15             Q.    Yeah.
16             A.    -- about the importance for the
17     narrative?
18             Q.    Yeah, the Coomer narrative, the story
19     about Coomer.
20             A.    There wasn't really a narrative, but no,
21     we didn't.
22             Q.    Well, what do you want to call it?
23     I want to make sure I --
24             A.    Well, these are episodes.                  These are --
25     these are discussions about topics.                    We did not have

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 1     a conversation about an overall narrative, no.
 2           Q.      Well, he repeated these same allegations
 3     on multiple shows, didn't he?
 4           A.      You can show me.             I -- I've done a lot of
 5     shows and -- and he's had a lot of off-the-cuff
 6     remarks.     I can't remember all of them.
 7           Q.      Okay.       And that's fair.            But more than --
 8     on more than one occasion.               We've already seen three
 9     or four shows.
10           A.      It wouldn't surprise me.
11           Q.      Okay.       Do you have a problem with --
12     well, let me back up.
13                   Do you know what doxxing is?
14           A.      I do.
15           Q.      What is that?
16           A.      Well, it depends on the context.                     But
17     doxxing would be sharing personally identifiable
18     information about someone when that information
19     wasn't already out there.
20           Q.      And what is -- I've learned some of this
21     stuff just recently myself.                But why do people, just
22     based on your understanding, dox other people?
23           A.      To cause harm, to seek accountability.
24     There could be many reasons.
25           Q.      And has your personal information been

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 1     doxxed?
 2           A.      I have been told that it has, yes.
 3           Q.      Have you seen instances where Mr. Oltmann
 4     doxxed people?
 5           A.      Yes.
 6           Q.      Tell us about those.
 7           A.      Things that come to mind immediately are
 8     things that Joe has said about people like Heidi
 9     Beedle who's a reporter in Colorado, making efforts
10     to share information about her.
11                   He's done that repeatedly with, I
12     believe, journalists.           Those are the things that
13     come to mind.
14           Q.      In fact, we saw -- we didn't -- I didn't
15     focus on it, but that exhibit in front of you he
16     mentions Heidi Beedle, on the bottom of that
17     affidavit, does he not?
18           A.      Yes.
19           Q.      Fair to say he doesn't care for
20     Ms. Beedle?
21           A.      She doesn't care for him.
22           Q.      Did you have any discussions with him
23     while we're -- while I'm looking at it, about this
24     concept that she's the leader of a group called Our
25     Revolution in El Paso County?

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 1           A.      I don't remember any conversations about
 2     that specific name, but we have had conversations
 3     about her being involved in that kind of movement.
 4           Q.      That kind of movement?
 5           A.      Yes.
 6           Q.      Okay.       Do you know whether as you sit
 7     here whether she's a, quote/unquote, leader of that
 8     movement Our Revolution, whatever that is?
 9           A.      I don't know enough about that
10     organization to comment on that.
11           Q.      Yeah.       And then it -- he says here,
12     Antifa leader in the same area.                  I'm interested in
13     what you understand Antifa to be --
14           A.      Uh-huh.
15           Q.      -- just in and of itself.                  Can you tell
16     me what your view of that is?
17           A.      My understanding of Antifa is that it is
18     an organization with a horizontal leadership
19     structure without any formal membership of people
20     who share common ideas but there is an
21     organizational component to it because it's not a
22     coincidence when people show up at the protest
23     wearing the same clothes and carrying the same signs
24     and -- and committing acts of violence.
25           Q.      Okay.       So you associate -- when you say

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 1     horizontal organization, what do you mean by that?
 2           A.      There's no grand poobah of the Antifa
 3     league.
 4           Q.      Well, who -- who plays in the league?
 5           A.      That's -- that's the difficulty of any
 6     organization, it has a horizontal leadership
 7     structure.
 8           Q.      Okay.       Is there -- is there -- when
 9     you -- when I hear the word "organization," I think
10     of something like FEC united that has an, you know,
11     actual corporate structure, nonprofit structure,
12     doesn't have to be necessarily.                  But is that what
13     you're referring to or is it more of a loose term?
14           A.      When -- when I say that "there's an
15     organizational structure," I mean that it's not a
16     coincidence that people show up at the same place at
17     the same time, wearing the same clothes, carrying
18     the same signs, committing the same acts of
19     violence.     There has to be some kind of
20     organizational structure there or it's the greatest
21     coincidence of all time.
22           Q.      All right.        So in -- in the context --
23     well, you keep saying "violence," are you saying
24     that all of the people that are associated with
25     Antifa are violent actors?

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 1           A.      Enough of them are.
 2           Q.      And we can -- we can both agree that
 3     violence on both sides is not the answer to
 4     political disputes?
 5                          MR. CORPORON:          Objection; relevance.
 6                          MR. COOMBE:         Join.
 7           A.      Yeah.
 8           Q.      Right.
 9                   Other than what you may have construed
10     from Eric Coomer's Facebook posts, do you have any
11     evidence that Eric Coomer's part of this horizontal
12     Antifa structure or has committed violence of a
13     political nature?
14           A.      The Facebook posts that were shown to me
15     convinced me that, at the very least, he is a man
16     sympathetic to that cause.
17           Q.      And in terms of -- well, let me see.
18                   You recognize that there are members of
19     conservative folks, liberal folks, Republicans,
20     Democrats, et cetera, that work in elections.
21     Right?
22           A.      Yes.
23           Q.      And you're not suggesting to the jury
24     that because someone has a political -- particular
25     political belief, that that means that they're going

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 1     to have the desire to not perform their function in
 2     elections, are you?
 3           A.      It is my belief that people who are going
 4     to perform this kind of work have an obligation to,
 5     at the very least, create the appearance of
 6     impartiality.      And when someone violates that
 7     obligation and instead, creates the appearance of
 8     impropriety, it is the duty of that person to prove
 9     that everything is on the up and up.
10           Q.      Well, I asked you earlier, do you know
11     whether Dr. Coomer's Facebook page was private or
12     public and you said -- I don't think you knew?
13           A.      At the time I didn't know.                   It's since --
14     I'm since become aware that there was some
15     element -- element of privacy in his settings.
16           Q.      Okay.       Are you aware of any instances,
17     during this period of time when you were doing the
18     research, of Dr. Coomer making public political
19     statements or attending rallies or putting himself
20     out, in essence, publicly about political issues?
21           A.      Yes, on those Facebook posts.
22           Q.      That's not what I'm talking about.                      We've
23     talked about the Facebook posts.                     You've said there
24     was an element of privacy to it.                     So we'll put that
25     in a bucket.

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 1           A.      Uh-huh.
 2           Q.      My question is, in public statements,
 3     either attendance at a rally, appearances, anything
 4     like that that you're aware of that you can tell the
 5     jury about, prior to these November podcasts that
 6     we've been looking at?
 7           A.      Not that I'm aware of, no.
 8           Q.      Okay.       Let's go to the -- I think it's
 9     Clip 9.    Let's make -- let me make sure I know the
10     date on this one.          I've been -- the clips have been
11     arranged chronologically.              At least that was the
12     intent.
13                        MR. CAIN:         What date was Clip 9?
14                        MR. KLOEWER:            December 3rd.
15                        MR. CAIN:         And what was the last one
16     before that?
17                        MR. KLOEWER:
18           A.
19                   November 30.
20                   MR. CAIN:        Okay.       So December 3rd now,
21     Clip 9.
22                               (Playing video.)
23           Q.      Similar question when we were talking
24     about the shareholders and the shell companies.
25     When he was talking, he, Mr. Oltmann, was talking

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 1     about these forensic auditors that are looking into
 2     Dr. Coomer, was that the first you heard of -- of
 3     that allegation?
 4           A.      I can't -- can't speak to what I was
 5     thinking at the time.           I think that what I said on
 6     that clip showed what I was most concerned about at
 7     that moment.      I don't even know if I -- if in that
 8     moment I heard the other things he was saying.
 9           Q.      Well, have you -- again, I think I know
10     the answer to this, but I think I need to ask it
11     anyway.    Were you provided with any forensic
12     reporting that showed any of the financial --
13     alleged financial transactions or shell corporations
14     associated with Dr. Coomer?
15           A.      I don't believe so.
16           Q.      Your concern was what?
17           A.      My concern was that if there is evidence
18     of impropriety, if there is evidence of election
19     tampering, then we can make that case without
20     sicking people on another person.
21                        MR. CAIN:         Clip -- let's go to
22     Clip 10.     What date is that?
23                        MR. KLOEWER:            December 14, 2020.
24                        (Playing video.)
25           Q.      Who was he sending to Salida, if you

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 1     know?
 2             A.     I don't know.
 3             Q.     Did you have the same reaction to this as
 4     you just kind of described to the last clip?
 5             A.     Yeah.      And you can see me on that clip
 6     saying:      Be careful.       Careful.
 7             Q.     Well, beyond that, the guy's sitting
 8     right here.      It's wholly inappropriate to -- to put
 9     out this kind of information about someone.
10     Wouldn't you agree?
11             A.     Oh, absolutely.
12                        MR. CORPORON:            Objection; relevance.
13                        THE STENOGRAPHER:                 Did you say
14     "absolutely"?
15                        THE WITNESS:            I think I said I agree.
16                        THE STENOGRAPHER:                 Okay.       Because
17     they objected over you.
18             Q.     And this all occurred -- ac- -- actually,
19     I forgot to put this in the record.                     I had it up.
20     Bear with me for a minute.               Remember, you -- we were
21     talking about early on some emails, I think it was
22     in the first session -- give me just a minute.                             The
23     request was something about communications with
24     My Pillow and Lin- -- Lindell --
25             A.     Yeah.

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 1           Q.      -- and those folks.               Here it is.
 2                        (Exhibit 23 was marked.)
 3           Q.      This is going to be Exhibit 23.                     It's --
 4     there you go.
 5                        MR. CORPORON:            Do you have two of
 6     those?
 7                        MR. CAIN:         Oh, I'm sorry.
 8                        MR. CORPORON:            Thank you.
 9                        MR. CAIN:         So Ryan, this is an email
10     dated March 10 of 2021 from Dawn Curtis to Joe
11     Oltmann, cc Max McGuire and Joshua Hammerling.
12                        MR. MALONE:           Thank you.
13           Q.      Okay.       So -- and I apologize for the
14     disassociation perhaps.             What is this email?
15           A.      This is an email explaining to us the
16     kind of script that we can use on air to promote
17     My Pillow and use our promo code to get a
18     commission.
19           Q.      Okay.       So you were copied on this.                 It
20     looks like it went to Mr. Oltmann.                    Right?
21           A.      It looks like it did, yeah.
22           Q.      Okay.       And just to set the timeline.                    We
23     just looked at the last video about folks in Salida.
24     That was in December of 2020 and this is about three
25     months after that.          Right?

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 1           A.      Yes.
 2           Q.      Okay.       And the -- below is the script you
 3     can use, just let the jury in on kind of how these
 4     things work with -- with people like My Pillow?                         I
 5     know we talked about the financial arrangement
 6     and -- and your role, you weren't the account person
 7     on this, but what do they want you guys to do on air
 8     when you're talking about the products?
 9                          MR. MALONE:         Object to form, and
10     foundation.
11           A.      Generally, when we would work with any
12     kind of advertiser, some would -- some would require
13     us to follow a very script -- strict script, others
14     would give us general guidelines that we could
15     loosely follow, add our own experiences to it.
16                   With My Pillow, that was always an
17     account, as it was to me, that we could -- we had a
18     little bit of liberty in -- in how we follow it.
19     And this was not presented to me as a -- as a
20     set-in-stone script that we had to use any time we
21     read one of their promos.
22           Q.      Were you on air reading their promos?
23           A.      I read promos a few times, yeah.
24           Q.      Okay.       Usually it was Mr. Oltmann?
25           A.      Usually it was me.

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 1             Q.    Okay.
 2             A.    But I don't know how many times.
 3             Q.    And how do you know when to read a promo
 4     or not?
 5             A.    That would generally be something that I
 6     would decide, but at the same time I would also get
 7     pinged from a producer either by text, or more often
 8     whatever messaging system we were used to using to
 9     communicate, pinged by him, reminded by him to read
10     the ad.
11             Q.    And let's just kind of bracket this
12     period of time between November and the clips we
13     were looking at in March of the following year in
14     2021.
15                   What was the -- what was the advertising?
16     How was that evolving?            Were you guys getting more
17     advertisers, was it staying the same, was it going
18     down?
19             A.    We were generally getting more
20     advertisers.
21             Q.    And how long did that wave last?
22             A.    I don't understand the question.
23             Q.    Well, you said you were getting more
24     advertisers, so there was a little bit of an uptick
25     if you did a line graph.

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 1                   How long did that trend continue?
 2           A.      Well, there was a focus to make sure that
 3     the show had advertisers.              So I don't remember the
 4     exact time where we started bringing on paid
 5     sponsors, but as soon as we started doing that, that
 6     never stopped.        We never started getting advertisers
 7     and then gave up on it.
 8           Q.      Okay.       Did you have more interest from
 9     paid sponsors after November of 2020?
10           A.      Did I have more interest?
11           Q.      From.       I used the wrong pronoun.
12           A.      No.     No.     Most of the sponsors that we
13     got were ones that I got, and I got them by reaching
14     out to try and get them, not the other way around.
15           Q.      Got you.        Okay.      And forgive me again,
16     since it's been a few sessions.
17                   When you left, you left in May of 2022.
18     Is that correct?
19           A.      That's incorrect.
20           Q.      When was it?
21           A.      It would have been early March of 2022.
22           Q.      Okay.       And was My Pillow one of the paid
23     sponsors during the entire period in between this
24     email, Exhibit 23, and when you left?
25           A.      I would not describe them as a paid

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 1     sponsor.
 2             Q.    Okay.       What would you describe them as?
 3             A.    I would describe them as an affiliate
 4     program, an affiliate deal.                A paid sponsor would be
 5     someone who pays for air time, whereas this is we
 6     have a promo code.          And my understanding was we only
 7     got paid if people bought using our promo code.
 8             Q.    I got you.        So using your vernacular, was
 9     the affiliate relationship in place during that
10     entire period of time?
11             A.    It is my understanding that it was, yeah.
12             Q.    Okay.       Are you on Parler or were you on
13     Parler?
14             A.    I was for a time.
15             Q.    Let's see if you know anything about this
16     post.
17                        (Exhibit 24 was marked.)
18             Q.    This is Exhibit 24.               My colleague
19     indicates that this is a December 5th, 2020, post.
20                   And I'm showing my age here.                       Do -- I
21     don't know if you sign up for people's -- to be
22     friends with people on Parler.                  How does that work,
23     if you remember?
24             A.    How it worked then is you would sign up
25     and you would follow people.

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 1           Q.      Oh, follow.         Like Twitter?
 2           A.      That's my understanding, yeah.
 3           Q.      Okay.       Were you following Mr. Oltmann in
 4     the end of 2020 on Parler?
 5           A.      I was, but Parler was not my primary
 6     social media network.
 7           Q.      Did you see this post that purports to be
 8     from Mr. Oltmann from back then?
 9           A.      I don't believe I've ever seen this
10     before.
11           Q.      Okay.       Did you have any conversations
12     with Mr. Oltmann about photographing Dr. Coomer's
13     home and putting it out on Parler?
14           A.      No, I did not have any conversations
15     about him doing this.
16           Q.      How many times -- it says at the bottom:
17     So it's up to you blow this -- pardon me -- shit up,
18     share, put his name everywhere.                  No rest for this
19     shit bag.     Eric Coomer, Eric Coomer, Eric Coomer,
20     this shitbag and the corrupt asshats in Dominion
21     Voting Systems must not steal our election and our
22     country.     Eric, we are watching you.
23                   Are saying you had no conversations with
24     Mr. Oltmann about -- well, let me ask a different
25     question.

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 1                   Is this an example, at least in your mind
 2     of doxxing someone?
 3           A.      This -- yeah, this would come pretty darn
 4     close, if it isn't.
 5           Q.      And you're saying you weren't aware,
 6     during this time period, that Oltmann was out there
 7     making these posts?
 8           A.      I was aware that he was following.                      I
 9     mean, we just watched a clip of him saying that he
10     was trying to find him.             So I was aware of that.                 I
11     was not aware of this post.
12           Q.      Were you aware that people actually came
13     to his home?
14           A.      I don't know if I was aware of that.
15           Q.      Have you subsequently learned about that?
16           A.      You just told me about that.
17           Q.      Well, that's a great point.
18                   I meant before I just told you.
19           A.      I don't know.
20           Q.      Okay.       Why wasn't this sufficient for you
21     or the statements he made to -- to separate yourself
22     from Conservative Daily?
23           A.      I just told you.             It's my belief that I
24     had never seen this before.                If I had never seen it,
25     it couldn't possibly have been used to justify me

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 1     quitting my job.
 2           Q.      That's why I said "or the statements you
 3     saw in the clips at Conservative Daily."
 4                   Wasn't that enough for you?
 5           A.      My motivations for keeping my job were
 6     very simple.      My wife was out of work.                  I was the
 7     only source of income coming into the household.
 8     And it was important to keep my job and do whatever
 9     I could to minimize the kind of damage that we just
10     witnessed, and try and put some guardrails on it.
11     But keep my job because it didn't serve me, my
12     family, or my kids to have a zero-income household.
13           Q.      Yeah.       And you actually used the exact
14     term I was going to use.
15                   Did you -- I wasn't going to say
16     "guardrails," but essentially did you try to rein
17     Mr. Oltmann in during this period of time to
18     mitigate against some of the statements that were
19     being made?
20           A.      Yes.
21           Q.      I think I know the answer based on what
22     you just said, but I'll just see if you've seen this
23     before.
24                          (Exhibit 25 was marked.)
25           Q.      This is a short one.               This is Exhibit 25.

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 1     It's a --
 2                          MR. KLOEWER:          December 12th, I
 3     believe.
 4             Q.       We believe it's a December 12th -- what
 5     do they call it, Parlay post?
 6             A.       Sure.
 7             Q.       From Joe Oltmann.
 8                      "Eric Coomer, wanted to chat with you,
 9     but you were too scared.             How about you put that
10     shotgun down and come out.               Everyone is watching
11     you, Eric, everyone."
12                      Is this the first time you've seen this
13     post?
14             A.       This is the first time I've seen this
15     post.        Generally when I use Parler, it was to put
16     information out so people could see it.                          I generally
17     did not use Parler as a means of receiving
18     information.
19             Q.       So you don't remember seeing --
20             A.       I've never seen this before on Parler.
21             Q.       Okay.    Do you know about the incident
22     where he's referring to, where Dr. Coomer had a
23     shotgun?
24             A.       No, that's not ringing a bell.
25             Q.       Well, he talked about it or do you

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 1     remember him talking about it on one of the
 2     podcasts?
 3           A.      Eric Coomer with a shotgun is not ringing
 4     a bell at this moment.
 5           Q.      Did he -- he, Mr. Oltmann, ever
 6     identify -- well, let me back up.                    I need to
 7     understand.
 8                   What's -- what do you understand FEC
 9     United's purpose to be?
10           A.      FEC United was started during the
11     lockdowns as a means to push back against the
12     COVID-19 lockdown, to push for faith, education,
13     commerce, to representing churches, representing
14     parents and schools, and representing local
15     businesses.
16           Q.      Okay.       And then I mentioned the UADF.
17     What do you understand the purpose of that
18     organization?
19           A.      I understand that to be a group of people
20     that is founded or run by John "Tig" Tiegen.                         And
21     the way they present themselves, they are a security
22     force.     They are people that -- that protest and --
23     and attend different events.
24           Q.      Do you know whether they have, in the
25     past, provided security for Mr. Oltmann?

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 1             A.    I think they have, but I don't have any
 2     documentation.
 3             Q.    Have they provided security for you?
 4             A.    I believe they have on one occasion,
 5     yeah.
 6             Q.    When Mr. Oltmann talks about sending
 7     people to Salida or -- or following Mr. Coomer, do
 8     you know which people he's referring to?
 9             A.    I do not.
10             Q.    And we spoke about the person that --
11     that you redacted, the M person.
12                   Do you know whether she identified, or
13     he, the people that appeared at her home or his?
14             A.    I don't know if they identified anyone.
15             Q.    Okay.
16                          (Discussion off the written record
17     regarding cake.)
18             Q.    You mentioned you -- pardon me.                     That's a
19     little dry now.
20                   You mentioned that you had looked at some
21     of the transcripts from the -- from the other
22     litigation where Oltmann was testifying?
23             A.    Yes.
24             Q.    Okay.       And we talked about -- previously
25     about his access to the Facebook pages, and we're

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 1     not going to replow that.              I want to see if --
 2     though, if you reviewed any of this particular
 3     testimony about the Facebook pages from Mr. Oltmann,
 4     that I may have some follow-up from that.                        This is
 5     Clip 11.
 6                               (Playing video.)
 7           Q.      There's a couple of things to unpack
 8     there.     As you see, we haven't gotten, from
 9     Mr. Oltmann -- by the way, is that the first time
10     you've seen that clip?
11           A.      I believe that's the first time I've seen
12     the clip, yeah.
13           Q.      He mentions this individual named RD,
14     which is in the notes.            It's one of the initials.
15     And that perhaps may be the person who was his
16     conduit to the Antifa call.
17                   Do you know anybody by those initials?
18           A.      Nothing is coming to mind.
19           Q.      Okay.       Did you -- by the way, FEC United
20     meets at -- this may seem as an aside -- but at
21     Bandimere Speedway from time to time?
22           A.      I believe they do, yeah.
23           Q.      Have you been out there to meetings?
24           A.      I've never been out to Bandimere.
25           Q.      Okay.       As it relates to the Facebook

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 1     images that were obtained, has it ever occurred to
 2     you that those Facebook postings may have been
 3     obtained well before November of 2020?
 4           A.      I haven't seen anything that I know of
 5     that would suggest that.
 6           Q.      Because you don't know when he first got
 7     access to this account?
 8           A.      No.
 9           Q.      And you saw the explanation or you heard
10     the explanation from Mr. Oltmann as to why he
11     wouldn't respond to that particular question.                         Have
12     you seen any evidence that Dr. Coomer either doxxed
13     Joe Oltmann or threatened Joe Oltmann in any way?
14           A.      Eric Coomer, no.
15           Q.      And as you sit here -- today is
16     November 17, 2022 -- you have still no idea what Joe
17     Oltmann's source was for the Facebook -- obtaining
18     the private Facebook access or if he was on the
19     call, the Antifa call?
20           A.      I do not know either of those sources'
21     names.
22           Q.      All right.
23                         MR. CAIN:        Corporon is yawning.              I
24     don't know if that means it's time for a break --
25                         MR. CORPORON:           He has not yawned one

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 1     time since seeing that cake.                I just want to make
 2     that clear for the record.
 3                        MR. CAIN:         I guess what I'm saying is
 4     I'm about to switch topics.                I know we haven't been
 5     going that long.
 6                        MR. CORPORON:            We -- we don't need to
 7     break.
 8                        MR. CAIN:         I need a break.
 9                        MR. CORPORON:            Can we do one thing
10     before we go off the record?
11                        MR. CAIN:         Of course.
12                        MR. CORPORON:            You referred -- were
13     referring to Exhibits 24 and 25.                     25 you identified
14     a date of December 10th and I assume that must be
15     2020.
16                        MR. KLOEWER:            Yes.       And I'll confirm
17     the date during the break and get that for the
18     record.
19                        MR. CORPORON:            Okay.       And then I
20     don't recall a date on Exhibit 24.
21                        MR. KLOEWER:            I'll take a look at
22     both of those.       24 should be December 5th.                   And I
23     believe the second one was December 12th, but I'll
24     verify.
25                        MR. CORPORON:            12th.       Thank you.

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 1                        MR. CAIN:         Okay.       Let's try to hold
 2     to ten minutes and I want to get you out of here.
 3     It's 4:00 -- what time is it?                4:30 -- 4:35.
 4                        THE VIDEOGRAPHER:              Going off the
 5     record.     The time is 4:36.                                                   0
 6                                    (Break.)
 7                        THE STENOGRAPHER:              Do you get a copy?
 8                        MR. COOMBE:          Yes.
 9                        MR. CORPORON:            I'll take a copy.
10     Four to a page.
11                        MR. MALONE:          Transcript would be
12     great.     Electronic condensed, if possible.
13                        THE VIDEOGRAPHER:              Back on the
14     record.     The time is 5:23.
15           Q.      Okay.       Hopefully, this is the last little
16     segment of your deposition.               And I apologize for the
17     delay.     We had to go through some more of the texts.
18                   We -- we just looked at that Facebook
19     clip before we broke and then I wanted to kind of
20     segue to the Cyber Symposium.                Now, we -- you've
21     testified that you weren't aware that Mr. Oltmann
22     was going to the symposium before he did so.                        Right?
23           A.      Yeah.       The only confirmation I got that
24     he was at the -- at the symposium was when I had
25     that text conversation with Josh.

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 1           Q.      Okay.       And then -- so it's fair to say as
 2     far as it relates to the symposium, you weren't
 3     asked to put together any content for Mr. Oltmann
 4     for whatever presentation he was going to do?
 5           A.      I was not asked to prepare anything for
 6     the symposium, but I don't know what was shown at
 7     the symposium so I don't know if I had a role in
 8     preparing something unknowingly.
 9           Q.      I see.       And -- and you had -- well, did
10     you have dealings with anyone associated with the
11     Lindell team during the symposium itself?
12                        MR. MALONE:           Object to foundation.
13           A.      I do not believe -- I don't believe so.
14     I mean, there might have been an email to my work
15     email about a promo code or something, but I had no
16     communication with them about the symposium.
17           Q.      Did -- did Mr. Oltmann discuss the fact
18     that he skipped out on a deposition in the Denver
19     courthouse to -- to go to the symposium instead?
20           A.      After the fact, yes.               And I learned -- I
21     believe that the first time I learned about that was
22     watching him on Steve Bannon's show at the
23     symposium.
24           Q.      Okay.       Oh, he appeared as a guest on the
25     Bannon podcast during the symposium?

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 1           A.      Yes.
 2           Q.      And -- and pardon me.                  I just want to
 3     make sure that I'm not missing anything with -- with
 4     Lindell.     He appeared on the Conservative Daily show
 5     more than once.        Right?
 6           A.      Yes.     It's my understanding that he was
 7     on more than once with me.
 8           Q.      Okay.       But outside of -- were those --
 9     actually, let me back up.
10                   Was there any prep that you did with --
11     with Lindell before he came on the show?
12           A.      With Lindell, no.
13           Q.      Yeah.       In other words, were your -- was
14     your contact with him limited to, you know, when he
15     was actually on the podcast?
16           A.      To my knowledge, the only contact I've
17     ever had with him was on the podcast.
18           Q.      Do you know if Mr. Oltmann was working
19     with Mr. Lindell on any other projects during the
20     2021 year?
21                          MR. MALONE:         Object to foundation.
22           A.      Nothing is coming to mind.
23           Q.      Do you know whether Mr. -- well, anyone
24     associated with the symposium paid CD, Conservative
25     Daily, or Mr. Oltmann for an appearance at the

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 1     symposium?
 2           A.      I don't have any knowledge of that.
 3                          MR. MALONE:         Objection; foundation.
 4           A.      I don't have any knowledge of that.
 5           Q.      Have you been privy to any dealings
 6     between Mr. Oltmann and Phil Waldron?
 7           A.      I don't understand the question.
 8           Q.      Well, have you been, for example, in on
 9     any meetings with Mr. Waldron or any conference
10     calls or discussions with him?
11           A.      The only thing that comes to mind is when
12     he was a guest on the show.
13           Q.      Same question for Josh Merritt?
14           A.      I don't know who that is.
15           Q.      We saw Tina Peters on the show.                     Were you
16     privy to any meetings or communications with
17     Ms. Peters outside of her appearance --
18           A.      Yes.
19           Q.      -- on Conservative Daily?
20           A.      Yes.     Sorry.
21           Q.      Okay.       Tell me what you remember about
22     those.
23           A.      It was after an FEC United event that I
24     was invited to speak at, strangely.                    We went out and
25     got some food and drinks with her afterwards.

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 1           Q.      "We" being whom?
 2           A.      Oh, who was there?              It would have been
 3     me, her, Joe.      I believe Greg Papas aka Apollo was
 4     there and -- and Jake Freijo might have been there.
 5     And there were two other people present that were
 6     Joe's friends who I don't remember their name.
 7           Q.      When did this happen?
 8           A.      Oh, I don't have an exact date, but it
 9     would have happened when I was in Denver shortly
10     before I quit.
11           Q.      Okay.       So in -- in 2022?
12           A.      That would have been either late
13     February, early March of 2022.
14           Q.      What were you speaking about at the -- at
15     the meeting?
16           A.      I don't know why I was brought on stage.
17     No one -- no one told me why I was going on stage.
18     No one told me what it was about.                    It's kind of par
19     for the course, I guess.             I still don't know why I
20     was brought on stage.           It was -- it was an election
21     integrity event and I guess they wanted me on stage.
22           Q.      Well, did you -- well, was Ms. Peters
23     also on stage?
24           A.      She arrived late and she was on stage.
25           Q.      Conan Hayes, have you had any dealings

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 1     with him?
 2             A.    I -- that name doesn't ring a bell.
 3             Q.    Dennis Montgomery?
 4             A.    That name does not ring a bell.
 5             Q.    L. Todd Wood?
 6             A.    I believe he was a guest on the show, but
 7     I might be wrong.
 8             Q.    Is that the extent of your knowledge of
 9     him?
10             A.    Yeah, that's the only thing that comes to
11     mind.
12             Q.    David Clements?
13             A.    Yes.     I -- he appeared on the show a
14     number of times.
15             Q.    Again, your -- your communications with
16     him would just be related to the show itself?
17             A.    Yeah.       Nothing else is coming to mind and
18     I can't remember any -- any meetings or anything
19     like that.
20             Q.    Anyone that you -- did you have any
21     dealings with anyone that you understood to be
22     associated with the group ASOG?
23             A.    Can you explain what that acronym means?
24                          MR. CAIN:       Young Brad can.
25                          MR. KLOEWER:          The Allied Security

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 1     Operations Group.
 2           A.      I don't know what that is.
 3           Q.      Okay.       Do you know anything about
 4     Mr. Oltmann getting flown out to the Cyber
 5     Symporium (sic) by Mike Lindell?
 6           A.      I don't know any details about how he got
 7     there.
 8           Q.      Do you know whether Mr. Lindell has
 9     supported Mr. Oltmann personally on a financial
10     basis, either through a ride on a plane, through
11     providing him with consideration of a personal
12     nature?
13                        MR. MALONE:           Object to form;
14     foundation.
15           A.      Nothing comes to mind.                 I'm not aware of
16     any of that.
17           Q.      Have you had any dealings directly with
18     Matt DePerno?      We talked about the Antrim report
19     earlier.     Did you have any dealings with him?
20           A.      With the exception of him coming on the
21     show and maybe being involved in email chains about
22     his work in Antrim, I don't think I was involved in
23     any meetings with him.
24           Q.      When you say the "email chains," what --
25     what are you referring to?

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 1           A.      I -- if they exist, then they would be in
 2     my work emails.       Nothing comes to mind, but I
 3     wouldn't be surprised if Joe had forwarded something
 4     from him to me.       So technically, there would be a
 5     chain.
 6           Q.      Okay.       Same question for Patrick Byrne?
 7           A.      Patrick Byrne appeared on the show a
 8     number of times and I believe I met him at a event
 9     briefly once and -- and interviewed him once.
10           Q.      Was it associated with his film, the
11     event that you're referring to?
12           A.      No.
13           Q.      What was it?
14           A.      It was a -- what did they call it?                      I
15     forget the name.          It was a speaker series that Joe
16     was on.     They came to San Antonio and had a big
17     event.     It was Clay Clark's.
18           Q.      ReAwaken America?
19           A.      Yeah.       They had an event in San Antonio
20     and the only reason I attended was because it was
21     local to me.
22           Q.      Are when did Mr. Oltmann start going to
23     ReAwaken America tour events?
24           A.      I don't know the first one he attended.
25     I don't -- I don't have a date.

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 1             Q.      Do you know whether, similar to my
 2     question about the symposium, there was any
 3     consideration that flowed back to either him
 4     personally or to the Conservative Daily podcast for
 5     an appearance?
 6             A.      I'm not aware of any financial
 7     consideration, no.          I'm not aware of anything like
 8     that.
 9             Q.      Is the benefit, to your knowledge, just
10     the -- the publicity for -- potentially for the show
11     by appearing in the -- in the tour?
12             A.      To my knowledge, the benefit was not to
13     the show because he very rarely mentioned the show.
14             Q.      Okay.     And you said you went down on --
15     to San Antonio for this event, what -- what did you
16     do with Mr. Byrne when you were down there?
17             A.      I believe -- we had a table set up in
18     media row where our different organizations could
19     interview different attendees.                  And we sat -- he sat
20     for an in- -- or he tried to sit for an interview
21     and I believe that we had problems with -- with
22     audio.       It was a very -- very weird setup, and I
23     don't know if we ended up having anything usable
24     with him.       But I did briefly get to speak with him,
25     I know he sat in the chair and I think that was

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 1     pretty much it.
 2           Q.      And did Conservative Daily have a booth?
 3           A.      Yeah.
 4           Q.      Okay.       I want to talk to you a little bit
 5     about 2022.      And you've already talked about why you
 6     left the show.        So we don't need to re-plow that
 7     unless there's something else that you can think of
 8     as to the rationale for you leaving.
 9           A.      I believe I already told you, and you can
10     correct me, that the issue was me no longer having
11     editorial control.          And one of the other fears that
12     I had was that if I was to say something that Joe
13     disagreed with or whatever wording he used went
14     against what he -- his position was, that that could
15     end up resulting in me being fired for cause.
16           Q.      Yeah, I saw that.
17           A.      So it was -- it seemed in my interest to
18     resign given the fact that I had a clause in my
19     contract that let me have four-weeks' notice rather
20     than allow this tenuous relationship to continue
21     getting worse and me say something that resulted in
22     my firing.
23           Q.      Do you feel like you have an adversarial
24     relationship with Mr. Oltmann to this day?
25           A.      Yes.

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 1           Q.      Why did you agree then to allow them to
 2     compensate your attorney for being here?
 3           A.      I appreciated the notion of goodwill and
 4     saw it as a possible way to rekindle what --
 5     previous to everything that went down was actually a
 6     nice friendship.
 7           Q.      I have a couple of clips sort of at the
 8     time that you had left or shortly thereafter.                         Let's
 9     look at Clip 14.
10                               (Playing video.)
11           Q.      One of those episodes that was obviously
12     not true includes the Dr. Coomer Antifa episode,
13     doesn't it?
14                        MR. CORPORON:            Object to form.
15           A.      I cannot say that right now.
16           Q.      Well, you texted about it very recently,
17     didn't you?
18           A.      Very recently, I have said I don't know
19     if I believe Joe Oltmann, but that is not the same
20     as saying that certain statements are factually
21     incorrect.
22           Q.      Well, we'll look at the text here in a
23     second.
24                   The death threats, is that -- or the
25     rhetoric that was going on, that's in addition to

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 1     the editorial control.            That's another reason that
 2     you left.     Right?
 3           A.      In that -- in that video, the death
 4     threats I was referring to were in relationship to
 5     what Josh had experienced.
 6           Q.      Okay.       The blowback on Josh as a result
 7     of what?
 8           A.      Associating with the show, I presume.
 9           Q.      So everything that you were saying in May
10     of 2022 on Clip 14 is how you felt at the time.
11                   Right?
12           A.      Yes.
13           Q.      And it's how you feel today, isn't it?
14           A.      Yes.
15           Q.      Okay.       Let's look at Clip 15.
16                               (Playing video.)
17           Q.      One of the lawsuits that you're referring
18     to, I assume, is the one that I brought against him
19     as a result of the Coomer episodes.                    Correct?
20           A.      There were other lawsuits that were more
21     timely at the time that I said that, so I don't know
22     if that was top of mind.
23           Q.      Which other lawsuits are you referring
24     to?
25           A.      I believe there was a lawsuit filed

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 1     against him with regard to comments he made about a
 2     reporter in Ukraine, accusing that reporter of doing
 3     something, being responsible for an individual's
 4     death, I believe.          And it turns out that that
 5     individual was alive.
 6                    I think that was probably more timely
 7     than your December 2020 or whenever that one was
 8     filed.
 9            Q.      Right.      Sarah -- I forget her last name.
10            A.      I don't know that individual's last name.
11                         MR. MALONE:          Sarah Ashton-Cirillo.
12            Q.      Does that strike a bell, Sarah
13     Ashton-Cirillo?
14            A.      That -- that sounds right, yeah.
15            Q.      Okay.      All right.        So this next portion
16     of this deposition is what I will call the grab bag
17     portion, where we'll look at documents that you've
18     produced that don't necessarily relate to each
19     other.      Okay?   So I'm going to jump around a little
20     bit.
21            A.      Okay.
22            Q.      So I just -- I need you to authenticate
23     some things that I -- that we found in your records.
24                         (Exhibit 26 was marked.)
25            Q.      All right.       The first one is marked as

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 1     Exhibit 26.      This is from -- the top left -- and
 2     this appears to be a text chain, and I'm kind of
 3     talking a little louder so Ryan can hear me.
 4                   But there is a date on the top of
 5     10/26/22.     I don't know if that's when -- do you
 6     know if that's when this was printed out?
 7            A.     I believe that's when I compiled this
 8     record, yeah.
 9            Q.     I see.       And it purports to be -- what --
10     you tell me what we're looking at.
11            A.     This is -- I don't know what phone number
12     this was sent to because it's not listed, but this
13     is part of -- at least part of the entirety of all
14     the texts Joe sent me.            I mean, this is more than
15     just one chain.        This is -- this is a lot.
16            Q.     Yeah, it looks like it starts in May
17     of 2022, the same month as those clips that we just
18     saw.
19            A.     Yeah.       It looks like this is seven pages
20     out of a document that was 155 pages.
21            Q.     Right.       We've kind of chopped it up a
22     little bit.
23                   So -- but just to be clear, you had
24     mentioned this when we looked at the subpoena.
25     You've -- you've compiled all of the texts that you

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 1     had between you and Joe Oltmann.
 2           A.      Yes.
 3           Q.      Right?
 4           A.      Yes.
 5           Q.      And for the tech-savvy people that
 6     probably can understand this, but for me, when it
 7     says "received" in the left column, that is -- is
 8     that synonymous with a text that you got from
 9     Mr. Oltmann?
10           A.      My understanding is that "received" is an
11     incoming message to me, and "sent" is an outgoing
12     message to him.
13           Q.      Okay.       Well, why don't you look -- just
14     look at the first page and confirm that, if you can.
15     I want to make sure that we get the -- who's
16     speaking correct.
17           A.      Yes.
18           Q.      You know, in context.
19           A.      Yes.
20           Q.      Okay.       So if it's received, it's received
21     from Mr. Oltmann.          If it's sent, it's sent to
22     Mr. Oltmann by you.          Right?
23           A.      Yes.
24           Q.      And tell me again how you compiled all of
25     the documents -- excuse me -- all of the texts that

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 1     were sent and received from Joe Oltmann as -- at
 2     least a portion of which are represented by
 3     Exhibit 26?
 4           A.      So for texts sent to my main phone
 5     number, I was able to utilize an app that downloaded
 6     all of the .xml file associated with any contact or
 7     group of contacts, was able to download that, and I
 8     utilized an online website -- I believe it's called
 9     SyncTech -- to make sense of that .xml file, because
10     without something to read it, it's just a string of
11     code, and it means nothing.
12           Q.      Okay.       So it converts -- that -- that
13     technology converts it to something that's readable?
14           A.      Yes.
15           Q.      All right.        And the phone number -- and
16     I'll stipulate -- I'm not stipulating to anything
17     else in this record, but the phone number that you
18     were using at the time, I'll agree to redact it from
19     the transcript, so that if the transcript is public,
20     in part, that won't be part of it.                    Okay?
21           A.      Okay.
22           Q.      So what phone number were you using
23     during this period of time?
24           A.      I had two phone numbers.                 The phone
25     number that went directly to my phone was

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 1     210-317-2527.      And I maintained a second phone
 2     number from my old phone of 609-240-1932.                        But
 3     that -- instead of going directly to my phone, that
 4     went through a service called Google Voice, which is
 5     a call forwarding.
 6             Q.    Got you.       But if -- and the reason I
 7     asked you that question is if -- if I need to go the
 8     third-party route, I don't think I do, to obtain the
 9     records from the provider, it would be at the
10     210-317-2527 number?
11             A.    That -- yes.          Yes.
12             Q.    And you may have -- I know you told me
13     the type of phone, but who was your carrier at this
14     time?
15             A.    Sprint/T-Mobile.             They merged.          So I'm
16     not sure which it was at the time.
17             Q.    All right.        Thank you.           Obviously, it's
18     late, so we're not going to look at all of these.
19                   But let's go to -- let's start at
20     Page 134 of 155.          Starting kind of in the -- in
21     the -- well, let's start at the beginning.
22                   "Sent" -- and this is out of context --
23     "phone showing no calls in months."
24                   What are you referring to there, if you
25     remember?

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 1           A.      I'm referring to the fact that Joe had
 2     not called me in months.
 3           Q.      Okay.       And then received:             I can't see
 4     that on my phone, so Erica is getting me into the
 5     Verizon account.
 6                   Who is Erica?
 7           A.      Erica is his wife.
 8           Q.      And then next line:               Well, this turned
 9     into a big deal.          Trying to get into our account
10     after about three years.
11                   So tell me what -- what you guys were
12     trying to accomplish here.
13           A.      He had told me that I never took his call
14     and that it was my fault our relationship had
15     deteriorated, when my phone records show that he had
16     not called me in months.
17           Q.      Got you.       It says:         Stand by.
18                   And then a couple of days pass.                     You go
19     on a -- this is Mr. Oltmann speaking -- or texting,
20     correct me if I'm wrong.
21                   "You go on a podcast and tell everyone I
22     lied about Coomer, that it made me money?                        You, Max,
23     are a piece of shit."
24                   So how did this flare up again?                     And what
25     podcast is he referring to, if you know?

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 1           A.      I went on a podcast published by a woman
 2     named Madison Marquette and discussed my exit from
 3     Conservative Daily, among other things.
 4           Q.      And then you say:             I never lied about
 5     anything -- or excuse me.              He said:        I never lied
 6     about anything.       You are truly pathetic.
 7                   And I'm going to just read through it so
 8     we can expedite it.          Just correct me if I'm getting
 9     the speaker wrong.
10                   You respond:          What are you talking about?
11     I never once said you lied about Eric Coomer.
12                   Oltmann says:          Madison Marquette podcast.
13                   You say -- and there's a lot of back and
14     forth.
15                   "I didn't say you lied about Eric
16     Coomer."
17                   Oltmann said:          Oh, you did, though,
18     clearly.
19                   "No, I did not."
20                   It goes back and forth.
21                   "And I bought snowmobiles and toys and I
22     lived an extravagant lifestyle."
23                   What is he referring to there?
24           A.      He is referring to criticisms I had of
25     him that while he was soliciting donations for his

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 1     legal defense fund, he was also purchasing things
 2     that some might define as extravagant.
 3             Q.       Do you have any evidence that -- we know
 4     money is fungible.         Do you have any evidence that
 5     that money was redirected to these types of
 6     purchases?
 7                          MR. COOMBE:         Before you answer, I'm
 8     going to object to the relevance of all of these
 9     questions.        We seem to be talking about a nonparty
10     to this case, who I'm very concerned does not have
11     counsel represented at this deposition.
12                          And as we've talked about, has
13     separate lawsuits pending against him.                      So it's
14     making me uncomfortable.             I'd like to lodge my
15     objection.
16                          MR. CAIN:       Okay.       The court's been
17     very clear, there is no speaking objections.                         I
18     understand your point, and I don't agree with it.
19     But let's just move on and get through it.
20             Q.       So going back to what I'm saying, what --
21     what -- what made you think that that money was
22     being redirected to these purchases?
23             A.       Purely the fungibility of money.
24             Q.       All right.     Let's flip over to the next
25     page.        Kind of a quarter of the way down.

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 1                    It starts:       Joe, if you want to be a
 2     standard bearer in the conservative movement, you
 3     have to follow the standards.
 4                    Do you know what -- what were you talking
 5     about here?
 6             A.     A number of things.              We witnessed on
 7     clips how I was uncomfortable about a lot of things.
 8     Elements like that were what I was referring to
 9     here.
10             Q.     Okay.
11                    "Telling reporters to go fuck themselves.
12     You were off the rails."
13                    Those -- that's what you said to him.
14     Right?
15             A.     Yeah.
16             Q.     What reporters are you talking about
17     there?
18             A.     I don't have the email in front of me,
19     but I believe that there was a reporter that emailed
20     him asking for comment.             It might have been Heidi
21     Beedle.      And he responded with what you just read.
22             Q.     I got you.       And you found that
23     inappropriate?
24             A.     For someone claiming to be a standard
25     bearer of the conservative movement, yes.

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 1           Q.      Okay.       Then at 5:27 and 17 seconds you
 2     send to him:      I do not believe your Eric Coomer call
 3     ever happened.        You have never shown me any evidence
 4     that it did.
 5                   And that's your stated belief to this day
 6     under oath, isn't it?
 7           A.      I do not believe it.
 8           Q.      And then you say:             Not going to come out
 9     and say that, though, because that would be
10     devastating to you and a bunch of other people.
11                   Who are the other people you're talking
12     about?
13           A.      I don't know who I was referring to in
14     that sentence at the time.
15           Q.      You go on to say:             But these little texts
16     we have where you accuse me of lying, even though
17     you only have partial information, makes me
18     constantly second-guess that decision.
19                   Are you referring back to your decision
20     not to publicly say you didn't believe that the call
21     happened?
22           A.      Yes.
23           Q.      And then he says:             Because I did not
24     record it?     LOL.
25                   And then:        No, this is you -- this is,

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 1     again, Mr. Oltmann.           Right?
 2                      "No, this is you doing what you always
 3     do.     Passive aggressive, egg people on.
 4                      Do you know what he's talking about
 5     there?
 6             A.       No.
 7             Q.       Okay.    But you go back to the topic in
 8     the next text.
 9                      You say:     Because you haven't shown me
10     shit.        Because you never told me who your source
11     was.     Because you never showed me your notes.
12     Because you never told me, anyone, who could either
13     give first person or second person testimony, that
14     the call happened.          And because you have a history
15     of embellishing everything, putting yourself into
16     stories you never participated in, and lying.
17                      That's how you -- well, that's your
18     belief to this day, isn't it?
19             A.       I believe I've testified today about all
20     that already, yes.
21             Q.       We talked about putting him in stories
22     that he didn't participate.
23                      What is his reputation for -- you say
24     he's -- he's lying, he has a history of that.                         What
25     is his reputation, in your view, for truthfulness?

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 1                        MR. CORPORON:            Object to form.           Calls
 2     for a legal conclusion.
 3                        MR. MALONE:           Object.        Legal
 4     conclusion.
 5            A.     Everybody lies in different parts of
 6     their life, and I would say the same is true about
 7     Joe.
 8            Q.     To a greater extent than your average
 9     person?
10                        MR. COOMBE:           Same objection;
11     foundation.
12            A.     I can't speculate as to that.
13            Q.     Well, you spent the last eight years of
14     your life with him.
15                        MR. COOMBE:           Objection;
16     argumentative.
17            A.     Yeah, I did.
18            Q.     Does that text that I just read sort of
19     encapsulate the basis for why you thought and
20     believe that the call never happened?
21            A.     I now believe that the call didn't happen
22     because I have not been shown sufficient evidence,
23     beyond his affidavit, proving that the call
24     happened.
25            Q.     Mr. Oltmann responds:                  They published the

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 1     notes.        Did you conveniently forget about Tig.
 2                      Now, Tig is Tig Tiegen?
 3             A.       John "Tig" Tiegen.
 4             Q.       Tiegen.     Pardon me.          That's the UADF
 5     fellow that you talked about earlier.
 6             A.       He is the hero from Benghazi.
 7             Q.       Well, he's with UADF.                I'm not
 8     questioning what he did in combat.
 9             A.       Well, you're asking me how I would
10     characterize him, and I would characterize him by
11     what he did that night.
12             Q.       All right.      But he's the fellow that we
13     talked about earlier that's associated with UADF.
14                      Right?
15             A.       Yes.
16             Q.       So the -- what do you understand that to
17     mean:        "Did you conveniently forget about Tig?"
18             A.       He has told me that Tig knew he was going
19     on the call.
20             Q.       Okay.     Did you talk to Tig about that?
21             A.       No.
22             Q.       Okay.     You say:       I saw the screenshots of
23     your research.           Timing doesn't line up.                  Google
24     logos were different on the days you say the
25     screenshots are from.            I do not believe you.

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 1                   Now, the Google logos, that's the
 2     discussion we had earlier.
 3             A.    Yes.
 4             Q.    And you're referring to that exhibit we
 5     looked at?
 6             A.    I don't know what number it is, but, yes.
 7             Q.    All right.        There was one more thing that
 8     I had thought I noticed on this chain.                      We've got
 9     others to get to.         Give me a minute.              We'll do it on
10     the record against me.
11                   (Pause.)
12                   That's fine.          That's good for now.
13                          (Exhibit 27 was marked.)
14             Q.    Let me hand you what's been marked as
15     Exhibit 27.      It's got some sort of new staple
16     technology associated with it.
17                   All right.        Do you recognize
18     Exhibit 22nd -- excuse me -- 27 as a download of
19     some emails -- or, excuse me, text messages with
20     Josh?
21             A.    Yes.
22             Q.    And Josh is Josh...
23             A.    Josh Hammerling, my old producer.
24             Q.    By the way, are y'all still doing the
25     podcast that we saw on the screen?

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 1           A.      No.     Maybe -- maybe later.
 2           Q.      Do you mind me asking, what are you doing
 3     now for -- for work?
 4           A.      I work in tech.
 5           Q.      Okay.       That's very general.
 6                   Do you work for yourself?                  Are you a
 7     consultant?      Do you work for someone else?
 8           A.      I help other organizations reach the
 9     right people for different purposes.
10           Q.      What do you call someone who does that?
11           A.      Someone who works in tech.
12           Q.      Like a headhunter?
13           A.      No.
14           Q.      Okay.       And you do that on your own
15     account?
16           A.      Yeah.       I'm a contractor.
17           Q.      For who?
18           A.      For a -- for my father's company.
19           Q.      All right.        So tell me what we're looking
20     at in Exhibit 27.
21           A.      These are texts between me and Josh.
22           Q.      And we don't need to go through it, but I
23     have a few questions.           If you look at Page 41, you
24     say -- well, you -- again, if it's -- if it says
25     "received," it's a -- it's a text you received from

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 1     Josh.        Is that correct?
 2             A.       Yes.
 3             Q.       Okay.     Up at the top, Josh says:                Yeah --
 4     yeah, Joe is costing you money.                   Can you demand that
 5     PiDoxa pay since it covers a fine and you were
 6     employed.
 7                      What are y'all referring to there?
 8             A.       "Since it covers a fine."                I believe Josh
 9     was asking me whether there was any way for me to
10     get my former employer to pay for the defense of
11     this deposition.
12             Q.       Got you.     And then you say:              They're
13     fishing because we talked on the podcast about how
14     we always had to fight back against their craziness.
15                      "They're fishing."            Are you talking about
16     me?
17             A.       Yeah.
18             Q.       I'll try not to get my feelings hurt on
19     that one.
20             A.       I accurately predicted exactly what clip
21     you were going to play, so I don't think anyone's
22     feelings need to be hurt.
23             Q.       All right.
24                             MR. CORPORON:        Objection to the
25     oversensitivity of counsel for plaintiff.

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 1             Q.    You go on to say:             Do you still have our
 2     text from two years ago.
 3                   By the way, did you get these texts from
 4     John, or Josh, pardon me, or --
 5             A.    No.
 6             Q.    Okay.       You were able to recover these?
 7             A.    All of these were recovered myself.                      I
 8     was asking if he had any texts from before when I
 9     had an iPhone and it broke and I lost everything.
10             Q.    And this is a long way of getting to the
11     next sentence, where you send to him:                      I remember
12     during the Eric Coomer episode communicating with
13     you about how ridiculous it was.                     I don't remember
14     on what platform we communicated.
15                   And he says:          I'm not sure.
16                   You say:       I think it was text.                It was
17     either text, Slack, or Facebook.                     I don't see the
18     messages on Facebook.
19                   You say this.          I'll stop there.             Slack is
20     what?
21             A.    Slack is a kind of like message board
22     that companies use for internal messages.
23             Q.    Yeah.       So in terms of Slack messaging,
24     tell me what the practice was.
25             A.    There was a period in time where all show

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 1     communications went through Facebook.                      I don't know
 2     when specifically, but it started shifting over
 3     towards -- these communications happening on Slack.
 4           Q.      Okay.       So just bracket this for me.                 I --
 5     you're one of the first people we've deposed in this
 6     case, so it's helpful for me to understand where the
 7     evidence may or may not be.
 8                   Are you saying initially show
 9     communications were on the Facebook Messenger?
10           A.      Initially communications between me and
11     my producer were done on Facebook.                    That eventually
12     shifted over towards more of a focus on all
13     communications behind the scenes happening on Slack.
14           Q.      Okay.       And you don't have access, I take
15     it, to the Slack --
16           A.      No, I do not.
17           Q.      -- historical Slack communications?
18           A.      I do not.
19           Q.      Do you know whether those have been
20     preserved?
21           A.      I do not.
22           Q.      Was Slack being used in November of 2020?
23           A.      I don't know.          Part of the reason I was
24     asking him.
25           Q.      Well, it says a little further down sent

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 1     to Josh "and Joe didn't preserve Slack."                         That's why
 2     I asked.
 3                   "He switched to a free account and let
 4     those old messages die."             And then Josh responds
 5     "convenient."
 6                   "I thought it was Facebook Messenger" and
 7     then there is a post.           So tell me what -- what is
 8     this that you've posted kind of on the -- the bottom
 9     portion here.        It looks like a screenshot or
10     something from texts.
11           A.      I believe that was -- and I -- absent a
12     time stamp on that, I can't speak to what episode
13     that was, but that was communications between me and
14     Josh where it seems that Josh had told me that he
15     can't do his job as producer as fast as he's being
16     expected to and me saying all he, Joe, had to do was
17     prep -- was help prep.            There's never been anyone so
18     unprepared for a podcast episode.
19           Q.      That's you talking about --
20           A.      Yes.
21           Q.      -- Oltmann?         Okay.
22                          (Exhibit 28 was marked.)
23                          MR. CORPORON:          Okay.      I'm going to
24     interrupt for just a moment.                That's a hefty stack
25     you still have there.           Can we have a time check,

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 1     please?
 2                          THE VIDEOGRAPHER:               Just give me a few
 3     minutes.
 4                          MR. CORPORON:          Okay.       Thank you.
 5                          MR. CAIN:       While he's looking...
 6           Q.      While you were making these posts that
 7     we've been looking at, these texts -- pardon me --
 8     the last exhibit, 27, was August of 2022, you were
 9     still and are still to this day a shareholder with
10     CD Solutions.        Right?
11           A.      Yes.
12           Q.      And the other companies that we talked
13     about earlier?
14           A.      Yes.
15           Q.      Exhibit 28.         What are we looking at here?
16     Generally describe the exhibit.
17           A.      Texts between me and Josh Hammerling.
18           Q.      Okay.       And these -- the -- the rainbow
19     caught my eye.        Mine is actually in color.                  Yours
20     didn't appear to be in color.
21                   Is this a meme you created about
22     Mr. Oltmann?
23           A.      It is.
24           Q.      And other than the obvious, the -- the
25     book that you show here has the title "Everything I

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 1     Don't Like is" -- "is Election Fraud."
 2                   What -- what were you trying to convey
 3     with this meme?
 4           A.      This is a meme that -- so this is based
 5     on a meme that -- I can't believe I'm saying this in
 6     a deposition.      This is based on a meme that is a
 7     picture of Adolf Hitler sliding down a rainbow where
 8     the title says, "Everything I don't like is Hitler."
 9     And it is a commentary on people who reduce
10     arguments down to accusing the other side of being
11     Hitler.    And this is a meme suggesting that every
12     time something doesn't go to way Joe wants it, it
13     must be election fraud.
14           Q.      And in the middle of this exchange, you
15     receive -- there's some discussion and then you
16     receive a text that says:              Yeah, I like that.             Tina
17     Peters paid PIN 50K for election services.
18                   What do you know about that transaction,
19     if anything?
20           A.      The only thing I know about that
21     transaction is what appears on that text.                        I was not
22     involved in PIN at that time.
23           Q.      Well, prior to leaving, was PIN marketing
24     for campaigns, to your knowledge, either by sending
25     out marketing material, emails, blasts, that sort of

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 1     thing?
 2           A.      It was the policy of PIN not to do that.
 3           Q.      Okay.       Did that -- when did that change?
 4           A.      I don't know.
 5           Q.      After you left?
 6           A.      I don't know.
 7           Q.      Why was it the policy not to do that, if
 8     you know?
 9           A.      This gets to internal stuff at PIN.                      But
10     it was -- it was determined that politics generally
11     is just -- getting involved in politics generally is
12     bad for a business that is exclusively not politics.
13           Q.      An apolitical organization?
14           A.      Yeah.
15           Q.      Okay.
16                        MR. CAIN:         Peter, you got the time?
17                        THE VIDEOGRAPHER:                 Yes.   Four hours
18     and 59 minutes on the record.
19                        MR. CAIN:         Plenty of time.             I'm not
20     going to use it.          Don't you worry.
21                        MR. CORPORON:            Yeah.       I'll just note
22     it's 6:11 p.m., but I understand what you're dealing
23     with as well.
24           Q.      If you didn't like the book one, I don't
25     know if you'll like this one.

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 1                             (Exhibit 29 was marked.)
 2             Q.       This is Exhibit -- what did we get?                    29?
 3                      Okay.     This is an interesting one.                 On
 4     the -- on the bottom it's you sending or appear to
 5     send Joe Oltmann bingo.
 6             A.       Yes.
 7             Q.       Okay.     Is this something you created?
 8             A.       Yes.
 9             Q.       This was in June of 2022 after you left?
10             A.       Yes.
11             Q.       So when -- when these squares are filled
12     in, are these things that you filled in?
13             A.       I don't understand your question.
14             Q.       Well, I mean, you don't get this off the
15     shelf.        Did you have to create this content?
16             A.       Yes, I said I had created it.
17             Q.       Okay.     There's a couple that stood out to
18     me.     A lot of the ones we've -- we've kind of talked
19     about, but one of the squares is "breaks the law."
20                      What did you mean by that?
21             A.       I don't have any specific impulse behind
22     that.        I don't have any specific thing that I was
23     thinking of when I said that.
24             Q.       "Doxxes victims"?
25             A.       That, to me, when I wrote that, that was

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 1     referring to things he had -- he had done with
 2     reporters, similar to what we just talked about.
 3             Q.    "Advocates violence"?
 4             A.    Yeah.
 5                        MR. COOMBE:           I'm going to repeat my
 6     earlier objection.
 7             Q.    "Lies" in bold.            Why did you put that
 8     there?
 9             A.    He doesn't always say truthful things,
10     so...
11                   Do you understand the -- the point of a
12     bingo game, how that would be played?                      You would sit
13     with this card, and if you heard something on a
14     episode, you'd check it off until you have a row and
15     it's bingo.      So it's like that.
16             Q.    Yeah.       No, I understand the humor.
17             A.    Yeah.
18             Q.    Okay.       "Belittles co-host."              Is that you?
19             A.    Yeah.
20             Q.    "Calls himself a tech CEO."                   He says that
21     quite a bit, doesn't he?
22             A.    Yeah, this is made up of things that he
23     says frequently to make it easier for a player to
24     get bingo.
25             Q.    What is -- I know we talked about whether

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 1     Joe Oltmann was an election expert.                    What do you
 2     understand his -- his education in anything that
 3     relates to technical enterprise to be?
 4           A.      I don't -- I'm not knowledgeable enough
 5     about his education to be able to comment on where
 6     he -- he gets that.
 7           Q.      Okay.
 8           A.      I mean, I know where he went to college,
 9     but in terms other things, I don't know.
10                          (Exhibit 30 was marked.)
11           Q.      Okay.       Let me give you Exhibit 30.                 And
12     I'll represent to you more of these were -- this
13     came from that string.            You remember we had -- you
14     told us that there were -- you know, you gave us
15     everything that you had between you and Joe Oltmann
16     via text so this is -- looks like the last few pages
17     of that.     Do you see that?
18           A.      Yes.
19           Q.      This is -- you know, there is -- there is
20     some texts between you and Mr. Oltmann up at the top
21     in May and then there is a -- a large gap between
22     that and the beginning or -- excuse me -- the middle
23     of September of 2022.           Do you see where that jump
24     occurred?
25           A.      Yes.

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 1             Q.       So during that gap, were you and
 2     Mr. Oltmann out of communication?
 3             A.       Without all my other forms of
 4     communication, I can't speak to that.                      I -- I don't
 5     know.        I handed you everything.
 6             Q.       Right.    Right.      This occurred, though,
 7     after you got the subpoena.                Right?
 8             A.       Yes.
 9             Q.       Okay.    So it looks -- again, if I'm -- if
10     I'm reading it correctly -- and you correct me if
11     I'm wrong -- you received a text from Joe Oltmann on
12     September 15th at 7:32 p.m. that says:                      I'm good, it
13     of town.
14                      I assume he means gone, but that's what
15     it says.
16                      "But they will represent you.                   Pretty
17     easy.        Keith will communicate."
18                      So is this referring back to this
19     discussion earlier on about getting Mr. Corporon
20     hired to represent you?
21             A.       This is not.       This is representing --
22     this is referring to an email chain that included a
23     lawyer representing a company I own shares in.                            So I
24     would -- I would worry that this is asking me to
25     talk about things that could be privileged

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 1     conversations between me and a lawyer.
 2            Q.     Well, there's no lawyer on this email
 3     chain.
 4            A.     On this text.          But if you're asking me to
 5     talk about what it's referring to, that's an email
 6     chain that included a lawyer who represents an
 7     interest I own a percentage in talking about how
 8     this could be defended from that point of view.
 9            Q.     Okay.       But it goes back to -- I don't
10     want to get into the substance of lawyer
11     conversations if the topic is sufficient for me to
12     understand whether it's privileged.                    It's referring
13     back to the email chain that you referred to earlier
14     in the -- in the deposition?
15            A.     Yes.
16            Q.     Okay.       And -- but the topic was the
17     representation of you?
18            A.     Yes.
19            Q.     All right.        And Keith is the guy that I
20     can't pronounce his last name?
21            A.     Yes.
22            Q.     All right.        And going down, it says:
23     Received.     There was one sent by you and then
24     received that starts:           Then do whatever you want,
25     Max.     And he goes on to say:             I don't trust you and

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 1     have not, which is why you never had access to even
 2     the email list.
 3                   So tell me what the -- he's referring to
 4     there, if you know, the email list?
 5            A.     He is referring to that -- many years
 6     ago.    So my job was to make sure that the daily
 7     email was sent out to our email list, and up until a
 8     certain period, I had the ability to see who was
 9     donating to us, names, and there was a point in time
10     where that authority was taken away from me.
11            Q.     He goes on to say:              You can sleep with
12     Coomer's lawyer for all I care.
13                   I'll stop there.             We didn't have any
14     meetings or substantive discussions, have we?
15            A.     I prefer not to sleep with you.
16                   And, no, we didn't.
17            Q.     Well, the feeling is mutual.
18                   "Ingrid asked you for the subpoena, but
19     you cannot even do that," meaning Mr. Oltmann's
20     personal lawyers asked for a copy of the subpoena
21     sent to you?
22            A.     Yes.
23            Q.     You remember I asked you if you had any
24     discussions with either Mr. Oltmann -- well, with
25     Mr. Oltmann about you giving testimony?                          You did

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 1     have some discussions with him about the production
 2     of documents related to the subpoena?
 3           A.      Not -- so what I mentioned was, which
 4     documents would be responsive to the subpoena.                         When
 5     I mentioned that earlier, I apologize, I wasn't
 6     referencing the subpoena itself.
 7           Q.      Okay.       He goes on to say:             Joey, et al.
 8     have an obligation to represent you in your
 9     capacity.
10                   The Joey is?
11           A.      Joseph Orrino.
12           Q.      Okay.       Well, you're not here, as far as
13     you are concerned in any other capacity than your
14     individual capacity, are you?
15           A.      I'm here as me.
16           Q.      And I'm not, don't take this the wrong
17     way, but have you been promised anything, any
18     consideration for appearing here today?
19           A.      No.
20           Q.      Do you have any meetings planned
21     concerning the divestiture of your shares as you sit
22     here today?
23           A.      Not to my knowledge.
24           Q.      I think this is in your --
25                   If I'm skipping through them it means

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 1     we're going to get done quicker.
 2                   All right.        More of some of the emails.
 3     Let's go with Exhibit 31 -- excuse me -- texts.
 4     It's getting late to Randy's point.
 5                        (Exhibit 31 was marked.)
 6           Q.      This is Exhibit 31.               This is another
 7     slice of that grouping of 155 pages of texts.                          So
 8     just kind of in the middle, this is we're winding
 9     into April:      Mr. Oltmann, please send all email
10     correspondence to Keith.             As for the laptop, unless
11     you send it back, I cannot preserve it.
12                   What -- what is he referring to there, if
13     you remember?
14           A.      I was notifying him and the company that
15     I had been -- I had been -- I received a
16     preservation notice from you and your team.                        I
17     believe it was the day before my last day or
18     sometime around then, very good research on knowing
19     when my last day was.
20                        MR. CORPORON:            Don't give Brad a big
21     head, please.
22           A.      And I was notifying him that I was under
23     that preservation notice and even though my contract
24     required me to destroy all records or hand it over
25     back to them, I wasn't going to destroy anything.

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 1             Q.    So do you have that -- that laptop in
 2     question?     Where is that?
 3             A.    I have that, yeah.
 4             Q.    And you have the -- you haven't deleted
 5     your cookies or any of the cache associated with
 6     that?
 7             A.    That is something I explained to you back
 8     in March or April that it's an unreasonable request
 9     for someone in the tech industry to never clear
10     their cookies.
11             Q.    Okay.
12             A.    So I have previously cleared my cookies.
13             Q.    And to be clear, you didn't explain that
14     to me.
15             A.    I explained it to someone on your staff.
16             Q.    Okay.       So the -- there's a statement down
17     here that you sent to Mr. Oltmann:                    I wasn't
18     involved in whatever you were doing with Coomer in
19     June 2020, so there's not like there would be
20     anything in my cookies.
21                   And then he says:             September, not June.
22                   What are you referring to there?
23             A.    I believe that's a reference to the --
24     you can correct me if I'm wrong, I believe that was
25     a reference to the timetable in which your team was

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 1     demanding that I hand over cookies.                    So the
 2     June 2020 comes from that reference.                     It's not in --
 3     it's not suggesting the existence of a greater
 4     conspiracy or anything like that.
 5           Q.      Okay.       And then he says:            June is when it
 6     all popped off.
 7                   But that's just referring to the George
 8     Floyd situation.          Right?
 9           A.      It seems so.
10           Q.      And then you paste at -- I guess not at
11     his request, but you paste in an email that you
12     received from us.          Right?
13           A.      I did.
14           Q.      Well, from me, actually.
15                   Okay.       All right.        I understand that.
16                        (Exhibit 32 was marked.)
17           Q.      I'm going to try not to take another
18     break and plow through so we can all go home.
19                   I'm going to show you Exhibit 32, this is
20     another slice of that 155-page exhibit.                          I probably
21     should have copied the whole dang thing.
22                   So do you need more context for this?                          At
23     the top you received an email:                  Never took a dollar.
24     It's not the money, it's the speech.                     Never took a
25     dollar from FEC.

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 1                   What -- what's being referred to here?
 2           A.      This generally is a discussion I'm having
 3     with him about the danger of doing things through a
 4     501(c)(3) because of the strict guardrail setup for
 5     what is permissible and what is not.
 6           Q.      And the 501(c)(3) that you're referring
 7     to is what organization?
 8           A.      I believe in this context it's FEC.
 9           Q.      And you're saying you received some
10     compensation, they paid for travel.                     Is that you?
11           A.      Yes.    I'm -- I'm asking if they have.
12           Q.      Going down:         Any compensation was paid by
13     the booking agency or organization.
14                   What -- what do you understand him to be
15     referring to there?
16           A.      I guess he used a booking agency or the
17     organization.
18           Q.      "Never paid to put Tina Peters up in a
19     hotel and then book her on CD the following
20     morning."
21                   "That's the" -- your word "shit you got
22     to be careful of, it only takes one prosecutor."
23                   That's what you said.                  Right?
24           A.      Yes.
25           Q.      And he says:          Nope, Mike paid it.

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 1                      What is -- what is that referring to
 2     specifically?
 3             A.       I don't know.
 4                             MR. MALONE:       Objection; foundation.
 5             A.       I don't know who "Mike paid it" in this
 6     context means.
 7             Q.       Well, we're talking about Tina Peters
 8     above.        So you don't understand that to refer to
 9     Mike paying to put Tina Peters up in a hotel?
10             A.       I don't know who he was talking about
11     here.        I'd have to look at the context.                     I mean, I'm
12     not going to speculate, but he says "Mike."                           That's
13     it.
14             Q.       Okay.     So ask Mr. Oltmann that question?
15             A.       Yes.
16             Q.       I will.
17                      And flip over to the next page.                     And for
18     context, he was saying -- he, Mr. Oltmann --
19     "Everything is recorded.              Every single thing is" --
20     "every single thing is documented."
21                      And you say:        Everything except the Eric
22     Coomer call.
23                      And he says:        No personnel gain.
24                      Do you understand what that refers to?
25             A.       I believe when he said "no personal

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 1     gain," that was a stream of consciousness from
 2     before I said what I said.
 3             Q.    Okay.       "I had" -- "I had Tig that was
 4     supposed to be on that call.                He signed the
 5     affidavit.     He had a trip.            He also knows who the
 6     Antifa character is.           I don't typically rec" -- "I
 7     don't typically record calls."
 8                   That's not true, is it?
 9             A.    In my experience, that wouldn't be
10     accurate.
11             Q.    "Now, I do, however, every single one of
12     them."
13                   And then you go on to say:                   The first
14     thing you told me in 2013 was that you record every
15     call.
16                   And you remember him telling you that.
17     Right?
18             A.    Explicitly.
19             Q.    Now, going back to that prior comment.
20     "He," referring to Mr. Tiegen or
21     Tiegen (pronouncing)?
22             A.    Tiegen.
23                        MR. CORPORON:            Tiegen.
24             Q.    Pardon me.
25                        MR. CORPORON:            We all do it.

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 1            Q.     "He also knows who the Antifa character
 2     is."
 3                   But you haven't had -- or have you had
 4     conversations with -- I'll call him Tig, to get it
 5     right -- about that topic?
 6            A.     No.     Unless that came up on air.                  He was
 7     on air a couple of times, but I don't believe he
 8     shared it on air, otherwise you guys would have
 9     played it.
10            Q.     Yeah, he -- he hasn't, to our knowledge.
11                   Okay.       Done.
12                         (Exhibit 33 was marked.)
13            Q.     I seem to be going to the 155-page
14     document a lot.
15                   Exhibit 33, what are we looking at here,
16     sir?
17            A.     These appear to be text messages between
18     me and Joe Oltmann.
19            Q.     This is -- we're rewinding the clock,
20     and, again, forgive me.             This is on March 10, 2022.
21     So, at that time, were you still employed by CD
22     Solutions?
23            A.     I believe that I was, yes.
24            Q.     Okay.       And did you use your personal cell
25     phone for the business of your employer?

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 1            A.     I did not have a work-related cell phone,
 2     so, yes.
 3            Q.     Okay.       Give me the context here if you
 4     can.    There's -- I'm focused on an email you -- or
 5     text you sent March 10 at 12:34 p.m. where it says:
 6     Every time you have ever stepped in shit and caused
 7     blowback on your other partners, you took a step
 8     back and tried to fix it.              PIN for Eric Coomer
 9     blowback, PIN for the Gallows, DCF for Russia.
10                   Explain what you mean by this?
11            A.     After the Eric Coomer lawsuit was filed
12     against him, that also corresponded with the
13     inauguration and there was blowback and he stepped
14     down in some capacity.            I don't know the specifics
15     for how it happened, but he stopped serving in his
16     role, official role, at PIN.
17                   There were comments on the show about
18     sending elected officials to the gallows.                        That
19     caused blowback on PIN and he walked back that
20     statement and tried to temper that rhetoric.
21                   And after he came out in support of
22     Russia, DCF Guns, we started getting heat, pushback
23     from people and he stepped back and he tempered that
24     rhetoric.
25            Q.     Okay.       And then you say:            I've -- I've

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 1     done more than enough to explain how uncomfortable
 2     I -- am finding myself in the New York Times for
 3     your Russia comments.           I copystruck those videos for
 4     me, Joe.
 5                   What are you referring to?                   That's some
 6     jargon that I don't understand.
 7           A.      Sure.       There were videos that were being
 8     posted onto social media by certain journalists
 9     without our approval.           It was our copyrighted
10     material.     And took steps to inform those platforms
11     that these were copyrighted materials that were
12     being shared in violation of our copyright getting
13     those videos taken down.
14           Q.      And those related to Mr. Oltmann's
15     comments on Russia?
16           A.      Yes.
17           Q.      Okay.       And then you go on to say --
18     you -- you talk about the New York Times.                        And,
19     again, you say here:           I stood by you on everything,
20     even the Eric Coomer --
21                   You call it a bit.
22                   -- you haven't shown me any of the
23     evidence on that.
24                   Did I read that correctly?
25           A.      Yes.

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 1                          (Discussion off the written record
 2     regarding exhibit stickers.)
 3                          (Exhibit 34 was marked.)
 4           Q.      This is more in the nature of us trying
 5     to figuring out what you provided to us and I think
 6     you touched on this earlier and you may have.                           This
 7     is -- it says:        Keith Saw -- can you say that?
 8           A.      Sawarynski.
 9           Q.      Thank you.        And it appears to be some
10     exchanges between you and him in December of 2020 in
11     January -- through January 5th of 2021.
12                   Is that correct?
13           A.      Yes.
14           Q.      And is this -- under what platform was
15     this sent, if you remember?
16           A.      This was sent to my 609 number.
17           Q.      Oh, that's the other one we were talking
18     about.     Correct?
19           A.      Yes.
20           Q.      All right.        You do say in the middle, on
21     January 1st -- when it says "me," that means this is
22     you texting on that device.                Right?
23           A.      Yes.
24           Q.      "Not really comfortable doing an episode
25     like this on a company that is suing us.                         What

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 1     should I do?"
 2                   Who are you referring to there?
 3           A.      I think Dominion, but I don't know.
 4           Q.      Well, did that episode air?
 5           A.      I don't know.
 6           Q.      You say:       It's not ready.             We're 45
 7     minutes from air and Joe is still putting together
 8     the flowchart.
 9                   Does that refresh your memory?
10           A.      Yes.    This was a PowerPoint that Joe had
11     put together and has used at a number of different
12     events, showing his theory on how the election was
13     manipulated through electronic means.
14           Q.      That little chart, as you put it, a
15     flowchart?
16           A.      To the extent that this (demonstrating)
17     means something, I'll agree.
18           Q.      Yeah.       Well, it's -- well, it doesn't
19     matter.
20                   Okay.       So -- and this goes through
21     January 5th.      Were you in the loop at all in terms
22     of Mr. Oltmann appearing on January 5th to make a
23     speech at the Ellipse?
24           A.      I knew he was making a speech, yes.
25           Q.      How did you know that?

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 1           A.      I don't remember who told me, but I knew
 2     he was doing it, and I watched it.
 3           Q.      And you weren't down there?
 4           A.      I was not.
 5           Q.      Did he recount any of his meetings during
 6     that time period at any of the hotels he was staying
 7     at with either Mr. Giuliani or Mr. Ramsland or those
 8     folks?
 9           A.      He has -- yes, he told me about different
10     meetings.     Yes, he has.
11           Q.      Did he tell you why he was meeting in
12     Mr. Giuliani's hotel room?
13           A.      Yes, he did.
14           Q.      What did he tell you?
15                        MR. CORPORON:            Objection to relevance
16     to the Lindell case.
17                        MR. COOMBE:           Join.
18           A.      Just generically, working on stopping an
19     election from being stolen.
20           Q.      Nothing specific?
21           A.      He did not share with me any real
22     specifics.
23           Q.      Anything else he shared with you about
24     his meetings during that time period?
25           A.      It's very hard to remember what he told

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 1     me and what I have read through news reporting.                          It
 2     kind of melds together.
 3           Q.      How about meeting with Pompeo?
 4           A.      I don't know if he met with Pompeo.
 5           Q.      You can put that aside.                 Thank you.
 6                   I'm not going to promise you this is the
 7     last exhibit, but I hope it is.
 8                          MR. CORPORON:          Finally, unanimity
 9     around the table.
10                          (Exhibit 35 was marked.)
11           Q.      Take a look to familiarize yourself with
12     Exhibit 35.      And then if you can identify it for the
13     jury, let us know.
14           A.      This appears to be a compilation of my
15     Telegram posts.
16           Q.      Okay.       So this is -- you post on
17     Telegram, which is a social media account?
18           A.      Yes.
19           Q.      And just -- I need you to confirm for me
20     that this is a true and correct copy of posts that
21     you've made on Telegram during the time period
22     indicated?
23           A.      What's the time period indicated?
24           Q.      Well, up top it says -- May 2nd is where
25     it starts, and then it goes from there.                          I believe

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 1     some of them have dates and I believe we tried to
 2     put them in --
 3           A.      Are you asking me to represent that this
 4     is a full and complete archive of everything I
 5     posted in that time --
 6           Q.      No.
 7           A.      -- or just that these things were posted
 8     in that time?
 9           Q.      Yes, sir, the latter.
10           A.      I have no reason to think that the dates
11     are wrong, and nothing seems out of place.
12           Q.      Okay.       There's one comment in particular
13     I was interested in.           Let me see if I can find it.
14     Let me skim through it.             A lot of these you've
15     touched on.
16                      The May 24th -- this isn't the one I
17     was thinking of.          It's the little one line.                The
18     pages aren't numbered, but it says:                    If someone
19     tells you for two years that they have the receipts,
20     but they never show you the receipts, then they do
21     not have the receipts.
22                   Are you referring to Coomer in this
23     instance?
24           A.      I don't believe I was in that instance,
25     no.

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 1           Q.      Okay.       Do you remember who you were?
 2           A.      I believe in this instance I was
 3     referring to a number of people who have presented
 4     for years that they know precisely how the 2020
 5     election was stolen and have not provided that.
 6           Q.      Do you include Mr. Lindell in that group?
 7           A.      I don't know if I was thinking about
 8     Mr. Lindell when I wrote that.
 9           Q.      Okay.       But as you sit here today?
10           A.      No.     I -- I don't know if I would
11     characterize him that way.
12           Q.      How would you characterize him?
13           A.      I think I would -- I would characterize
14     him as a man who genuinely means well, who might not
15     always get the best advice from people around him,
16     but who genuinely means well.
17           Q.      Do you know who is advising him?                     In my
18     mind I'm thinking of a gentleman name Kurt Olson.
19                   Do you know who he is?
20           A.      I do not know who he is.
21                         MR. MALONE:          Object to form and
22     foundation.
23           A.      I do not know who he is, no.
24           Q.      Do you know who Mr. Lindell goes to
25     advise -- goes to for advice?

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 1             A.    I don't know specifically.
 2                        MR. MALONE:           Objection.
 3             A.    I don't know specifically.                   When I say
 4     that, I'm referencing something that I believe went
 5     down at the symposium, a deal with packets and
 6     things, where he was given advice by people, and it
 7     ended up being bad advice.
 8             Q.    Yeah.       They turned out that they couldn't
 9     show that the PCAPs were actually authentic and
10     demonstrated interference by the Chinese.                          Right?
11             A.    Yeah.
12                        MR. MALONE:           Object to form.
13             Q.    Is that a "yes"?
14             A.    I don't know all the specifics about
15     that, but I know from what I read in news reports
16     that it wasn't what everyone had hoped it would be.
17             Q.    Okay.
18             A.    And he was misled in that regard.
19             Q.    Well, you know, I asked you some names
20     earlier.     You said:       I think he was mislead in that
21     regard.
22                   Do you have someone in mind?                       Misled by
23     whom?
24             A.    I don't know who told him that.                       I know
25     that he is not a cyber expert.                  So obviously for him

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 1     to come out and make those claims, someone had to
 2     have been telling him.
 3           Q.      Okay.       Let's fast-forward to June 27th.
 4     And, again, this is of this year.                    Right?
 5           A.      That is correct.
 6           Q.      There's a lengthy post here.                       I'll read
 7     it, since you won't, and then we can talk about it.
 8     In the middle, after you talk about things such as
 9     Roe v. Wade, et cetera, you start in the middle
10     saying:    The problem is that this niche audience,
11     people who are only really interested in this topic,
12     gets smaller and smaller.              The grifts start to
13     compete with one another.              It's why you see Byrne
14     fighting with Oltmann, who, in turn, fights with
15     Jovan, who is fighting with Dr. Shiva, who is
16     fighting with Clements.
17                   There is a lot to unpack there.                       But can
18     you -- put a little meat on the bones on this topic.
19                   First, who are the individuals that
20     you're talking about?
21           A.      Patrick Byrne.
22           Q.      Okay.
23           A.      Joe Oltmann.
24           Q.      Yes.
25           A.      Jovan Pulitzer.

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 1           Q.      Okay.
 2           A.      I do not know Dr. Shiva's last name.
 3           Q.      The MIT guy?
 4           A.      Yes.    And Patrick Clements.
 5           Q.      Okay.       And so the niche audience you're
 6     referring to is what?
 7           A.      I believe you read it, people who are
 8     only really interested in 2020 election fraud and
 9     nothing else.
10           Q.      And -- and the grifts start to compete
11     with one another.          The grifts are what?                  What are
12     you specifically referring to?
13           A.      To this, I'm referring to a growing trend
14     in the conservative movement that activism no longer
15     runs through the party, 501(c)(3) organizations,
16     anything with real accountability, and it ends up
17     running through personal bank accounts.
18           Q.      Meaning the promotion of election fraud
19     issues being monetized into individual bank
20     accounts?
21           A.      Among other things, yes.
22           Q.      And you go on to say:                  And the potential
23     audience gets smaller and smaller.
24                   Excuse me.
25                   As the potential audience gets smaller

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 1     and smaller, it becomes harder for these people --
 2     these people's competing theories to peacefully
 3     coexist.     And when they're all state -- when they've
 4     all staked their livelihoods on donations continuing
 5     to come through the door, you can understand why
 6     they go to war with one another.
 7                   Now, Conservative Daily existed under
 8     this model, did it not?
 9           A.      No.
10           Q.      You had a button for that to donate to
11     the cause, in this case the -- the revenue that was
12     going to be paid to the owners of Conservative
13     Daily.     Right?
14           A.      I've been -- I was doing Conservative
15     Daily since 2014.          So I wouldn't put that under this
16     specific umbrella.
17           Q.      Do you put the misdirection that you
18     described earlier, from revenue going to
19     Conservative Daily to revenue going to the personal
20     legal defense fund in that category of a grift?
21           A.      Not necessarily, but it could be.
22           Q.      Okay.       Do you view Mr. Oltmann as a
23     grifter, as it stands?
24           A.      I think you -- one could make the
25     argument that he is, yeah.

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 1             Q.       I'll skip over the Harry Potter
 2     reference.
 3                      You say:     It's all a zero sum game to
 4     them.        In order for one theory to win, the others
 5     likely have to lose.           It's why Joe Oltmann would get
 6     in screaming matches with me over old --
 7     old-fashioned ballad harvesting.                     He changed his
 8     tune a tiny bit after the "2000 Mules" was released.
 9     But the point is if the election was stolen by
10     mules, then the claims against Dominion would start
11     to fall apart.
12                      What do you mean by that?
13             A.       The idea that theories are presented as
14     the one true way that the 2020 election was
15     manipulated is harder for everyone to claim to have
16     a different solution because in order for them to
17     have the one true solution, then the others can't be
18     true.
19             Q.       And going back to -- and that's the --
20     that's the dynamic that you were observing in June
21     of this year.        Right?
22             A.       Which is why -- yes, which is why I
23     called it a zero sum game.
24             Q.       Do you -- can you -- after seeing the
25     flowchart and -- and spending the time that you did

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 1     with Mr. Oltmann, can you explain to the jury what
 2     his theory of election hacking of the 2020 election
 3     is?
 4           A.      I haven't seen his flowchart in a long
 5     time, but the last time I saw it, I didn't quite
 6     understand all of the claims made in it.
 7           Q.      You use the term "not necessarily" in
 8     this posting, but in other postings, patriots, but
 9     it's spelled P-A-Y?
10           A.      Yes.
11           Q.      What does that term mean?
12           A.      In my mind, it's people who present
13     themself as being for the conservative cause, but
14     they also have their hand out.                  And it's -- it's
15     more -- it's -- as I mentioned, it's a commentary on
16     the idea that the conservative movement is now being
17     run by -- being led by certain types of campaigns
18     that instead of being run through the party, 501(c)
19     organizations instead goes to personal bank
20     accounts.
21           Q.      Isn't that the model that Mr. Lindell
22     follows?
23           A.      I don't know --
24                          MR. MALONE:         Objection to form;
25     foundation.

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 1             A.       I don't know his -- I don't know his
 2     model.
 3             Q.       That is the model that Mr. Oltmann is now
 4     following, though, isn't it?
 5             A.       I have concerns about funneling people
 6     into a legal defense fund without necessarily having
 7     all of the same safeguards and oversight in place,
 8     yes.
 9             Q.       There is a better version of the bingo
10     card here and of the book.
11                      I don't really want to get into
12     Mr. Oltmann's politics so I don't need to read about
13     that.
14                      July 11th:     Tried taking the high road.
15     I unsubscribed from, quote, grifter, close quote,
16     Joe Oltmann and ignored him entirely for the past
17     week.        Went on with my life and, frankly, my life
18     was less -- or excuse me -- was far more enjoyable
19     without him in it at all.              Well, today, quote,
20     grifter, close quote, Joe decided to come onto my
21     Telegram page and slander me further.
22                      I'll stop there.          You can read through
23     it.
24                      Now why are you calling -- I know you put
25     it in quotes but why do you continue to call him a

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 1     grifter in this post?
 2           A.      This was more of a jab at him because I
 3     was frustrated with what he was doing and I knew
 4     that word would kind of tick him off.
 5           Q.      And -- and I'm getting, I guess, to
 6     the -- the section that I was more interested in.                             I
 7     think it may have been in the comments.                          There is a
 8     screenshot or it may have been a link posted to a --
 9     it looks like a 21-second clip.                  This is on
10     August 2nd.      Do you see that?
11           A.      I do.
12           Q.      So tell me what -- what was that clip
13     about, if you recall?
14           A.      I was sent a clip of Joe and I believe
15     what's written there on the post is an accurate
16     characterization of what he said in it.                          I know he
17     has said that it was out of context.                     I don't know
18     if that's the case.          But that he may have confused
19     Eric Coomer of Dominion Voting System with another
20     Eric who works at an HVAC company.
21           Q.      How did you take it?
22           A.      That -- him saying that?
23           Q.      Yes, sir.
24           A.      That was yet another -- so over this
25     deposition, you've asked me how I feel at different

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 1     points.    That was yet another thing for me to
 2     question his position.            And I say that right below
 3     there.
 4           Q.      In the comments?
 5           A.      Yes.
 6                          MR. CAIN:       Okay.       I'm going to -- I
 7     am going to take a quick break.                  It needs to just be
 8     three minutes for me to go caucus with my team.                         It
 9     sounds official.
10                          MR. CORPORON:          We're going to sit
11     here waiting, holding you to that.
12                          MR. CAIN:       You're welcome to do that.
13     I -- it won't take me long.                I just want to make
14     sure there's nothing I missed.
15                          MR. CORPORON:          Can we clear something
16     up on the record real quickly?                  Did you get the
17     dates of Exhibits 24 and 25?
18                          MR. KLOEWER:          Let me do that now.              I
19     can do that.
20                          THE VIDEOGRAPHER:               Going off the
21     record.    The time is 6:57.
22                                    (Break.)
23                          THE VIDEOGRAPHER:               Back on the
24     record.    The time is 7:00.
25                          MR. KLOEWER:          Just to answer a

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 1     question that was previously asked by Mr. Corporon.
 2     The dates of Exhibits 24 and 25, we did have a
 3     chance to review and confirm those were both from
 4     December 5th of 2020.
 5           Q.      I mentioned at the beginning that you'll
 6     have an opportunity to read and sign your
 7     deposition, but as you sit here, is there any answer
 8     that you've given me that in your mind you think you
 9     need to correct at this point because you think you
10     may have testified in error?
11           A.      No, I don't think so, no.
12           Q.      Have I been polite and professional with
13     you today?
14           A.      Yeah, except you don't want to sleep with
15     me.
16           Q.      I think that's being polite.
17                        MR. CAIN:         I'll pass the witness.
18                        MR. CORPORON:            No questions.
19                        MR. COOMBE:           No questions.
20                        (Discussion off the written record.)
21           Q.      Just for clarity, do you know what
22     FrankSpeech is?
23           A.      Yes, I know what FrankSpeech is.
24           Q.      What is your understanding of what
25     FrankSpeech is?

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 1           A.      My understanding is that FrankSpeech is a
 2     platform that hosts certain types of video content,
 3     both prerecorded and live.
 4           Q.      Have you ever been involved with any of
 5     that video content, either prerecorded or live?
 6           A.      I don't know if any of the videos were --
 7     I believe that videos I was on were posted to
 8     FrankSpeech.      I was not involved in making that
 9     happen.
10           Q.      Have you ever communicated with anyone
11     you understood to be working on behalf of
12     FrankSpeech?
13           A.      To my knowledge, no, but there might have
14     been emails to that effect, to my work email because
15     there was a period where we were having technical
16     difficulties and I might have been forwarded one of
17     those email chains.          But to my knowledge, that would
18     be the extent of that.
19           Q.      Okay.       Have you ever communicated or
20     interacted in any way with an individual named
21     Brannon Howse?
22           A.      I do not think so.
23           Q.      I believe you mentioned earlier in your
24     deposition today that the only contact that you've
25     ever had with Mr. Lindell directly is on the

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 1     Conservative Daily podcast.                Is that fair?
 2           A.      I believe that is correct, yes.
 3           Q.      Did I also hear you mention that there
 4     may have been some sort of -- I think I'm using your
 5     words -- a coffee pitch that Mr. Lindell was
 6     involved in with -- was it Jake Freijo and Greg
 7     Papas?
 8           A.      There was a pitch.              I do not believe that
 9     Mike Lindell was involved.               There was a woman who
10     handles his stuff and -- as a go-between and an
11     informal pitch was spoken to her over the phone.                            It
12     took all of maybe two or three minutes.
13           Q.      Got it.
14                   So starting with just the interactions on
15     the podcast, did you ever hear Mr. Lindell say
16     anything about Eric Coomer?
17           A.      I haven't rewatched those episodes, but
18     nothing rings a bell.
19           Q.      Outside of the podcasts, have you ever
20     heard Mr. Lindell say anything about Eric Coomer?
21           A.      I have not.
22           Q.      Were you asked any questions today about
23     anything that Mr. Lindell said about Eric Coomer?
24           A.      Apart from what you just asked me, I
25     don't think I was.

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 1           Q.      Have you ever expressed any opinion about
 2     Dr. Coomer to Mr. Lindell?
 3           A.      Again, I haven't rewatched or listened to
 4     those podcast episodes.             I don't believe so.
 5           Q.      Was Dr. Coomer mentioned on that coffee
 6     pitch that we were discussing just a minute ago?
 7           A.      I don't think so, no.
 8           Q.      I'm not quite sure how Telegram works so
 9     forgive me if I butcher the parlance here.                        But
10     does -- do you have followers on Telegram?
11           A.      I do.
12           Q.      Are you aware if Mr. Lindell is one of
13     your followers?
14           A.      I don't know.          I don't go through my
15     followers generally.           I went through once to see if
16     family members of mine were following me.                        To my
17     knowledge, I don't know if Mike Lindell is following
18     me on Telegram.       That would be cool if he was, but I
19     don't know.
20           Q.      Do you know if Mr. Lindell has a Telegram
21     account at all?
22           A.      I do not know.
23           Q.      So you've never interacted with him on
24     Telegram in any way?
25           A.      It's hard to say on Telegram because

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 1     there's lots of accounts that claim to be people
 2     they aren't, lots of accounts that claim to
 3     represent people that they really don't.                         I may have
 4     gone across one of those pages.                  I can't say with
 5     any certainty, but as far as the instant messenger
 6     part of Telegram, I can say with certainty I have
 7     never communicated with him.
 8             Q.    At any time that you've ever interacted
 9     with Mr. Lindell, which is just on the podcast, did
10     he ever express any doubts about Mr. Oltmann's
11     credibility?
12             A.    No.
13             Q.    Did you ever express any doubts about
14     Mr. Oltmann's credibility to Mr. Lindell?
15             A.    I would not have done that on the show
16     with -- with Mr. Lindell present so I -- I do not
17     believe I would have done that.
18             Q.    So you've never referred to Mr. Oltmann
19     as a grifter to Mr. Lindell?
20             A.    No.
21             Q.    Are you aware of anyone who has done
22     that?
23             A.    No.
24             Q.    I believe you mentioned that you were not
25     at the Cyber Symposium in August of 2021 in South

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 1     Dakota.    Correct?
 2           A.      I was not.
 3           Q.      Did you watch any of that Cyber
 4     Symposium?
 5           A.      I watched a bit of it, yes.
 6           Q.      Did you watch it live or on tape delay?
 7           A.      I watched -- I believe I watched it live.
 8           Q.      Which portions of that symposium do you
 9     recall watching live if you can describe those?
10           A.      I remember watching Joe's segment, Joe
11     Oltmann's segment.         I remember watching a segment --
12     it might be confusing events, but I believe there
13     was a segment in which he discussed what had just
14     happened to Tina Peters just a day or so previous or
15     maybe even the same day.             Those are the two parts of
16     that symposium that stick out to me right now.
17           Q.      Anything else?
18           A.      Bits and pieces about the packets, but
19     those would be the three that I remember.
20           Q.      And do you recall Mr. Lindell saying
21     anything about Dr. Coomer during that symposium?
22           A.      I haven't gone through that, so I -- I
23     can't say that I remember anything like that, no.
24           Q.      You discussed another lawsuit that
25     Dr. Coomer has brought against Joe Oltmann today.

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 1     Correct?
 2           A.      Yes.
 3           Q.      And, in fact, you've read transcripts
 4     from that lawsuit.         Right?
 5           A.      Yes.
 6           Q.      And as far as you know, clips from that
 7     lawsuit have been played for you today during the
 8     deposition.      Is that right?
 9           A.      Yes.
10           Q.      Were you asked to testify in that
11     lawsuit?
12           A.      I -- I -- can you -- can you clarify what
13     you mean by that?
14           Q.      As best I can.           Sure.
15                   Did anyone ask you to provide testimony
16     in the lawsuit that Dr. Coomer has brought against
17     Joe Oltmann?
18           A.      There was a conversation between me and
19     legal counsel as to whether it would make sense for
20     me to testify to a certain part, but it was
21     ultimately decided that it wouldn't make sense for
22     me to do so.      No one else has asked me to testify.
23           Q.      That's fine.          Surely don't tell me
24     anything that you discussed with your own counsel.
25                   I think what I'll ask is, did you receive

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 1     any subpoena for testimony in that lawsuit?
 2           A.      I have not.
 3           Q.      Did you receive a subpoena for documents
 4     in that lawsuit?
 5           A.      I have not.
 6           Q.      You mentioned Patrick Byrne today or you
 7     were asked about Mr. Byrne today, I should say.                       Are
 8     you aware that Dr. Coomer has also brought a lawsuit
 9     against Mr. Byrne?
10           A.      I had heard something about that, yes.
11           Q.      Have you been asked to testify in that
12     lawsuit by anyone?
13           A.      I have not.
14           Q.      Have you received a subpoena for
15     documents in that lawsuit?
16           A.      I have not.
17           Q.      Okay.
18                        MR. MALONE:         That's all the questions
19     I have.    Thank you for your time today, Mr. McGuire.
20                        THE WITNESS:          Thanks.
21                        MR. CAIN:        Based on that questioning,
22     I do not have any follow-up questions.
23                        THE VIDEOGRAPHER:             This concludes the
24     deposition of Max McGuire.             Off the record at 7:11.
25                        (Deposition concluded at 7:11 p.m.)                         0

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 1                               CORRECTION PAGE
 2     WITNESS NAME:      MAX JOSEPH MCGUIRE                DATE:       11/17/2022
 3     PAGE    LINE   CHANGE                            REASON
 4     ____________________________________________________
 5     ____________________________________________________
 6     ____________________________________________________
 7     ____________________________________________________
 8     ____________________________________________________
 9     ____________________________________________________
10     ____________________________________________________
11     ____________________________________________________
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23     ____________________________________________________
24     ____________________________________________________
25     ____________________________________________________

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 1
 2                                SIGNATURE PAGE
 3
         I, MAX JOSEPH MCGUIRE, have read the foregoing
 4     deposition and hereby affix my signature that same
       is true and correct, except as noted on the
 5     correction page.
 6
 7                                     ____________________________
                                       MAX JOSEPH MCGUIRE
 8
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 1      1              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
 2      2
 3          ERIC COOMER, PH.D.,                §
                                               §
 4               PLAINTIFF,                    §    CIVIL ACTION NO.
                                               §    1:22-CV-01129-WJM
 5          V.                                 §
                                               §
 6          MICHAEL J. LINDELL,                §
            FRANKSPEECH, LLC, AND              §
 7          MY PILLOW, INC.,                   §
                                               §
 8               DEFENDANTS.                   §
 9      9                       REPORTER'S CERTIFICATION
                         DEPOSITION OF MAX JOSEPH MCGUIRE
10     10                       TAKEN NOVEMBER 17, 2022
11     11        I, TAMARA CHAPMAN, Certified Shorthand Reporter in
12     12 and for the State of Texas, hereby certify to the
13     13 following:
14     14        That the witness, MAX JOSEPH MCGUIRE, was duly
15     15 sworn by the officer and that the transcript of the
16     16 oral deposition is a true record of the testimony
17     17 given by the witness;
18     18        That the original deposition was delivered to
19     19 CHARLES J. CAIN;
20     20        That a copy of this certificate was served on all
21     21 parties and/or the witness shown herein on
22     22 __________________________.
23     23        I further certify that pursuant to FRCP No.
24     24 30(f)(i) that the signature of the deponent:
25     25           was requested by the deponent or a party before

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 1     the completion of the deposition and that the
 2     signature is to be returned within 30 days from date
 3     of receipt of the transcript.             If returned, the
 4     attached Changes and Signature Page contains any
 5     changes and the reasons therefor;
 6        X was not requested by the deponent or a party
 7     before the completion of the deposition.
 8       I further certify that I am neither counsel for,
 9     related to, nor employed by any of the parties in
10     the action in which this proceeding was taken, and
11     further that I am not financially or otherwise
12     interested in the outcome of the action.
13       Certified to by me this 22nd day of November, 2022.
14
15
16
17
                                 <%13288,Signature%>
18
                           _____________________________________
19                         Tamara Chapman, CSR, RPR-CRR
                           CSR NO. 7248; Expiration Date: 12-31-22
20                         Veritext Legal Solutions
                           Firm Registration No. 571
21                         300 Throckmorton Street, Suite 1600
                           Fort Worth, Texas            76102
22                         800-336-4000
23
24
25

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 1      Randy B. Corporon

 2      rbc@corporonlaw.com

 3                                                    November 22, 2022

 4      RE: Coomer vs. Lindell

 5      DEPOSITION OF: Max Joseph McGuire 5465767

 6            The above-referenced witness transcript is

 7      available for read and sign.

 8            Within the applicable timeframe, 30 days, the witness

 9      should read the testimony to verify its accuracy. If

10      there are any changes, the witness should note those

11      on the attached Errata Sheet.

12            The witness should sign and notarize the

13      attached Errata pages and return to Veritext at

14      errata-tx@veritext.com.

15            According to applicable rules or agreements, if

16      the witness fails to do so within the time allotted,

17      a certified copy of the transcript may be used as if

18      signed.

19                                      Yours,

20                                      Veritext Legal Solutions

21

22

23

24

25

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                      Federal Rules of Civil Procedure

                                       Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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